         We all gonna be fucking in an indictment. I’m gonna be down for a RICO. You gonna
         be down for a RICO. You gonna be down for a RICO. We all gonna be down.

                       -   Angel ROLDAN, KING BIG-A, August 31, 2019

                   AFFIDAVIT OF SPECIAL AGENT DOMINIC COPPO

         I, Special Agent Dominic Coppo, depose and state as follows:

                                        INTRODUCTION

         1.     I am an investigative or law enforcement officer of the United States, within the

meaning of Section 2510(7) of Title 18, United States Code, and am empowered by law to

conduct investigations of and to make arrests for offenses enumerated in Section 2516 of Title

18, United States Code. I also am a “federal law enforcement officer” as defined in Rule

41(a)(2)(C) of the Federal Rules of Criminal Procedure, that is, a government agent who is

engaged in enforcing the criminal laws of the United States and within a category of officers

authorized by the Attorney General to request a search warrant.

         2.     I have been a Special Agent with the Federal Bureau of Investigation (“FBI”)

since May 2012. I am currently assigned to the Boston Field Office, North Shore Gang Task

Force.

         3.     Since 2012, I have received training and experience in interviewing and

interrogation, arrest procedures, search and seizure, gangs, narcotics, search warrant applications,

and various other investigative techniques and methods. In my tenure as an FBI Special Agent, I

have served as a Case Agent, or assisted other agents in the investigation of various criminal

violations; however, I have predominantly been assigned to work federal gang and narcotics

investigations as a member of the FBI Safe Street Gang Task Force. The FBI assigned me to

concentrate on federal gang and narcotics investigations after being assigned to the El Paso

Division, Midland Resident Agency, and West Texas Major Offender Safe Street Gang Task
Force in 2013, I was later assigned the position of task force coordinator in 2015. During my

tenure as a Special Agent assigned to the El Paso Division, Midland Resident Agency, I served

as the Case Agent investigating several different gang and criminal organizations. These include,

but are not limited to a set of the Bloods Street Gang, and a support club of the Banditos Outlaw

Motorcycle Gang. I was also a member of the Texas Gang Investigators Association, attending

several weeklong conferences outlining local, state, and national gangs, criminal organizations,

and the criminal methodologies associated with such. Upon completion of my assignment in El

Paso Division, Midland Resident Agency, I was transferred to the Boston Division North Shore

Gang Task Force in 2016, where I am currently assigned. In the course of my training and

experience, I have become familiar with the methods and techniques associated with the

distribution of narcotics, the laundering of drug proceeds, the organization of drug conspiracies,

as well as traditional gang methodologies and structures.

       4.      Since December 2016, I have focused my efforts on the Almighty Latin King and

Queen Nation (“LATIN KINGS”). I am currently investigating members and associates of

LATIN KINGS for: racketeering activity and conspiracy to commit the same, in violation of 18

U.S.C. § 1962(c) and (d); violent crimes in aid of racketeering activity, in violation of 18 U.S.C.

§ 1959; felon in possession of firearm and ammunition, in violation of 18 U.S.C. § 922(g)(1); the

using, brandishing, and discharging of a firearm during the commission of a crime of violence or

drug trafficking offense, in violation of 18 U.S.C. § 924(c); and the manufacture of controlled

substances, distribution of controlled substances, possession of controlled substances with intent

to distribute, and conspiracy to commit those offenses, in violation of 21 U.S.C. §§ 841(a)(1),

and 846 (the “TARGET OFFENSES”). Collectively, the LATIN KINGS leaders, members and

associates described herein will be referred to as the TARGET SUBJECTS.



                                                 2
       5.      In the course of my training and experience, I have become familiar with the

methods and techniques associated with the distribution of narcotics, the laundering of drug

proceeds, and the organization of drug conspiracies, as well as traditional gang methodologies

and structures. In the course of conducting these investigations, I have been involved in the use

of the following investigative techniques: 1) interviewing Cooperating Witnesses (“CWs”),

including CW-1,1 CW-32, and CW-9,3 Confidential Informants (“CIs”), and other human

Sources of Information (“SOIs”); 2) conducting physical surveillance; 3) conducting short-term

and long-term narcotics and gang investigations; 4) consensual monitoring and recording of both

telephonic and non-telephonic communications; 5) analyzing telephone pen register and caller

identification system data; 6) conducting court-authorized electronic surveillance; 7) conducting

court-authorized Title III wiretap investigations; 8) conducting controlled purchases of narcotics

and firearms; and 9) preparing and executing search warrants that led to substantial seizures of



1
  Cooperating Witness 1 (“CW-1”). CW-1 began cooperating with law enforcement in 2014.
CW-1 has been a member of the LATIN KINGS for approximately eleven (11) years. The
information provided by CW-1 has been found to be reliable and has been corroborated by other
investigative means. CW-1 receives financial compensation in return for cooperation. CW-1 has
numerous convictions for crimes of violence, theft and motor vehicle offenses. CW-1 has a
substance abuse disorder.
2
 Cooperating Witness 3 (“CW-3”). CW-3 has been cooperating since January 2018. CW-3’s
cooperation is financially motivated. The information provided by CW-3 is based on CW-3’s
membership within the LATIN KINGS for approximately fifteen years. The information
provided by CW-3 has been found to be reliable and has been corroborated by other investigative
means. A check of CJIS indicates CW-3 has one pending case and no convictions.
3
  Cooperating Witness 9 (CW-9). CW-9 has been cooperating since July 2018. The information
provided by CW-9 is based on CW-9’s long standing membership and highly placed position
within the Massachusetts LATIN KINGS. CW-9 is cooperating in hopes that it will mitigate
pending federal charges. CW-9 has also received subsistence payments and financial support
from the FBI during the time CW-9 has been cooperating. The information provided by CW-9
has been found to be reliable and has been corroborated by other investigative means. A check of
CJIS indicates CW-9 has convictions for drug offenses, crimes of violence and property
offenses.

                                                3
narcotics, firearms, and other contraband.

       6.      The information contained in this affidavit is based on my own investigation, oral

and written reports by other law enforcement officers, physical surveillance, information from

confidential informants/cooperating witnesses, public records, database checks, court-authorized

interceptions of telephonic communications, prior investigations undertaken of the LATIN

KINGS, and other investigative techniques. My interpretations of phone calls intercepted

pursuant to court orders and consensually recorded conversations are based upon the above

information as well as my training and experience. The dates and times in this affidavit are

approximate. I am submitting this affidavit in support of the government's motions to detain

following sixty two (62) individuals pending trial pursuant to 18 U.S.C. § 3142(e).4

      BACKGROUND ON THE ALMIGHTY LATIN KING AND QUEEN NATION

       7.      The LATIN KINGS is one of the largest criminal organizations in the world, with

thousands of members across the United States. The LATIN KINGS were formed in Chicago,

which continues to serve as the nerve center for regional and local chapters that operate in cities

and local communities across the United States. The LATIN KINGS’ greatest strength is the

organization itself: the gang’s strict hierarchy, adherence to a national manifesto, internal judicial

methods, and sophisticated system of communications make the gang a formidable threat. The

LATIN KINGS leverage this vast, interdependent criminal network to raise revenue through

criminal and non-criminal enterprises. The gang’s operations are protected by violence, both




4
  Throughout this affidavit, the shorthand UI is used to refer to unintelligible words from a
recording. The shorthand UM or UF are used to refer to an unknown male or unknown female.
The shorthand FNU and LNU are used to refer to individuals whose first names are unknown or
last names are unknown. Additionally, unindicted coconspirators are identified by initials, where
appropriate.

                                                  4
internal (towards uncooperative or untrustworthy members) and external (towards rival gangs,

witnesses, informants, and law enforcement). The LATIN KINGS are an established, organized,

and well-funded criminal organization.

A.     Formation

       8.      The LATIN KINGS was formed in the 1960’s in Chicago. The gang’s stated

purpose was the organization of Hispanics dedicated to overcoming an “oppressive government”

and uplifting all "third world" people. The original intent of the gang was to empower its

members to improve their quality of life. To achieve these goals, the LATIN KINGS developed

the King Manifesto and Constitution (KMC) to establish laws, rules, and regulations governing

the behavior of its members, which has evolved into a detailed code of organizational and

behavioral principles.

       9.      The KMC explains the doctrine of “Kingism,” the developmental evolution of

LATIN KINGS members. According to a copy of the KMC obtained by investigators in April of

2018, “Kingism” is comprised of three stages: 1) the Primitive Stage – “a stage of immaturity

where the King Warrior’s time is spent “gang-banging;” 2) the Conservative Stage/the Mummy

Stage – “the King Warrior becomes tired of the. . .senseless routine of gang fighting, hanging on

the corner, or being big and bad;” and 3) the New King Stage – “[the King Warrior] learns to

appreciate the values of work, life and Brotherhood.” Despite acknowledging “gang banging” in

the Primitive Stage, the KMC explicitly states that the “conduct of every King should always be

highly impeccable and above reproach.”

       10.     Loyalty to the LATIN KINGS is central to the gang’s ideology. It is built in part

through social events that allow members to meet and form connections. This is exemplified by

the LATIN KINGS’ periodic “Unity Day,” during which local and regional members meet and



                                                5
fraternize. Social support between members also takes the form of fundraising efforts; for

example, one chapter can raise funds for the family of a member who recently died. On the other

hand, the gang’s methods for ensuring that members remain loyal are far harsher: violations of

the gang’s rules, especially cooperation with law enforcement, are met with draconian

punishments, including fines, demotion, physical violence, shootings, and other organized

reprisals by the LATIN KINGS, up to and including death.

B.     Identification

       11.     LATIN KINGS affiliation is demonstrated in a variety of ways. Members display

the gang’s colors (gold and black) and symbols (a five pointed crown, sometimes worn by a lion)

on flags, clothing, and tattoos. When encountering other LATIN KINGS or posing for pictures,

members sometimes place their fist over their heart or twist their fingers into the shape of a

crown. Additionally, LATIN KINGS often mention “amor de rey,” (meaning “love of the king”

in Spanish), “amor,” or “ADR” in conversation. Typically, these phrases are used at the

beginning and end of conversations between members to affirm their commitment to the gang.

Intercepted conversations between LATIN KINGS have demonstrated that these phrases also

play a more functional role in furthering criminal activities, such as indicating a member’s

willingness to engage in a drug transaction. Members understand that using “ADR” and its

derivatives is a strong indicator of their LATIN KINGS affiliation.

C.     Funding

       12.     The LATIN KINGS funding flows from its membership through collection of

dues and the success of illegal operations. The KMC mandates that each chapter contribute to a

common fund known as the “fundo” that is used for bail, weapons purchases, booking hotel

rooms for meetings, and other joint gang activities. Individual members are expected to pay



                                                 6
regular dues, tribute (usually in the form of a percentage of revenues derived from illegal

activities), and fines if they violate the gang’s rules. In turn, a percentage of these monies are

either passed to the regional leadership for their use or maintained in the chapter fundo.

       13.     Each chapter’s fundo is controlled by its Inca and held by its Treasurer.

Mismanagement can lead to consequences through the LATIN KINGS judicial system.

D.     Drug Trafficking

       14.     In addition to raising funds through dues, drug trafficking is a profitable

enterprise for the LATIN KINGS. Distribution of marijuana is the only type of drug trafficking

formally accepted by the gang. However, gang members sell a wide variety of drugs including

cocaine, cocaine base, heroin, and fentanyl. A portion of the proceeds of these drug transactions

are expected to be remitted to local leadership.

       15.     The quantities and types of drugs sold by the LATIN KINGS vary significantly

from chapter to chapter. For example, in Massachusetts, the New Bedford Chapter is deeply

involved in cocaine and cocaine base trafficking that supplies customers in New Bedford and

Boston. The operation is complex and profitable, utilizing multiple stash houses (referred to as

trap houses) and branching into the laundering of the drug proceeds through real estate

transactions. These activities will be described in greater detail later in this document.

E.     Violent Acts

       16.     The LATIN KINGS’ reliance on drug distribution to create revenue, the desire to

further the influence of the gang, and the desire to protect turf from rival gangs has fostered a

culture of institutional violence and secrecy. Members have committed crimes of violence

including shootings, robberies, home invasions, extortion, and homicides. LATIN KINGS are

expected to come to the aid of their fellow members on request. Thus, whenever the economic



                                                   7
or other interests of the gang (such as its primacy in certain designated geographic areas or the

drug trafficking activities of its members) are threatened, members are required to participate in

organized actions aimed at mutual protection. These actions frequently take the form of

“missions,” which are acts of violence directed at rivals. By adhering to a strict “code of

silence” as outlined in the KMC, the LATIN KINGS conceal these activities from law

enforcement and perpetuate the cycle of drug trafficking, violence, and intimidation.

F.     Organizational Structure

       17.     The LATIN KINGS have a highly organized hierarchical structure at the national,

regional, and local levels. The leadership at each level is comprised of an Inca and a team of

supporting officers consisting of a Cacique, (or second-in-command), an Enforcer (responsible

for maintain obedience within the membership, executing punishments, coordinating violence

against rivals, and maintaining the gang=s arsenal), a Treasurer (responsible for the collection of

dues, tributes, and fines, and the maintenance of the fundo), and a Secretary (responsible for

maintaining records and the administration of the gang's business). A graphic depicting the

typical structure of the LATIN KINGS follows:




                                                 8
                           LATIN KINGS Organizational Structure

         18.   The LATIN KINGS divide the country up into different regions and a “Regional

Overseer” acts as a liaison between that region and Chicago, sitting at the head of a “Regional

Table” made up of the most senior member of the LATIN KINGS in each state. The regional

leadership has a great deal of influence in the selection of the State Team. The “Regional

Overseer” can appoint a “Regional Crown Council” and “Regional Enforcer” if he so chooses.

         19.   Within most states that “State Team” is comprised of an “Inca,” “Cacique,”

“Enforcer,” “Treasurer,” and “Secretary” who are charged with ensuring that all local chapters

are following the national directives and resolving any conflict that cannot be dealt with at the

local level. “State Regional Officers” report on local chapter activities and issues to the “State

Team.”

         20.   Each local chapter is also comprised of an “Inca,” “Cacique,” “Enforcer,”

“Treasurer,” “Secretary,” and other members. In addition, a separate body governs the

Department of Corrections and any issues that arise while LATIN KINGS members are

incarcerated, and this body reports directly to the “State Team.” Finally, there is a “Crown

Council” that sits independently and is comprised of a “Chairman,” “Vice Chairman,” and

various “Crown Council Members.” The “Crown Council” resolves any issues that cannot be

resolved by the state leadership.

         21.   The rigid organizational structure of the LATIN KINGS is typified by its

comprehensive judicial system. In this system, members are formally "charged" with violations

of the KMC or other gang rules. Those charges are adjudicated, and individuals found guilty are

punished, often severely. Punishments have included fines, beatings, and sometimes expulsion

from the gang, depending on the offense. Members who cooperate with law enforcement may



                                                 9
face particularly harsh, violent punishment, including death in some cases.

                                LATIN KINGS MEMBERSHIP

       22.     The investigation of the LATIN KINGS has identified a multi-tiered and

hierarchical structure of leadership of LATIN KINGS criminal activities. The investigation has

developed evidence that the LATIN KINGS criminal enterprise has committed numerous acts of

drug distribution, shootings, witness intimidation, witness retaliation, and murder. This

investigation has developed probable cause as to the involvement of the following individuals in

an ongoing conspiracy to violate 18 U.S.C. §§ 924(c), 1959, and 1962, and 21 U.S.C. §§

841(a)(1), and 846.

I.     THE LATIN KINGS EAST COAST TEAM

       23.     The following individuals have been identified as being associated with the East

Coast Regional Leadership of the LATIN KINGS.

Michael CECCHETELLI, A/K/A “KING MERLIN”

       24.     CECCHETELLI is the current Supreme East Coast Regional Overseer of the

LATIN KINGS for the East Coast. Formerly, CECCHETELLI was the Inca of Massachusetts.

The evidence of CECCHETELLI’s membership in the LATIN KINGS is overwhelming,

including self-admission on Facebook, numerous recordings where he is interacting with

LATIN KINGS membership and exercising a leadership role, and participation and attendance

at meetings and trials, and directing enterprise activities and appointing individuals to

leadership roles and also demoting individuals for transgressions.

       25.     On 9/15/06, CECCHETELLI was convicted of conspiracy to deal in firearms

without a license, and other firearms offenses in Massachusetts U.S. District Court as part of a

prior federal investigation of the LATIN KINGS in 2005 and sentenced to 37 months in


                                                 10
prison. See U.S. v. Cecchetelli, et. al., 05-CR-03003-MAP.5

Esther ORTIZ, a/k/a “QUEEN INDIA”

        26.     E. ORTIZ is the current East Coast Crown Council Chairwoman. The evidence

of E. ORTIZ’s membership in the LATIN KINGS is overwhelming, including self-admission

on Facebook, numerous recordings where she is interacting with LATIN KINGS membership

and exercising a leadership role, and participation and attendance at meetings and trials, and

conspiring in commission of acts of violence.

Eric THOMAS, a/k/a “KING E”

        27.     THOMAS is the current State Inca for Rhode Island. The evidence of

THOMAS’ membership in the LATIN KINGS is overwhelming, including self-admission on

Facebook, numerous recordings where he is interacting with LATIN KINGS membership and

exercising a leadership role, and participation and attendance at meetings and trials, and acting

on orders to assist in acts of violence.

Joel L. FRANCISCO, a/k/a “KING CASPER”

        28.     J. FRANCISCO is a member of the Rhode Island LATIN KINGS. The

evidence of J. FRANCISCO’s membership in the LATIN KINGS comes from recordings as

well as historical evidence where he was referred to as the “Crown Prince of the LATIN

KINGS.”

Hector Manuel VEGA, a/k/a “KING DEMON”

        29.     VEGA is a member of the Crown Council for Connecticut. The evidence of




        This prosecution involved CECCHETELLI’s possession of a sawed-off shotgun. See
        5

Docket No. 05-CR-03003, ECF #1.

                                                11
VEGA’s membership in the LATIN KINGS is overwhelming, including self-admission on

Facebook, numerous recordings where he is interacting with LATIN KINGS membership and

exercising a leadership role, and participation and attendance at meetings and trials, and acting

on orders to assist in acts of violence.

II.     THE LATIN KINGS MA STATE TEAM/CROWN COUNCIL

        30.     The following individuals have been identified as being associated with the

Massachusetts State Leadership of the LATIN KINGS.

Bienvenido NUNEZ, a/k/a “KING APACHE”

        31.     NUNEZ is the current Inca of Massachusetts for the LATIN KINGS. NUNEZ’s

role and membership in the LATIN KINGS have been confirmed by his attendance at numerous

meetings and gatherings of LATIN KINGS members and recordings where he is referred to by

other members. Additionally, NUNEZ’s legacy and history in the LATIN KINGS has been

repeatedly referenced by other members in recent months as they undertook the selection process

of the new Inca of Massachusetts following the recent ouster of LIBERATO.

        32.     NUNEZ was previously convicted in Massachusetts U.S. District Court of

distribution and possession with intent to distribute cocaine, and felon in possession of a firearm,

as part of a prior federal investigation of the LATIN KINGS in 2015 and sentenced to 18 months

in prison. See U.S. v. Nunez, Docket No. 15-CR-30036-MGM.

Jorge RODRIGUEZ, a/k/a “KING G”

        33.     Jorge RODRIGUEZ is the current Cacique of the State of Massachusetts for the

LATIN KINGS, and the former State Enforcer. Jorge RODRIGUEZ’s role and membership in

the LATIN KINGS have been confirmed by his attendance at numerous meetings where LATIN

KINGS business and criminal activity are discussed, and numerous recordings where Jorge


                                                 12
RODRIGUEZ can be seen and heard exercising a leadership role over other LATIN KINGS

members.

Michael MARRERO, a/k/a “KING CLUMSY”

       34.    MARRERO is the Enforcer for the State of Massachusetts for the LATIN

KINGS. MARRERO’s role and membership in the LATIN KINGS have been confirmed by

various recordings where he is in attendance with other LATIN KINGS leaders, including

CECCHETELLI, ROLDAN, NUNEZ, CALDERON, LIBERATO and Jorge RODRIGUEZ.

       35.    On 4/27/07, MARRERO was convicted of distribution of cocaine in

Massachusetts U.S. District Court as part of a prior federal investigation of the LATIN KINGS

in 2005 and sentenced to 114 months in prison. See U.S. v. Marrero, 05-CR-03047-TSH.

Francisco LOPEZ, a/k/a “KING CISCO”

       36.    F. LOPEZ is the Secretary / Treasurer of Massachusetts State for the LATIN

KINGS. F. LOPEZ’s role and membership in the LATIN KINGS have been confirmed by his

frequent attendance at meetings where LATIN KINGS business is discussed and recordings

where other members refer to his membership and role in recorded conversations.

Juan LIBERATO, a/k/a “KING PRODIGY”

       37.    LIBERATO is the former Inca of Massachusetts for the LATIN KINGS.

LIBERATO’s role and membership in the LATIN KINGS have been confirmed by his

attendance at numerous meetings, intercepted calls where LATIN KINGS business is

discussed, and recordings where he is present and exercising a leadership role over LATIN

KINGS affairs. Additionally, he is referred to by other members by his LATIN KING name.

       38.    On 9/2/18, a LATIN KINGS party took place in Haverhill at “Matty’s house.”

LIBERATO was not present, but his 15 year old daughter, who I will refer to as DAUGHTER


                                              13
and who is also a member of LATIN KINGS, was present, along with numerous other LATIN

KINGS members. At some point during the party, a LATIN KINGS member sexually

harassed LIBERATO’s DAUGHTER. In response, numerous LATIN KINGS members

assaulted and beat this individual. Police later found him on the street severely injured, and

the individual was taken to the hospital. Numerous phone calls were intercepted advising

LIBERATO of the situation.

       39.     LIBERATO was intercepted pursuant to a court-authorized wiretap discussing

the consequences for this transgression, and talking with other members, including Jorge

RODRIGUEZ to discuss retaliation. At one point, LIBERATO spoke to his DAUGHTER and

advised her that the offending individual was seriously beaten, and will be killed. The

following is a draft transcript of a portion of the conversation:

       LIBERATO:               Ah, your mom is calling me asking me what's going on. I'm gonna
                               tell her listen, I was hours away, I had no clue.

       DAUGHTER:               I'm gonna go get food.

       LIBERATO:               The less she would've know the better. Anyway, he has twelve
                               concussions, and a like ten broken bones [UI].

       DAUGHTER:               Really?

       LIBERATO:               Yeah. A lot of broken bones, a lot of concussions [UI] he's gonna
                               get more. [UI] turn back but they'll be here tomorrow.

       DAUGHTER:               What?

       LIBERATO:               The brothers are coming tomorrow.

       DAUGHTER:               Do I have to be home or not?

       LIBERATO:               No [UI] what you want and stuff but still we were talking about
                               this earlier before, you know how we feel about sex offenders and
                               shit.



                                                 14
       DAUGHTER:              Yeah.

       LIBERATO:              These brothers are, are the ones that are to do the other stuff. That
                              there's not gonna be no hospital it's gonna be just to the morgue.
                              [UI]

       DAUGHTER:              Yeah.

       LIBERATO:              But then I'm gonna make more phone calls in the morning and
                              stuff to the other people so then--these conversations don't happen
                              over the phone and stuff so when you call, you call I say I got to
                              talk to you, we meet up, and we talk in person this stuff that way
                              [UI]

       40.     On 8/31/18, LIBERATO was intercepted pursuant to a court-authorized wiretap

discussing firearms and ammunition with ISRAEL RODRIGUEZ, a/k/a KING IMPERIAL. The

two discuss various calibers of ammunition for I. RODRIGUEZ, which they refer to as “food,”

and a .25 caliber firearm, which I. RODRIGUEZ refers to as a “twenty-five year old chick.” I

know that LIBERATO possesses a license to carry, owns a number of firearms, and can legally

purchase ammunition. The following is a draft transcript of a portion of the conversation:

       I. RODRIGUEZ:          Aight um so a question um, I need food.

       LIBERATO:              Oh yeah just come to my house and shit and we'll go pick'em up.

       I. RODRIGUEZ:          Uhm, [clears throat] I gotta I gotta twenty-five year old chick.

       LIBERATO:              Oh yeah bro damn. Aight cool just lemme know and stuff bro.

       I. RODRIGUEZ:          But you got that, you got food on deck for her?

       LIBERATO:              Nah not now. We can always go and pick some up.

       I. RODRIGUEZ:          Aight cause um I also I got I got other food um that I'm willing to
                              trade for food I need.

       LIBERATO:              Yeah yeah yeah just dude um I'm off tomorrow just bring it to my
                              house and we'll see what's up.

       I. RODRIGUEZ:          Aight cause um I mean your phone is gucci right?



                                                15
       LIBERATO:              Huh? Yeah.

       I. RODRIGUEZ:          Aight so basically um forty-five, nine, and thirty-eight. (OV) Is
                              what I, is is is that's basically what I have.

       LIBERATO:              Okay

       I. RODRIGUEZ:          Um and but I got basically almost full boxes of all three of those
                              but what I don’t have and I need is twenty-five and twenty-two.

       LIBERATO:              Oh nice twenty-two is always hard to find bro we could always
                              find that shit dude. Um yeah because if you want we could meet up
                              tomorrow and shit dude. And not even that…

       I. RODRIGUEZ:          Aight

       LIBERATO:              Twenty-five should work. Twenty-five is bro ... if you buy the
                              wrong bullet like if you buy bullets bro ... they're non-refundable
                              and shit like it's no exchange either. So you gotta find out what
                              twenty-five short, twenty-five long twenty-five what?

       I. RODRIGUEZ:          Um I got a little pocket jump-off.

       LIBERATO:              Yeah um...

       I. RODRIGUEZ:          Called a shorty

       41.     I. RODRIGUEZ then inquires of LIBERATO if certain types of ammunition will

be more lethal. LIBERATO explains that for “gangsters,” the type of ammunition will not matter

“as long as you hit the guys.” LIBERATO then explains that “hollow points” expand in your

body. I. RODRIGUEZ then inquires if hollow points carry a greater penalty, and then if hollow

points are “cop killers.” LIBERATO responds that a regular bullet can kill a police officer if you

“shoot the cop in the head.” The following is a draft transcript of a portion of the conversation:

       I. RODRIGUEZ:          Now yo now another thing too is is there different um so like
                              different brand? Does it matter?

       LIBERATO:              Not not for gangsters it really don't matter in stuff dude cause as
                              long as you hit the guys (UI)




                                                16
I. RODRIGUEZ:   Because I got I gotta I gotta box a a a nines right. But then I just
                got a new nether (UI) box a nines that are Winchester full metal
                jackets, range and and target.

LIBERATO:       Yup range just means ... that's like the cheaper brand. You just
                gonna keep (UI). Like if I was to hit you with those they'll they'll
                go in and out where hollow points they expand in your body and
                turn into mushrooms they turn into flowers and shit dude.

I. RODRIGUEZ:   Yeah yeah yeah

LIBERATO:       So it would, it doesn't really matter and shit dude cause niggas,
                they'll wait until you walk by to make sure they get you they both
                work they both... work. And the hollow point (OV) the hollow
                points or whatever you get less and you pay more so…

I. RODRIGUEZ:   Yeah yeah

LIBERATO:       (UI) as much as you get for hollow points you gonna get five of
                them.

I. RODRIGUEZ:   Well I got...

LIBERATO:       For like fifty bucks (OV)

I. RODRIGUEZ:   I got I got I had but the thing that I got came with six hollows. So I

LIBERATO:       Aight

I. RODRIGUEZ:   But those those are hot box so I took those out and I replaced them
                with regulars. (Laughs)

LIBERATO:       No dude they wouldn't be hot box why would it be hot box bro?
                (OV)

I. RODRIGUEZ:   Cause nigga. Cause if you get bagged with that shit ain't it ain't it
                more than ... ain't them popo ... you know what i mean?

LIBERATO:       Bro no no that's shit's dumb they gonna charge they gonna charge
                you wit wit wit anything. They're gonna charge you just for um
                illegal possession of firearm. They're gonna charge you for illegal
                possession of um ammo, ammunition. If it's ten plus rounds in the
                magazine they're gonna charge you with that. They're gonna
                charge you if there's a school zone you get... depending on the
                bullet they don't care.



                                  17
      I. RODRIGUEZ:        Oh ok ok. I thought for those hollows the hollows you get more
                           money cause they supposedly cop killers.

      LIBERATO:            Nah listen, regular bullets are cop killers bro all you gotta do is
                           shoot the cop in the head cause (UI) in the vest.

      I. RODRIGUEZ:        Yeah yeah yeah

      LIBERATO:            (UI) that's just dumb.

      I. RODRIGUEZ:        Aight no doubt no doubt no doubt, no, because, because

      LIBERATO:            Dude (OV)

      I. RODRIGUEZ:        - the reason the reason I was asking is cause I got two different
                           boxes a nines and I didn't wanna trade one if the other one was
                           better. You know what I mean?

      LIBERATO:            Well bro I don't I don't trade nines rounds I'll just take all your
                           bullets and then I just give you, you can buy your own bullets.
                           Cause cause Hey but um ... hey! Look up R" "I", "R-I-P-nine-M-
                           M" look at those um bullets on youtube bro. Those things...

      I. RODRIGUEZ:        Yeah

      LIBERATO:            are fifty bucks for twenty of them. Um when you gotta chance you
                           go to youtube and put "R-I-P-nine-M-M"

      I. RODRIGUEZ:        No doubt

      LIBERATO:            That's right do that (UI) and let me know if you watch any of those
                           videos bro. It's insane.

      I. RODRIGUEZ:        What did you say? "R-I-P-mad-M-M?

      LIBERATO:            Yeah it's not like you know rest in peace? nine millimeter. "Nine-
                           M-M.”

Angel ROLDAN, a/k/a “KING BIG A”

      42.    ROLDAN is the former Cacique for Massachusetts for the LATIN KINGS.

ROLDAN has also historically held leadership roles in the D5K Chapter. ROLDAN’s role and

membership in the LATIN KINGS have been confirmed by his attendance at numerous meetings



                                             18
of the State Team and D5K cyphers, and also through recordings where he is present and

exercising a leadership role over LATIN KINGS affairs. ROLDAN also facilitates

communication with the DOC Chapter through BARROS and CORREA. Additionally, he is

referred to by other LATIN KINGS as a member.

       43.     ROLDAN was previously convicted in Massachusetts U.S. District Court of

conspiracy to distribute cocaine base, and distribution of cocaine base as part of a prior federal

investigation of the LATIN KINGS in 2006 and sentenced to 68 months in prison. See U.S. v.

Follis, et. al., Docket No. 06-CR-10267-NMG.

Gregory PEGUERO-COLON, a/k/a “KING TRECE”

       44.     PEGUERO-COLON is the current Chairman of the Massachusetts Crown

Council for the LATIN KINGS. In that role, PEGUERO-COLON maintains the various

literature and files of the LATIN KINGS and has distributed emails attaching these materials to a

cooperating witness. PEGUERO-COLON’s role and membership in the LATIN KINGS have

been confirmed by his attendance at numerous recorded meetings with other leaders and

references by other members to the leadership role that PEGUERO-COLON holds.

       45.     On 9/14/99, PEGUERO-COLON was convicted of being a felon in possession of

a firearm in Massachusetts U.S. District Court and sentenced to 52 months in prison (Docket No.

98-CR-30021-MAP).

III.   THE LATIN KINGS MASSACHUSETTS DOC CHAPTER

       46.     The following individuals have been identified as being associated with the DOC

Chapter of the LATIN KINGS.

Fruitos BARROS, a/k/a “KING FRUITY”

       47.     BARROS is the current Supreme Regional Officer of the DOC Chapter for the



                                                 19
LATIN KINGS. In this role, BARROS is responsible for maintaining the LATIN KINGS

chapters within the DOC system. BARROS is in constant communication with the State Team

and the various DOC facility chapters through his appointed Secretary, SANDRA CORREA,

a/k/a “QUEEN DREAM.” BARROS’ leadership role and membership in the LATIN KINGS

have been confirmed by DOC records, recorded jail calls, self-admission on jail calls, and

photographs. On 3/3/15, BARROS was convicted of conspiracy to commit murder and armed

home invasion, among other offenses in Essex Superior Court and sentenced to a approximately

twenty-five years of incarceration. See Docket No. 1377CR01393.

Sandra CORREA, a/k/a “QUEEN DREAM”

       48.     CORREA is the former Secretary of the DOC Chapter for the LATIN KINGS. In

this role, CORREA was responsible for maintaining the communication between the DOC and

the State Team. CORREA’s leadership role and membership in the LATIN KINGS have been

confirmed by recorded jail calls, self-admission on jail calls, and photographs.

Shaun HARRISON, a/k/a “REV”

       49.     HARRISON is a member of the LATIN KINGS who is currently incarcerated at

the DOC for the Attempted Murder of Victim 18, a 17 year old drug dealer who owed

HARRISON a drug debt. HARRISON’s membership in the LATIN KINGS has been confirmed

by recorded jail calls, self-admission on jail calls, and photographs of gang tattoos.

Vincent DZIERWINSKI, a/k/a “KING VICE”

       50.     DZIERWINSKI is a member of the LATIN KINGS who is currently incarcerated

in the DOC. DZIERWINSKI’s membership in the LATIN KINGS has been confirmed by DOC

records.

IV.    THE LATIN KINGS DEVON STREET KINGS (D5K) CHAPTER



                                                 20
       51.    The following individuals have been identified as being associated with the D5K

Chapter of the LATIN KINGS.

Wilson PEGUERO, a/k/a “KING DUBB”

       52.    W. PEGUERO is the Inca of the Devon Street Kings Chapter of the LATIN

KINGS. Various pictures, social media posts, and references by other members confirm him as a

leader within the LATIN KINGS. W. PEGUERO is also featured on numerous YouTube videos

with other members of D5K holding money, flashing firearms and gang signs, and rapping about

shooting members of rival gangs. In addition,

Alexis PEGUERO, a/k/a “KING LEXI” and “KING LOONEY”

       53.    A. PEGUERO is the Cacique of the Devon Street Kings Chapter of the LATIN

KINGS. Various pictures, social media posts, and references by other members confirm him as a

leader within the LATIN KINGS. A. PEGUERO is also featured on numerous YouTube videos

with other members of D5K holding money, flashing firearms and gang signs, and rapping about

shooting members of rival gangs.

Steven Familia VALDEZ, a/k/a “KING HAZE”

       54.    FAMILIA-VALDEZ is a former member of the Devon Street Kings Chapter of

the LATIN KINGS. Various pictures, social media posts, and references by other members

confirm him as a member of the LATIN KINGS. FAMILIA-VALDEZ is also featured on

numerous YouTube videos with other members of D5K holding money, flashing firearms and

gang signs, and rapping about shooting members of DDP among others.

       55.    During the 3/23/18 meeting, FAMILIA-VALDEZ is recorded saying that he

accidently sold 100 grams of fentanyl to a customer thinking it was cocaine base. At a meeting

on 1/23/19, FAMILIA-VALDEZ is captured accusing ROLDAN of owing him $20,000 for 7



                                                21
pounds of marijuana.

Dante LARA, a/k/a “KING NASTY”

       56.     D. LARA is a member of the Devon Street Kings Chapter of the LATIN KINGS.

Various pictures, recordings, social media posts, and references by other members confirm him

as a member of the LATIN KINGS.

       57.     On 7/11/14, Boston Police responded to reports of a person stabbed at 1031

Tremont Street. Upon arrival, they located a victim suffering from a stab wound to his lower

abdomen. The victim provided a general description of the suspects as “Hispanic males.”

Officers retrieved a video from Boston Hooka Store located at 1027 Tremont Street. The video

depicts D. LARA approaching the victim, ultimately punching him in the face with a closed fist.

The victim backed away from D. LARA to avoid getting hit again when LATIN KINGS member

K.D. is captured coming around the corner and stabbing the victim. K.D. and D. LARA run

down the street and arrested shortly thereafter following a car stop. A witness was transported to

the scene of the car stop and identified D. LARA and K.D. The victim was treated at Brigham

and Women’s Hospital for a non-life threatening stab wound to the lower left abdomen.

       58.     On 3/23/18, D. LARA is captured showing a bag of cocaine base to W.

PEGUERO, A. PEGUERO during a cypher.

Robert LARA, a/k/a “KING RIZZ”

       59.     R. LARA is a member of the Devon Street Kings Chapter of the LATIN KINGS.

Various pictures, social media posts, and references by other members confirm him as a member

of the LATIN KINGS.

       60.     On 12/17/17, CW-3 reported that R. LARA assaulted two Bloods gang members

at a party following a greenlight being issued by W. PEGUERO and PALACIOS. CW-3, CW-9,



                                               22
W. PEGUERO, and ROLDAN were present for this meeting.

       61.     On 3/17/19, R. LARA is captured “violating” (beating) Oscar PENA at a cypher.

Following the beating R. LARA complains his “knuckles are bleeding” and Oscar PENA is

overheard complaining that his ribs are broken.

Matthew PALACIOS, a/k/a “KING NENE”

       62.     PALACIOS is the Enforcer of the Devon Street Kings. Various pictures,

recordings, social media posts, and references by other members confirm him as a leader

within the LATIN KINGS.

       63.     At the 3/30/18 D5K meeting PALACIOS is captured saying that he “lost both

joints” (firearms) and wants to buy a firearm with a “wooden handle” that E.F. is selling for

$450. PALACIOS indicates he will only pay $400.

Marlon RIVERA, a/k/a “KING PLUTO”

       64.     Marlon RIVERA (M. RIVERA) is one of the founders of the Devon Street Kings

Chapter and formerly the Inca of the Fitchburg Chapter of the LATIN KINGS. Various pictures,

social media posts, DOC records, and references by other members confirm him as a member of

the LATIN KINGS. M. RIVERA is also featured on numerous YouTube videos with other

members of D5K holding money, flashing firearms and gang signs.

       65.     M. RIVERA was intercepted over court-authorized wiretap engaging in drug

deals with F. LOPEZ. Following one of these interceptions officers conducted a car stop and

recovered 14 grams of cocaine base from M. RIVERA.

       66.     According to information provided by CW-9, on 2/4/19 LATIN KINGS member

J.M. went with M. RIVERA and LATIN KINGS member W.V. to commit a home invasion in

Boston. During the home invasion J.M. was killed.


                                                  23
          67.       On 2/23/19, M. RIVERA is captured on video giving CALDERON 1.5 grams of

cocaine base.

Angel ORTIZ, a/k/a “KING ABBY”

          68.       Angel ORTIZ is a member the Devon Street Kings Chapter of the LATIN

KINGS.          Various pictures and references by other members confirm him as a member of the

LATIN KINGS.

          69.       On 6/14/18, CW-3 and ROLDAN went to Angel ORTIZ’s house to cut

approximately 100 grams of heroin. Angel ORTIZ was present and assisted in processing the

heroin.

Angel RODRIGUEZ, a/k/a “KING ACE”

          70.       Angel RODRIGUEZ is a member the Devon Street Kings and Crown Council

Chairman of the Boston Crown Council of the LATIN KINGS. Various pictures, social media

posts, YouTube videos, DOC records, and references by other members confirm him as a

member of the LATIN KINGS.

          71.       In addition to his participation in the acts of violence while in DOC custody, A.

RODRIGUEZ called into a D5K meeting on 3/23/18 to discuss issues with an individual I will

refer to as Victim 19, and attended a State Team meeting on 4/21/18.

          72.       A. RODRIGUEZ is also featured rapping on numerous YouTube videos with

other members of D5K holding money, flashing firearms and gang signs, and rapping about

shooting members of rival gangs.

          73.       One of the music videos is titled "Enemy's” (sic), posted on 6/8/19, available at

https://www.youtube.com/watch?v=34pUWu-MzmI. W. PEGUERO and A. PEGUERO both

appear in the video as well. A. RODRIGUEZ lyrics speak of his willingness to shoot his



                                                     24
“enemy's,” and drug distribution. He also references "splattering brains" of "snitches."

       74.     Another video is titled "Zero to 1000," posted on 5/28/15, available at

https://www.youtube.com/watch?v=w2YGpzMsFg8. W. PEGUERO and A. PEGUERO both

appear in the video as well. A. RODRIGUEZ discusses shooting people and selling narcotics in

this video as well. A. RODRIGUEZ discusses having hitters and also mentions that this is

“King’s World.” A. RODRIGUEZ also discusses shooting people in the face and says he’s a

“DDP Killer,” which is a reference to the Dominicans Don’t Play street gang.

       75.     Another video is titled "Chronicles," posted on 9/16/26, available at

https://www.youtube.com/watch?v=8R4bctjRCi4. The first screen shot shows A. RODRIGUEZ

doing the LATIN KINGS hand sign with D. LARA. A. RODRIGUEZ discusses being shot in

the back and retaliating and states "Ya'll though I was finished," "I'll be down to ride, I'm talking

homicide, put like 30 in the clip and let them bullets fly." A. RODRIGUEZ also discusses being

a shooter. A. RODRIGUEZ says "I'll be banging D5K screaming fuck a DDP."

       76.     A 10/9/19 recording captures A. RODRIGUEZ in the basement of 358 North

Front Street, New Bedford, MA, sitting at a table packaging cocaine base for distribution.

During the recording, Jorge RODRIGUEZ states “that’s four G’s right there off a six-deuce,” to

which A.RODRIGUEZ replies, “that’s not bad at all.” Investigators know Jorge RODRIGUEZ

to be referring to 62 grams of crack cocaine when he says six-deuce and $4,000 dollars when he

states “4gs,” which means that A. RODRIGUEZ can make $4,000 from breaking down the sixty-

two grams of cocaine into smaller quantities for street level distribution.

V.     THE LATIN KINGS NEW BEDFORD CHAPTER

       77.     The New Bedford Chapter of the LATIN KINGS is an extremely well-organized

and violent chapter with numerous members. This Chapter engages in a coordinated drug



                                                 25
conspiracy employing numerous apartment buildings located throughout the north side of New

Bedford. These locations are referred to as trap houses, and are locations where the Chapter

controls the premises and can distribute controlled substances with relative impunity. The New

Bedford Chapter is also extremely violent and actively engages in fights, feuds, shootings,

attempted murder, and open brawls with rival gangs and individuals in bad standing with the

LATIN KINGS. As such, the New Bedford Chapter of the LATIN KINGS racketeering

enterprise has had a significant negative effect upon the character of North New Bedford,

specifically in the areas around the network of trap houses they control.

       78.     These New Bedford trap houses include the properties located at 104 Tallman

Street, 358 North Front Street, and 239 Sawyer Street. All three trap houses are situated within

1000 feet of the Global Learning Charter Public School,6 located at 190 Ashley Boulevard,

Riverside Park on Belleville Avenue, and the Nye Street Pocket Park at the corner of Acushnet

Avenue and Nye Street. A map depicting the proximity of these three trap houses to the school

and park locations follows:




       6
         According to its website, “Global Learning Charter Public School (GLCPS) is a tuition-
free public charter school that currently serves 500 students in grades 5-12. Launched in 2002 as
a Horace Mann charter school, GLCPS became a District charter school in 2006.”
https://www.glcps.org/apps/pages/index.jsp?uREC_ID=298601&type=d&pREC_ID=688886.

                                                26
       79.     Newspaper articles capture the frustration of local law enforcement and

politicians, who have noted repeated high-level offenders being arrested for violent crimes, and

ultimately released by local courts. Articles describe the prevailing sentiments of law

enforcement in New Bedford, who have noted the numerous offenses being committed by those

on pretrial release, and the over 220 fatal overdoses in Bristol County during 2017. See Judges

Under Fire on SouthCoast, June 30, 2018, New Bedford Standard-Times, available at

https://www.southcoasttoday.com/news/20180630/judges-under-fire-on-southcoast.

       80.     After the release of a particular violent LATIN KINGS member on a low bail,

despite being on pretrial release for another offense, the Mayor noted his frustration in an

interview with a local media outlet:

       “The continued practice of district court judges releasing violent defendants on limited
       bail is deeply troubling,” said Mayor Mitchell. “It has compromised the safety of our city,
       negated the hard work of our police officers, and undermined the public’s respect for the
       state judicial system. It underscores the need for the appointment of judges who have
       more than a passing connection to Greater New Bedford, and for heightened media

                                                27
          scrutiny of district court proceedings. The doors of the system must be thrown open to the
          daylight.”

See New Bedford Police: Low Bail for Convicted Killer in Robbery Case, WBSM, available at

https://wbsm.com/new-bedford-police-low-bail-for-convicted-killer-in-robbery-case.

          81.    Through repeated leniency, access to large amounts of cash generated by the

lucrative drug trade that the LATIN KINGS controls in New Bedford and a demonstrated pattern

of intimidating those who provide information to law enforcement, the New Bedford LATIN

KINGS Chapter has been able to foster a palpable climate of fear on the north side of New

Bedford. This has most recently manifested itself in a series of shootings with rival gangs over

the Summer and Fall of 2019, culminating in the murder of a LATIN KINGS probationary

member in October 2019.

          82.    At the site of the murder, the LATIN KINGS marked their intention to murder

those responsible for killing the probationary member, who I will refer to as P.C.. Multiple

indications of “GDK,” meaning Gangster Disciple Killer, were observed at the crime scene, and

photographed by a local newspaper, which reported on the gang connection to the murder. See

Signs of Gang Activity Surround New Bedford Teen’s Slaying, New Bedford Standard Times,

Oct. 24, 2019, available at https://www.southcoasttoday.com/news/20191024/signs-of-gang-

activity-surround-new-bedford-teens-slaying. Images accompanying the newspaper story

follow:




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        83.    This gang war has played out largely in the public eye and on social media and

YouTube, with LATIN KINGS members issuing express threats to shoot and kill rival gang

members over the internet. This investigation has revealed that the recent violence is associated

with the expansion of the LATIN KINGS controlled drug network to other parts of the city and

their encroachment upon the turf of rival gangs including the Gangster Disciples and Monte

Park.

        84.    Recent newspaper articles have chronicled the gang activity and noted that it has

raised concern for parents in the high school, even causing after-school activities to be cancelled

due to fears of gang violence. See Signs Of Gang Activity Surround New Bedford Teen’s

Slaying, The Standard-Times, Oct. 24, 2019, available at

https://www.southcoasttoday.com/news/20191024/signs-of-gang-activity-surround-new-bedford-

                                                29
teens-slaying; and see Keith Middle Cancels After-School Programs After Parents Raise

Concerns, The Standard-Times, Oc. 26, 2019, available at

https://www.southcoasttoday.com/news/20191025/keith-middle-cancels-after-school-programs-

after-parents-raise-concerns. In short, the racketeering activity of the New Bedford Chapter has

created an environment and culture of addiction, violence and lawlessness on New Bedford’s

north side that is directly attributable to the LATIN KINGS enterprise.

        85.    The following individuals have been identified as being associated with the New

Bedford Chapter of the LATIN KINGS.

Jose RODRIGUEZ, a/k/a “KING STUTTER”

       86.     Jose RODRIGUEZ is the current Inca for the New Bedford Chapter of the LATIN

KINGS, and is the brother of Jorge RODRIGUEZ and VARGAS. Jose RODRIGUEZ’s role and

membership in the LATIN KINGS have been confirmed by numerous recordings where he is

captured discussing LATIN KINGS business and affairs, on court-authorized interceptions with

other LATIN KINGS members discussing LATIN KINGS affairs and activity, presence at

meetings and gatherings with other LATIN KINGS members, and on social media where he has

made postings of LATIN KINGS signs, symbols and phraseology and depicted in pictures with

other LATIN KINGS members.

       87.     An 8/3/19 recording captures CW-9 and Jorge RODRIGUEZ bringing cocaine

base to Jose RODRIGUEZ. The recording depicts CW-9 and Jorge RODRIGUEZ walking from

358 North Front Street, Apartment 1S, to 238 Davis Street to retrieve cocaine base. Once they

retrieve the cocaine base, CW-9 and Jorge RODRIGUEZ walk to 239 Sawyer Street. Once they

enter the premises, they go up the stairs to the second floor into Unit 2N and provide the cocaine

base to Jose RODRIGUEZ. Later during the recording, while at 235 Sawyer Street, New



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Bedford, MA, Jorge RODRIGUEZ instructs SANTIAGO-TORRES and Jose VASQUEZ to use

the front door of 239 Sawyer Street, and that LATIN KINGS members should use the backdoor

of the residence for drug distribution in order to separate themselves from the drug transactions

taking place in the backyard. Jorge RODRIGUEZ explains that police would need proof of

which specific unit SANTIAGO-TORRES and Jose VASQUEZ reside in order to raid their

location.

Orlando SANTIAGO-TORRES, a/k/a “KING LANDY”

       88.     SANTIAGO-TORRES is the current Cacique of the New Bedford Chapter of the

LATIN KINGS. SANTIAGO-TORRES’ role and membership in the LATIN KINGS have been

confirmed by numerous recordings where he is present during discussion of LATIN KINGS

business and affairs, on court-authorized interceptions with other LATIN KINGS members

discussing LATIN KINGS affairs and drug distribution, on social media where he has made

postings with of LATIN KINGS signs, symbols and phraseology and posted pictures with other

LATIN KINGS members, and presence at meetings and gatherings with other LATIN KINGS

members. SANTIAGO-TORRES is also featured in a number of YouTube videos with other

members of the New Bedford Chapter depicting him holding firearms, wearing gang colors, and

flashing gang signs.

       89.     On 10/30/19, SANTIAGO-TORRES was convicted of witness intimidation in

New Bedford District Court, and placed on one year of probation (Docket No. 1833CR004731).

The report authored by the Massachusetts Court Officers for this incident reads as follows:

       On August 29, 2018 at approximately 9:40am I, (Assistant Chief Court Officer RC)
       had just finished a[n] exterior perimeter patrol with Court Officer CC. A few minutes
       later a gentleman later identified as Orlando Santiago-Torres entered the screening area
       and stated, "Yo.you guys aren't going to do anything? That guy just came running at
       me and you guys didn't do anything." I stated, "Sir, I have no idea what you're talking

                                                31
       about and If I had observed anything like that I would've intervened." It was at this
       time Mr. Santiago-Torres then left the screening area and proceeded into the main
       hallway with party later identified as J.P.M.

       I then observed the other party involved in the incident who was later identified as
       [Victim 36] who appeared to be upset. I asked [Victim 36] if he was just involved in an
       altercation with anyone outside of the building. [Victim 36] stated, "That kid just
       threatened to fucking stab me''. I asked [Victim 36] to calm down and come speak with
       me and explain what happened. [Victim 36] stated, "I saw a kid in a red shirt looking
       inside my vehicle as I was walking outside." The individual in the red shirt was
       identified as J.P.M. [Victim 36] stated that as he yelled at the individual near his
       vehicle the "kid in the red shirt" turned and replied, "I'll stab you right here nigga."
       [Victim 36] then responded to the individual with "If you're going to fucking stab then
       do it in front of everyone."

       I then approached the wife of [Victim 36], ([Victim 37]) and asked if she observed
       anything that had transpired during the altercation and she stated, "Yes." [Victim 37]
       stated she was standing on the sidewalk and observed an argument between her
       husband and a party in a red shirt. It was at this time an individual known to both
       [Victim 36] and [Victim 37] as "Orlando" stated, "You know I know where you live"
       to [Victim 36]. It was at this time Orlando approached [Victim 37] and stated, "Tell
       your husband to keep his fucking mouth shut in court." I asked [Victim 36] how he and
       his wife are familiar with the two individuals and [Victim 36] stated that he is a victim
       in a case where Orlando Santiago-Torres was arrested for robbing him.

       90.     The robbery for which Victim 36 was involved took place on 10/9/17, in

Dartmouth, MA. According to Dartmouth Police report # 17-404, officers responded to a garage

for a breaking and entering where dirt bikes were stolen from Victim 36. Officers located the

suspect vehicle and found SANTIAGO-TORRES, and two LATIN KINGS associates, B.M., and

R.K. in the vehicle. SANTIAGO-TORRES was operating the vehicle. Officers located two of

the three stolen dirt bikes nearby. For reasons not disclosed by the docket, the case was

dismissed on 10/30/19 upon the defendant’s motion (Docket No. 1733CR005688). Victim 36’s

address is stated on the court papers.

Jeremia MEDINA, a/k/a “KING SWEEPY”

       91.     MEDINA is the current Enforcer of the New Bedford Chapter of the LATIN

KINGS. MEDINA’s role and membership in the LATIN KINGS have been confirmed by
                                                32
numerous recordings where he is present during discussion of LATIN KINGS business and

affairs, on court-authorized interceptions with other LATIN KINGS members discussing LATIN

KINGS affairs and drug distribution, presence at meetings and gatherings with other LATIN

KINGS members.

Michael COTTO, a/k/a “KING GORDO”

       92.     COTTO is a member of the New Bedford Chapter and former Eastern

Massachusetts Regional Officer for the LATIN KINGS. COTTO’s role and membership in the

LATIN KINGS have been confirmed by numerous recordings where he is captured discussing

LATIN KINGS business and affairs, social media postings depicting LATIN KINGS symbols,

signs and statements, and presence at meetings and gatherings with other LATIN KINGS

members. Furthermore, COTTO is also featured on numerous YouTube videos with other

members of the New Bedford Chapter posted by LATIN KINGS New Bedford Chapter member

Juan FIGUEROA, a/k/a KING PUN, where COTTO can be observed holding money, flashing

firearms and gang signs, and generally dancing to music with lyrics that discuss LATIN KINGS

members shooting rival gangs.

       93.     An 8/21/18 interception captures FIGUEROA discussing narcotics distribution

with COTTO (Session 2730). During the call, FIGUEROA and COTTO discuss selling

narcotics, weighing narcotics, and saving up the cash.

       94.     An 8/21/18 interception captures FIGUEROA and COTTO discussing police

being outside the trap house. FIGUEROA informs COTTO about the police presence, and

COTTO inquires if “the work is stashed up?” and then instructs FIGUEROA to “stash it

somewhere good.”

       95.     An 8/21/18 interception captures FIGUEROA and COTTO discussing police


                                               33
being outside the trap house. FIGUEROA informs COTTO that it was the gang unit who was

outside, and that FIGUEROA stashed the work in the closet. COTTO instructs FIGUEROA to

wait an hour and get the work and stash it in the roof hallway so that police will not find

anything inside the house.

       96.     An 8/21/18 interception captures FIGUEROA discussing narcotics distribution

with COTTO. During the call, FIGUEROA and COTTO discuss selling narcotics, and COTTO

instructs FIGUEROA to give COTTO’s cousin 6 halves, which investigators know to mean a

specific street-level distribution amount of cocaine base.

       97.     An 8/27/18 interception captures FIGUEROA and COTTO discussing a recent

shooting. COTTO informs FIGUEROA that someone got shot, and that there was a second

retaliation between the gang members. FIGUEROA then bemoans the fact that this happens

when he leaves, and that FIGUEROA would like to participate in some of the violent activity.

       98.     A 6/4/19 recording captures COTTO meeting with LIBERATO and LOPEZ at

358 North Front Street, New Bedford, MA, in the first floor hallway, a common area of the

building. During the meeting, LIBERATO confronts COTTO about owing $5,000 to Jeremia

MEDINA, a/k/a KING SWEEPY, and $3,000 to GV, and an unknown amount to Jorge

RODRIGUEZ. CW-9 knows these debts to be in relation to drugs that were provided to COTTO

on consignment that he had not then repaid. COTTO states he owes GV $2,200. During this

recording LIBERATO asks CW-9 if anyone is going to GV’s hearing, which investigators know

to be in relation to a recent drug arrest. CW-9 responds no because GV had a green light on him

before, and GV had accused Jorge RODRIGUEZ and CW-9 of being informants.

Luis MENDEZ, a/k/a “KING PRIMO

       99.     MENDEZ is a current member of the New Bedford Chapter of the LATIN



                                                34
KINGS, and has historically held various leadership positions. MENDEZ’s role and

membership in the LATIN KINGS have been confirmed by recordings where he is captured

discussing LATIN KINGS business and affairs, on court-authorized interceptions with other

LATIN KINGS members discussing LATIN KINGS affairs and activity. MENDEZ is also

featured in a YouTube video with other members of the New Bedford Chapter depicting her

wearing gang colors, and flashing gang signs.

       100.    MENDEZ is currently detained for a federal drug offense, pending in the U.S.

District Court for the District of Massachusetts. MENDEZ also has an open case related to a

May 2018 shooting incident described later in this document.

Juan FIGUEROA, a/k/a “KING PUN”

       101.    FIGUEROA is a current member of the New Bedford Chapter of the LATIN

KINGS and former member of the Devon Street Kings Chapter. FIGUEROA’s membership in

the LATIN KINGS has been confirmed by numerous recordings where he is captured discussing

LATIN KINGS business and affairs, on court-authorized interceptions with other members

discussing LATIN KINGS affairs and activity, presence at meetings and gatherings with other

LATIN KINGS members, and on social media where he has made postings of LATIN KINGS

signs, symbols and phraseology and posted pictures depicting him with other LATIN KINGS

members. FIGUEROA also is featured in numerous rap videos under the name, ALMIGHTY

KING PUN, where he discusses various LATIN KINGS racketeering activity. Those music

videos are discussed in detail below.

Tanairy RUIZ, a/k/a “QUEEN TANAIRY”

       102.    RUIZ is a current member of the New Bedford Chapter of the LATIN KINGS.

RUIZ’s membership in the LATIN KINGS has been confirmed by numerous recordings where


                                                35
she is present during discussion of LATIN KINGS business and affairs, presence at meetings

and gatherings with other LATIN KINGS members, and on social media where she has made

postings of LATIN KINGS signs, symbols and phraseology and posted pictures depicting her

with other LATIN KINGS members. RUIZ is also featured in a number of YouTube videos

with other members of the New Bedford Chapter depicting her wearing gang colors, and

flashing gang signs.

Issac FELIX-RIVERA, a/k/a “KING IZZY”

       103.    FELIX-RIVERA is a current member of the New Bedford Chapter of the

LATIN KINGS. FELIX-RIVERA’s membership in the LATIN KINGS has been confirmed by

numerous recordings where he is present during discussion of LATIN KINGS business and

affairs, on court-authorized interceptions with other LATIN KINGS members discussing

LATIN KINGS affairs and drug distribution, presence at meetings and gatherings with other

LATIN KINGS members.

Ines LUGO, a/k/a “QUEEN CHINA”

       104.    LUGO is the current Secretary for the New Bedford Chapter of the LATIN

KINGS. LUGO’s role and membership in the LATIN KINGS have been confirmed by

recordings where she is present during discussion of LATIN KINGS business and affairs,

presence at meetings and gatherings with other LATIN KINGS members, and on social media

where she has made postings of LATIN KINGS signs, symbols and phraseology and posted

pictures depicting her with other LATIN KINGS members. LUGO is also featured in a number

of YouTube videos with other members of the New Bedford Chapter depicting her wearing gang

colors, and flashing gang signs.

       105.    Investigators obtained a series of Facebook messages from 1/28/19 related to the

                                               36
planned beating of an individual I will refer to as R, who had posted photographs of himself

throwing up LATIN KINGS gang signs, though he is not affiliated with the gang. The members

of the chat group included LUGO, Jose VASQUEZ, and SANTIAGO-TORRES. In the text

messages, the group discusses the basis for the beating, and setting a time frame on it being

“ASAP.” In the chat, LUGO tells the other members, “U bros better eat on them especially roger

for knowing how we roll and still letting a bitch ass nigga tho down our krown.. I knew that lol

bitch ass niggas was no good wanna see whose guns defend him now.” Investigators believe

that the term “eat’ refers to inflicting physical violence, and has been used by other LATIN

KINGS members in that regard.

       106.    On 8/24/19, a recording captured LUGO delivering 62 grams of cocaine base to

Jose RODRIGUEZ at 239 Sawyer Street, New Bedford, MA.

       107.    LUGO has a criminal record in Florida for controlled substance offenses,

shoplifting, and dealing in stolen property.

Tyson JORGE, a/k/a “KING MUSIC”

       108.    JORGE is a current member of the New Bedford Chapter of the LATIN

KINGS. JORGE’s membership in the LATIN KINGS has been confirmed by numerous

recordings where he is present during discussion of LATIN KINGS business and affairs, on

social media where he has made postings of LATIN KINGS signs, symbols and phraseology

and posted pictures with other LATIN KINGS members, and presence at meetings and

gatherings with other LATIN KINGS members. JORGE is also featured in at least one

YouTube video with other members of the New Bedford Chapter depicting him wearing gang

colors, and flashing gang signs.

Xavier VALENTIN-SOTO, a/k/a “KING X”



                                                37
       109.    VALENTIN-SOTO is a member and the former Cacique of the New Bedford

Chapter of the LATIN KINGS. VALENTIN-SOTO’s role and membership in the LATIN

KINGS have been confirmed by social media where he has made postings with LATIN KINGS

signs, symbols and phraseology and posted pictures with other LATIN KINGS members, and

presence at meetings and gatherings with other LATIN KINGS members.

       110.    A 3/29/19 recording captures CW-3 purchasing 43 grams of cocaine from

VALENTIN-SOTO. During the video, the CW-3 proceeds to 358 North Front Street, Apartment

1S, New Bedford, MA and observed CW-9, Jorge RODRIGUEZ, VALENTIN-SOTO, and

RUIZ. Approximately 300 grams of cocaine is visible on a plate in the kitchen. VALENTIN-

SOTO informs CW-3 that they need to travel to his house to get the cocaine. They traveled to

VALENTIN-SOTO’s residence at 487 North Front Street, First Floor, New Bedford, MA, in

CW-3’s vehicle and went inside. VALENTIN-SOTO entered and then quickly exited his

bedroom and came into the kitchen with 62 grams of cocaine. VALENTIN-SOTO broke off

approximately 1.5 ounces and gave it to CW-3 for $1,800. VALENTIN-SOTO then informed

CW-3 that he/she could get the full 2 ounces the next time for $2,500.

       111.    A 4/9/19 recording captures CW-3 purchasing approximately 62 grams of cocaine

from VALENTIN-SOTO. CW-3 travelled to VALENTIN-SOTO’s address at 487 North Front

Street, First Floor, New Bedford, MA, and VALENTIN-SOTO asked what CW-3 wanted. The

CW responded that he/she brought $2,500 in order to purchase 62 grams of cocaine.

VALENTIN-SOTO then went to another room as CW-3 waited in the kitchen. VALENTIN-

SOTO returned to the kitchen and weighed a plastic bag containing the cocaine on a scale next to

the sink. VALENTIN-SOTO then gave CW-3 the 62 grams of cocaine in exchange for $2,500.

       112.    A 5/6/19 recording captured CW-3 purchasing 63 grams of “soft” for $2,500 from



                                               38
VALENTIN-SOTO. During the conversation, VALENTIN-SOTO asked what the CW wanted

and stated that he had no time to make “hard,” which is cocaine base.

Taliyah BARBOZA, a/k/a “QUEEN TALIYAH”

         113.   BARBOZA is a member of the New Bedford Chapter of the LATIN KINGS.

BARBOZA’s membership in the LATIN KINGS has been confirmed by recordings where she is

present during discussion of LATIN KINGS business and affairs, presence at meetings and

gatherings with other LATIN KINGS members, and on social media where she has made

postings of LATIN KINGS signs, symbols and phraseology and posted pictures depicting her

with other LATIN KINGS members. BARBOZA is also featured in a YouTube video with other

members of the New Bedford Chapter depicting her wearing gang colors, and flashing gang

signs.

         114.   A 2/4/19 recording captures Jorge RODRIGUEZ, MENDEZ, BARBOZA, and

VALENTIN-SOTO discussing the beating of an individual I will refer to as Victim 24. Jorge

RODRIGUEZ states Victim 24 is in Providence Hospital and has three broken ribs and a

collapsed lung. MENDEZ and BARBOZA state that they were present for the assault and

BARBOZA states that Jorge RODRIGUEZ told the group to eat and they began assaulting

Victim 24. BARBOZA indicated that she thought Jorge RODRIGUEZ meant her too, and that

the other LATIN KINGS members were holding her back.

Raekwan PARIS, a/k/a “KING DEBO”

         115.   PARIS is a current member of the New Bedford Chapter of the LATIN KINGS.

PARIS’s membership in the LATIN KINGS has been confirmed by a recording discussing

LATIN KINGS racketeering activity, references by other LATIN KINGS members to PARIS

being a member of the LATIN KINGS, and on social media where he has made postings of



                                               39
LATIN KINGS signs, symbols and phraseology and posted pictures depicting him with other

LATIN KINGS members.

Roberto VARGAS, a/k/a “KING ROYALTY”

         116.   VARGAS is a current member of the New Bedford Chapter of the LATIN

KINGS. VARGAS’s membership in the LATIN KINGS has been confirmed by numerous

recordings where he is captured discussing LATIN KINGS business and affairs, on court-

authorized interceptions with other LATIN KINGS members, and references by other members

to VARGAS being a member of the LATIN KINGS. Furthermore, VARGAS is also featured on

numerous YouTube videos, where VARGAS can be observed holding money, and flashing gang

signs.

Jose VASQUEZ, a/k/a “KING FEARLESS”

         117.   Jose VASQUEZ is a former member of the New Bedford Chapter of the LATIN

KINGS, and a former Enforcer the New Bedford Chapter. Jose VASQUEZ’s role and

membership in the LATIN KINGS were previously confirmed by numerous recordings where he

is captured discussing LATIN KINGS business and affairs, and references by other members to

Jose VASQUEZ being a member of the LATIN KINGS, and on social media where he is

depicted with other LATIN KINGS members. Furthermore, Jose VASQUEZ is also featured in

numerous YouTube videos with other members of the New Bedford Chapter depicting him

flashing gang signs. As discussed below, in October 2019, Jose VASQUEZ was violently

terminated from the LATIN KINGS for violating a gang law forbidding fornication with the

girlfriend of another LATIN KINGS member.

Josue CARRASQUILLO, a/k/a “KING PLAYBOY”

         118.   CARRASQUILLO is a current member of the New Bedford Chapter of the



                                             40
LATIN KINGS. CARRASQUILLO’s membership in the LATIN KINGS has been confirmed

by numerous recordings where he is captured discussing LATIN KINGS business and affairs,

and references by other members to CARRASQUILLO being a member of the LATIN KINGS,

and on social media where he has made postings of LATIN KINGS signs, symbols and

phraseology and posted pictures depicting him with other LATIN KINGS members.

Furthermore, CARRASQUILLO is also featured in YouTube videos with other members of the

New Bedford Chapter depicting him wearing gang colors and flashing gang signs.

Shelton JOHNSON, a/k/a “KING SHELLS”

       119.    JOHNSON is a current member of the New Bedford Chapter of the LATIN

KINGS. JOHNSON’s membership in the LATIN KINGS has been confirmed by numerous

recordings where he is captured discussing LATIN KINGS business and affairs, and references

by other members to JOHNSON being a member of the LATIN KINGS, and on social media

where he has made postings of LATIN KINGS signs, symbols and phraseology and posted

pictures depicting him with other LATIN KINGS members.

       120.    On 2/14/18, a victim reported to police that he had been robbed of his wallet and

money at an apartment at 149 Tinkham Street, New Bedford, MA. The victim noted that he was

assaulted by black male wearing dark clothing, later identified to be JOHNSON. The victim

informed police that a total of six people assaulted him and stole approximately $600 in currency

from his wallet. The victim reported that JOHNSON punched and kicked him, and that another

LATIN KINGS member, Hector Torres, punched him and pushed him out of the apartment after

they had stolen the cash from his wallet. JOHNSON then threw the empty wallet to the victim.

Officers noted that they had recently executed a search warrant related to a narcotics

investigation at the 149 Tinkham Street address on 2/5/18. Officers went to the apartment and



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identified JOHNSON, and Hector Torres, a/k/a King Chino. Torres, JOHNSON and four others

were placed under arrest, and police located crack cocaine on the floor near Torres. JOHNSON

pled guilty to the reduced charge of larceny from a person and assault and battery by means of

dangerous weapon on 5/14/18, (Docket 1833CR000801), and was sentenced to 1 year in the

house of correction.

Luis SANTIAGO, a/k/a “KING TINY”

       121.    SANTIAGO is a current member of the New Bedford Chapter of the LATIN

KINGS. SANTIAGO’s membership in the LATIN KINGS has been confirmed by references by

other LATIN KINGS members to SANTIAGO being a member of the LATIN KINGS, and on

social media where he has made postings of LATIN KINGS signs, symbols and phraseology and

posted pictures depicting him with other LATIN KINGS members. Furthermore, SANTIAGO is

also featured in a YouTube video with other members of the New Bedford Chapter with

members holding firearms, wearing gang colors and flashing gang signs.

Kevin GUADALUPE, a/k/a “KING MILLY”

       122.    GUADALUPE is a current member of the New Bedford Chapter of the LATIN

KINGS. GUADALUPE’s membership in the LATIN KINGS has been confirmed by recordings

where he is present when LATIN KINGS business and affairs are discussed, references by other

members to GUADALUPE being a member of the LATIN KINGS, and on social media where

he is depicted in photographs throwing up gang signs with other LATIN KINGS members.

       123.    According to New Bedford Police report #19-7006, on 6/20/19, a convenience

store on Purchase Street, New Bedford, MA, was robbed by two men carrying guns. CW-9 stated

that CARRASQUILLO and GUADALUPE committed the robbery with the acquiescence of the

store owner for insurance proceeds. This robbery was captured on video, and the clerk, who was



                                               42
not aware of the scam, was struck by the robbers. CW-9 learned about this robbery from

CARRASQUILLO and GUADALUPE who told CW-9 about it. CW-9 believes that this

robbery was arranged with the owner by another LATIN KINGS member, FNU LNU, a/k/a Pica.

Natanael VELAZQUEZ, a/k/a “KING NAEL”

       124.    N. VELAZQUEZ is a current member of the New Bedford Chapter of the LATIN

KINGS. N. VELAZQUEZ’s membership in the LATIN KINGS has been confirmed by

references by other LATIN KINGS members to N. VELAZQUEZ being a member of the

LATIN KINGS, and on social media where he is depicted in photographs throwing up gang

signs with other LATIN KINGS members. Furthermore, N. VELAZQUEZ is also featured in a

YouTube video with other members of the New Bedford Chapter depicting members wearing

gang colors and flashing gang signs.

Emanuel LOPEZ-VELEZ, a/k/a “KING MANNY”

       125.    LOPEZ-VELEZ is a probationary member of the New Bedford Chapter of the

LATIN KINGS. LOPEZ-VELEZ’s probationary membership in the LATIN KINGS has been

confirmed by references by other LATIN KINGS members to LOPEZ-VELEZ being a member

of the LATIN KINGS. Furthermore, LOPEZ-VELEZ is also featured in a YouTube video with

other members of the New Bedford Chapter depicting members wearing gang colors and

flashing gang signs.

Jayco REYES-SMITH, a/k/a “KING JAVY”

       126.    REYES-SMITH is a former member of the New Bedford Chapter of the LATIN

KINGS, who is believed to have left the area and returned to North Carolina. REYES-SMITH’s

membership is confirmed by recordings and information from CW-9 that CW-9 knew REYES-

SMITH when he was in New Bedford. REYES-SMITH is believed to have left Massachusetts



                                             43
following a May 2018 shooting that was caught on camera and for which he is currently in

warrant status. This shooting is discussed below.

VI.    OTHER CHAPTER LATIN KINGS TARGETS

Alfred NIEVES, a/k/a “KING ALFY” - Lowell

       127.    NIEVES is the former Inca of the Lowell Chapter, and current member of the

LATIN KINGS. NIEVES’ role and membership in the LATIN KINGS have been confirmed by

recordings where he is captured discussing LATIN KINGS business and affairs, presence at

meetings and gatherings with other LATIN KINGS members, and on social media where he has

made postings of LATIN KINGS signs, symbols and phraseology and posted pictures depicting

him with other LATIN KINGS members.

Israel RODRIGUEZ, a/k/a “KING IMPERIAL” – North Shore

       128.    I. RODRIGUEZ is the Inca of the North Shore Chapter of the LATIN KINGS. I.

RODRIGUEZ’s role and membership in the LATIN KINGS have been confirmed by recordings,

self-admissions on court-authorized interceptions, and recordings where he is referenced by other

members as a member of the LATIN KINGS.

Jesus DIAZ, a/k/a “KING KIKO” – North Shore

       129.    J. DIAZ is a member of the North Shore Chapter of the LATIN KINGS. J.

DIAZ’ role and membership in the LATIN KINGS have been confirmed by recordings obtained

during controlled buys.

Henry CARIBE, a/k/a “KING 40CAL” – North Shore

       130.    CARIBE is a member of the North Shore Chapter of the LATIN KINGS.

CARIBE’s role and membership in the LATIN KINGS have been confirmed by recordings

obtained during controlled buys.



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Alexis VELASQUEZ, a/k/a “KING BOOBOO” – MSB

       131.    A. VELASQUEZ is the current Inca of the Morton Street Bricks Chapter of the

LATIN KINGS. Various pictures, recordings, and references by other members confirm him as

a member of the LATIN KINGS.

Angel CALDERON, a/k/a “KING BAM” - MSB

       132.    CALDERON is a current member of the Morton Street Bricks Chapter of the

LATIN KINGS. Various pictures, recordings, YouTube music videos, and references by other

members confirm him to be a member of the LATIN KINGS.

Oscar PENA, a/k/a “KING O-BLOCK”

       133.    PENA is a current member of the Morton Street Bricks Chapter of the LATIN

KINGS. Various pictures, social media posts, and references by other members confirm him as a

member of the LATIN KINGS.

       134.    On 11/11/17, Boston Police were patrolling the Gallivan Boulevard area of

Dorchester in response to an Officer Safety and Awareness bulletin advising that Heath Street

Gang members were seeking retaliation against D5K gang members for a dispute. Officers

observed a Jeep committing traffic violations and conducted a car stop. CALDERON was in the

driver’s seat and Oscar PENA was seated in the rear passenger’s seat. Following a brief inquiry

where it was determined that neither CALDERON nor Oscar PENA had a valid license, all

occupants were removed from the Jeep. One gram of cocaine and 13 grams of heroin were

recovered from the driver’s side rear door pocket.

       135.    A 11/12/18 recording captured CW-3 purchasing 40 grams of suspected heroin

from PENA.

       136.    A 12/6/18 recording captured CW-3 purchasing 30 grams of suspected heroin



                                               45
from PENA.

Alvin MOJICA, a/k/a “KING HUMBLE” – Worcester, Inca

       137.      MOJICA is the current Inca of the Worcester Chapter of the LATIN KINGS.

Various references by other members of the LATIN KINGS confirm his membership. MOJICA

distributes controlled substances in furtherance of the LATIN KINGS.

Sophia VELASQUEZ, a/k/a “QUEEN SOPHIA”

Dairon RIVERA, a/k/a “KING MAFIA” – Fitchburg

       138.      S. VELASQUEZ and D. RIVERA are members of the Fitchburg Chapter of the

LATIN KINGS. Their membership is confirmed by recordings made during controlled buys of

controlled substances. They distribute fentanyl on behalf of the LATIN KINGS.

Hector ADORNO, a/k/a “KING GORDO” – Springfield

       139.       ADORNO is a member of the Springfield Chapter of the LATIN KINGS. His

membership is confirmed by historical police reports and records. ADORNO was found to be a

felon in possession of ammunition taken from a “Ghost Gun” during the course of this

investigation.

Jonathan CASSIANO, a/k/a “KING LEGEND” – Springfield

       140.      CASSIANO is a member of the Springfield Chapter of the LATIN KINGS. His

membership is confirmed by historical police reports and records. CASSIANO was found to be

a felon in possession of ammunition taken from a “Ghost Gun” during the course of this

investigation.

Antoine GOODSON and Derek SOUTHWORTH

       141.      GOODSON and SOUTHWORTH are firearms suppliers to the LATIN KINGS.

                 PATTERN OF ASSOCIATED RACKETEERING ACTIVITY



                                              46
       142.    For the past four years, the investigation has generated numerous recordings and

interceptions, which substantiate the extensive racketeering activities of the LATIN KINGS

throughout Massachusetts and the East Coast. This racketeering activity committed by the

enterprise includes conspiracies to murder orchestrated by the height of the East Coast Team

Leadership, including CECCHETELLI, down to the individual members tasked with maintaining

and extending the sphere of LATIN KINGS influence through shootings, drug dealing,

robberies, and witness intimidation.

       143.    In order to organize the extensive racketeering activity, this affidavit sets forth the

activity by tier of the targets involved, i.e., activity that involved the East Coast Team directing

or accomplishing the racketeering activity, followed by activity involving the Massachusetts

State team directing or accomplishing the racketeering activity, followed by individual chapters.

              EAST COAST TEAM SELECTED RACKETEERING ACTIVITY

       I.      Conspiracy to Murder Victim 21 and Victim 22 (Involving CECCHETELLI,
               Jorge RODRIGUEZ, MARRERO, E. ORTIZ, VEGA, SIERRA, PEGUERO-
               COLON)

       144.    This investigation documented a conspiracy to murder formed by

CECCHETELLI and other members of the LATIN KINGS leadership that targeted two LATIN

KINGS members in bad standing for disrespecting CECCHETELLI’s leadership. I will refer to

the targeted individuals as Victim 21, and Victim 22.

       145.    In April 2018, PEGUERO-COLON disseminated a series of emails concerning

the LATIN KINGS. CW-3 received these emails and provided them to law enforcement. This

series of emails also identified individuals who were believed to be informants, and other

persons in bad standing with the LATIN KINGS. Of note, Victim 21 is listed in a spreadsheet

sent by PEGUERO-COLON to CW-3 on 04/22/18 identifying individuals who have been



                                                 47
identified as being in bad standing with the LATIN KINGS. The spreadsheet identified Victim

21 by name, and indicates “Treason” as the basis for excommunication and that the verification

of this basis was provided by “M,” referring to CECCHETELLI.

       146.     On 12/3/18, CECCHETELLI sent CW-9 a screenshot of an exchange between

Victim 21 and Victim 22 identifying CECCHETELLI as a snitch and claiming to have

“paperwork” proving it. Victim 21 sent the same message to other LATIN KINGS.

       147.     On 12/5/18, CECCHETELLI ordered CW-9 to “smash,” i.e., assault Victim 21

for claiming CECCHETELLI is a snitch. In a follow-up conversation CECCHETELLI informed

CW-9, “[Victim 21] is having his party tonight.” CW-9 took this to mean that Victim 21 was to

be assaulted that night.

       148.     On 12/7/18, CECCHETELLI informed CW-9 that Victim 21 is hiding in

Springfield with his roommate and that Victim 22 is hanging out in Waterbury, CT, at a bar on

South Main Street. CECCHETELLI wrote, “I have to find a permanent solution for [Victim 22].

We can’t even go old school and merk the fucker because the whole world and every fed in it

knows he’s my arch-enemy. I’m gonna have to somehow expose him….Fuck it, in honor of Al

Capone we will reenact the Valentine’s day massacre.” “Merk” is street slang for murder.

       149.     On 12/8/18, CW-9 reported that CECCHETELLI met with Jorge RODRIGUEZ,

the State Team Enforcer at the time, to discuss the creation of a “hit squad.”

       150.     On 12/21/18, PEGUERO-COLON met with CW-9 in the woods and asked CW-9

to get him a stolen car so that he could drive to Waterbury, CT, and shoot up the bar frequented

by Victim 22.

       151.     A 1/19/19 message from CECCHETELLI to CW-9 included the following, “since

[Victim 21] hit me up and wants to make peace I had Clumsy call him and set up a meeting. The



                                                48
conditions were that he cuts the shit, then Saturday we will meet, we will give [Victim 21] a

promise that he can live in peace and he will make a video saying that paperwork was bogus, that

[Victim 22] and them are frauds etc. Then [Victim 21] will disappear. He doesn’t know that

part of course.” I believe in this communication, CECCHETELLI is stating that Victim 21 will

be lured to a meeting where he will be promised that no retaliation will take place, and that this

meeting will be setup by MARRERO (a/k/a “King Clumsy”). Once there, Victim 21 will create

a video retracting his prior statements about CECCHETELLI’s loyalty. After this, Victim 21 will

be murdered, which Victim 21 will not know about beforehand.

       152.    A 1/28/19 recording between CECCHETELLI, CW-9 and Jorge RODRIGUEZ

captures CECCHETELLI stating that he would have “taken care of” Victim 21, i.e., murdered

him, if it were not for the fact that CECCHETELLI needs a video of Victim 21 retracting his

claims that CECCHETELLI is a snitch.

       153.    On 1/30/19, law enforcement had Victim 21 arrested on a probation warrant and

held in custody to prevent him from arriving at the meeting with CECCHETELLI.

       154.    On 2/2/19, CECCHETELLI sent a message to CW-9 saying that he wants “black

beads” to kill Victim 22. CW-9 knows that “black beads” are designated shooters, LATIN

KINGS version of an assassin.

       155.    On 2/8/19, E. ORTIZ called CW-9 to report that she is “going to Connecticut to

check on a bunch of things because no one knows [her] car.” E. ORTIZ believes that she will be

able to locate Victim 22.

       156.    On 3/1/19, VEGA called CW-9 to report that “we went to Waterbury. We called

[Victim 21] out. [Victim 21] be like I be there in ten minutes. Ain’t nobody scared. We were

there for like an hour. Nigga never showed up Bro.” VEGA continued, “We went to his house.



                                                49
Nigga, we was acting nasty all last week… We went to his house and told him to come outside.”

Later in the conversation VEGA stated, “We went to the bar. We was like, ‘oh what up?’ Nigga

was scared, right. His man was like, ‘oh what up? Yo, yall came from New Haven? What up?

Oh, yall know my nigga [Victim 21] then.’”

        157.   On 4/26/19, Waterbury, CT, Police reported that a vehicle used by Victim 22 was

shot several times. Photographs of the scene depict bullet holes in the vehicle. Investigators

located Victim 22’s identification and a gold chain in the vehicle. Investigators spoke to Victim

22’s girlfriend who said that Victim 22 had come home bleeding through his shirt, but was no

longer there. Victim 22 has not been seen or heard from since this incident.

        158.   On 5/26/19, a recording was made where a LATIN KINGS member discusses the

efforts to locate and kill Victim 22. Later that day E. ORTIZ tells CW-9 that “[Victim 22] got

hit.”

        II.    Accessory After the Fact to Murder

        159.   On 10/7/19, CECCHETELLI sent CW-9 messages concerning JOEL

FRANCISCO, a/k/a “KING CASPER” who was wanted for murder by Rhode Island authorities.

FRANCISCO was sentenced to life in prison in 2005 following a federal conviction for

distributing cocaine base. FRANCISCO was released from custody under the Fair Sentencing

Act in February 2019, and is currently on supervised release. FRANCISCO was re-arrested in

July 2019 on charges of domestic violence and released. On 10/2/19, FRANCISCO became a

person of interest in a homicide on Federal Hill in Providence, Rhode Island, and a warrant was

sought for his arrest. CECCHETELLI told CW-9 that they need to help FRANCISCO get to

Texas where he will cross into Mexico with the assistance of LATIN KINGS members located




                                                50
there. Law enforcement later arrested FRANCISCO for this murder.7

       160.    A 9/4/19 recording captures FRANCISCO and Erik THOMAS purchasing 186

grams of cocaine base from Jorge RODRIGUEZ and CW-9.

     MASSACHUSETTS STATE TEAM SELECTED RACKETEERING ACTIVITY

       I.      Conspiracy to Murder Angel ROLDAN, a/k/a “KING BIG A”
               (CECCHETELLI, E. ORTIZ, CALDERON, Jorge RODRIGUEZ,
               LIBERATO, COTTO, PEGUERO-COLON, MARRERO, ADORNO,
               VEGA, ECHEVARRIA, W. PEGUERO, A. PEGUERO, VELASQUEZ)

       161.    In 2019, ROLDAN was brought to trial for a number of violations of LATIN

KINGS law. These violations included taking money from the D5K fundo for firearms that

never materialized. ROLDAN was found guilty at trial and ordered to repay various members of

the LATIN KINGS. A few months later, ROLDAN had not paid back those individuals and

LIBERATO issued an order to kill ROLDAN. CW-9 intervened to stop the murder, and FBI

alerted ROLDAN to the threat. The various meetings and trial were recorded.

       162.    A 2/23/19 video recording captures CW-3, CALDERON, M. RIVERA and Jorge

RODRIGUEZ discussing ROLDAN, while travelling to a LATIN KINGS State Team meeting in

Springfield, MA. During the recording, M. RIVERA, CALDERON and Jorge RODRIGUEZ

discuss how ROLDAN had purchased numerous firearms from the members, including 5 or 6

firearms from M. RIVERA. CALDERON states that he would kill ROLDAN for the violations:

“I don't give a fuck I'm a killa, if I see that nigga imma kill this nigga, in front of your kids and

all that, nephews and nieces, they're gonna witness a murder.”




       7
         See Joel Francisco being held in Texas for Federal Hill slaying, Providence Journal,
Oct. 21, 2019, available at https://www.providencejournal.com/news/20191021/joel-francisco-
being-held-in-texas-for-federal-hill-slaying

                                                  51
         163.     A 2/23/19 video recording of a LATIN KINGS State Team meeting8 captures

CW-3, CALDERON, and Jorge RODRIGUEZ reporting to CW-9 and CECCHETELLI that

ROLDAN had stolen drugs from Jorge RODRIGUEZ, robbed a pound of marijuana from CW-3

and taken money from the D5K fundo to purchase firearms that never materialized.

CALDERON and M. RIVERA discuss that ROLDAN ordered a probationary member to shoot

D. RIVERA, a/k/a KING MAFIA, during an argument. The probationary member drew a

firearm and shot W. PEGUERO in the leg. During the conversation, in relation to a claim that a

LATIN KINGS member was taking photos with Dominicans Don’t Play (DDP) gang members,

CECCHETELLI states: “That's a fucking king killer. You shouldn’t be taking pictures with

them. You should be laying them out.” At the conclusion of the meeting, CECCHETELLI set a

pretrial hearing for 3/16/19.

         164.     On 3/23/19, a video recording captures the trial of ROLDAN. During the

recording E. ORTIZ convenes a Special Crown Council of herself, JE, and FNU LNU, a/k/a

“Deuco” and FNU LNU, a/k/a “Gully” to hear testimony from CW-3, CALDERON, and Jorge

RODRIGUEZ about the offenses. A. VELASQUEZ, COTTO, LIBERATO, LOPEZ, W.

PEGUERO, A. PEGUERO, and PUGERO-COLON were among those present. At the

conclusion of the hearing, E. ORTIZ found ROLDAN guilty of stealing from CW-3 and Jorge

RODRIGUEZ. ROLDAN was ordered to re-pay drug debts within six months and was stripped

of his position as Massachusetts State Cacique.

         165.     In late July 2019, ROLDAN had not paid back the money. As a result,

LIBERATO issued a termination order for ROLDAN. CW-9 reported this information to FBI.


         8
             This same gathering included a peace negotiation with the Gangster Disciples discussed
below.

                                                  52
According to CW-9, the plan was that ROLDAN was to be murdered outside of his residence in

Lowell, MA. FBI immediately alerted ROLDAN to this threat. According to CW-9,

LIBERATO issued the kill order and transmitted it to Jorge RODRIGUEZ for execution. Jorge

RODRIGUEZ tasked CALDERON and A. VELASQUEZ with executing the order.

CALDERON and A. VELASQUEZ were instructed to shoot ROLDAN as he exited his home at

22 North Street, Lowell, MA.

       166.    A 7/30/19 recording captured CECCHETELLI, MARRERO and CW-9

discussing the conspiracy to murder ROLDAN. CW-9, MARRERO and CECCHETELLI

discussed how LIBERATO’s decision in issuing the kill order was improper and influenced by

CALDERON and Jorge RODRIGUEZ, who have personal animosity against ROLDAN. This

7/30/19 recording also identifies that CALDERON was ordered to complete the murder, and that

CALDERON was on a GPS bracelet at the time.

       167.    On 8/31/19, a meeting of the Massachusetts State leadership team was held to

address the termination order issued by LIBERATO and clear the air between the LATIN

KINGS leadership. This meeting was recorded. In attendance for this meeting were

CECCHETELLI, ROLDAN, F. LOPEZ, LIBERATO, Jorge RODRIGUEZ, MARRERO,

PEGUERO-COLON, A. RODRIGUEZ, W. PEGUERO, and A. PEGUERO. The following is a

draft transcript of a portion of the conversation:

       CECCHETELLI:            So to start from the beginning, when you hit me up and told me
                               about that and you gave me the recording of the day they came
                               over there, I hit up Cabesa. I asked him, “yo has there been any
                               talk about anything like that?” He said, “yes, this morning I found
                               out Prodigy told G to get this done, but I put a stop to it.” From
                               there we got into investigating it, looking into the whole thing.
                               There was never any kill type shit, there was never anything like
                               that. They were talking about um, V having brothers pop off. There
                               was never anything said about any kill type shit or any, any, any of
                               that. Uh…

                                                 53
ROLDAN:        I want, I, I want to know how somebody gonna send any kill, green
               light, violation, I got six months. I still got a month right now. You
               can’t send no—

CECCHETELLI:   Because tomorrow’s September.

ROLDAN:        Yeah, September 22nd. The, yeah, you don’t, like, you can’t send
               that regardless, bro. Who, who are you to send anything? You the
               Inca but you gotta go, to get a green light you need a have three of
               them. We already established that, Trey knows that. There got to
               be three from the state that’s, any, any green light there got to be
               three from the State to State.

[…]

ROLDAN:        Bro, I didn’t forget nothing. My memory, bro, y’all niggers think
               I’m chillin’ but I watch everything. That’s why you watching my
               Instagram, snap, everything like, bro is, you could call me. All this
               green light this, this, bro. You just jeopardized the Nation,
               brothers, everything. Bro, I wasn’t going out like that, niggers
               know me. You got a gun license, you got everything, why you
               didn’t come? Why—no disrespect to nobody here—why you
               didn’t come, bro you got two gun safes bro, why you didn’t come?

LIBERATO:      Man I did go to your house, bro. And I called you, you said—and
               you told me there was nothing to talk about. [UI]

ROLDAN:        Yeah ‘cause you kept showing up, there’s a green light you
               should’ve kept showing up. You the closest to me.

LIBERATO:      Yeah I was, I was—

ROLDAN:        No disrespect to the Nation but I would’ve took everybody out,
               bro, Trey put my camera system up, he know what it is.

PEGUERO-COLON: Yep.

ROLDAN:        No disrespect, you know Trey, like that shit still work, bro.

LIBERATO:      Well I was, I was—

ROLDAN:        Come to me like a man, bro. Not like no, no, no little girl. Come to
               me like a man.

MARRERO:       Hold on, wait. Wait a minute. Don’t [UI]

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       ROLDAN:                 No I’m just saying, I’m just saying because he knows. He’s right
                               there you know, you sending other brothers to crash out, that’s
                               what I’m saying. That’s what I’m seeing. You basically jeopardize
                               the whole Nation because you want to do something.

       168.    During this exchange, CECCHETELLI attempts to minimize the significance of

the order issued by LIBERATO, by claiming that there was no kill order, but does acknowledge

there would have been gunfire (“There was never any kill type shit, there was never anything

like that. They were talking about um, V having brothers pop off.”).

       169.    ROLDAN continues to express the fact that if he were to be shot at then he would

have killed everyone who came for him (“I would’ve took everybody out”). CECCHETELLI

acknowledges that if Jorge RODRIGUEZ, “would have followed through with that order and

sent people to Big A’s, it would have been a fucking bloodbath.”

       170.    ROLDAN also believes that LIBERATO’s order “jeopardized the Nation,”

meaning that it placed the LATIN KINGS in a potential internal war and also exposed them to

prosecution. ROLDAN also makes procedural arguments concerning the basis of the order,

claiming that LIBERATO lacked the authority to issue it (“You the Inca but you gotta go, to get

a green light you need a have three of them. We already established that, Trey knows that. There

got to be three from the state that’s, any, any green light there got to be three from the State to

State”). In response, CECCHETELLI acknowledges the ability of LIBERATO, as Inca to issue

such an order. The following is a draft transcript of a portion of the conversation:

       CECCHETELLI:            The only reason why we’re mentioning it now and the only reason
                               why, I mean to be perfectly honest, Prodigy as Inca, yeah he can
                               make that call. He can put some brothers to do that, he can, if he
                               feels like it was a threat or if he feels any brother was a problem,
                               you’re the Inca he can do that he can send out whatever you need
                               to send out. Later on if you were wrong or if he did it for the
                               wrong reasons, I’ll deal with him and I’ll have him address that
                               with you, but it’s not an issue on whether or not you have the

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                              authority to do that, you do have the authority, you can do that any
                              time. That’s not a question. You’re the Inca if anybody’s in your
                              state that you feel is a threat or is, is uh, in some way disrespecting
                              or in some way violating our law you got every right to send
                              something.

       171.    Later on in the meeting, ROLDAN complains that State Leadership is intruding

upon local chapter business and that will expose the LATIN KINGS enterprise to prosecution.

ROLDAN states:

               We could bring up all the issues everywhere. Let’s put them on the table. We all
               gonna be fucking in an indictment. I’m gonna be down for a RICO. You gonna
               be down for a RICO. You gonna be down for a RICO. We all gonna be down.

       172.    I believe that in this statement, ROLDAN is complaining that centralizing the

decision-making process in such meetings reveals the scope and workings of the LATIN KINGS

criminal enterprise and makes it easier for law enforcement to capture and document the

racketeering conspiracy. During this statement, refers to other LATIN KINGS leaders present

for the meeting and indicates that they too will be charged with racketeering.

       II.     Tampering and Retaliating Against Witnesses and Informants (Victim 1 on
               2/12/18)

       173.    On 2/12/18, New Bedford Police encountered Victim 1, who was bleeding. A

bystander observed Victim 1 running from North Front Street, New Bedford, MA. Victim 1 was

uncooperative and would not identify his assailants, but did indicate that he was struck over the

head with a bottle and stabbed with a knife. Officers observed bleeding from Victim 1’s head,

and hands, and there appeared to be a puncture wound to his buttocks.

       174.    CW-9 reported that this incident in fact was an organized LATIN KINGS

attempted murder of Victim 1, because Victim 1 was believed to have cooperated with law

enforcement. CW-9 reported that Jorge RODRIGUEZ ordered the termination of Victim 1 based

upon the belief that he had provided information to law enforcement. CW-9 reported that

                                                56
LATIN KINGS members, including COTTO, MENDEZ, CALDERON, FIGUEROA,

PALACIOS, and W. PEGUERO confronted Victim 1 while he was selling crack cocaine in New

Bedford and assaulted him. CW-9 observed Victim 1 running from the house with his face

bloodied. According to CW-9, ROLDAN acquired paperwork9 confirming Victim 1’s

cooperation and informed Jorge RODRIGUEZ, who ordered COTTO to terminate Victim 1.

       175.    Victim 1 was listed in a spreadsheet attached to an email disseminated by

PEGUERO-COLON. In the spreadsheet, Victim 1 was identified by first name, last name, and

social media account address as excommunicated. Victim 1 was noted to be a “police

collaborator.” A further column indicates that this status was verified by “M,” which I believe to

be a reference to CECCHETELLI.

       176.    A 11/2/18 interception captures COTTO talking with CW-9 regarding Victim 1,

and that Victim 1 is hanging out with a motorcycle club. During the call, COTTO states Victim 1

is a rat and is “no good.” Another recording on 11/18/18, captures CW-9 and COTTO

discussing that Victim 1 is an informant in relation to a homicide case.

       177.    In May 2019, Victim 1 was interviewed and confirmed that he was beaten by

members of LATIN KINGS. Victim 1 identified COTTO as being involved in the beating, and

stated he was hit over the head with two glasses bottles.

       III.    Conspiracy to Murder Victim 13

       178.    On 6/1/19, a recording captures a call from NIEVES from CW-9 concerning

Victim 13, the son of a LATIN KINGS member who I will refer to as Victim 25. Victim 25 is a


       9
         A 11/18/18 recording captures ROLDAN, Jorge RODRIGUEZ and CW-9 discussing
how ROLDAN is frequently consulted regarding obtaining paperwork on persons believed to be
cooperating with law enforcement and that ROLDAN knows how to read paperwork concerning
whether an individual is an informant.

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ranking member of the LATIN KINGS and Victim 13 had violated LATIN KINGS law and was

to be killed. Since Victim 25 was a high-ranking member, the targeting of Victim 13 for murder

was the subject of much discussion, because LATIN KINGS members were reluctant to target

the son of a member without explicit approval from higher authority. CW-9 exerted influence

and intervened to prevent this murder from occurring.

       179.    During the 6/1/19 call NIEVES stated, “So shit’s about to hit the fan big time bro,

I’m sorry bro no disrespect to him but his son bout to get his ass rocked probably even worse.”

NIEVES indicated that Victim 13 had been talking bad about the LATIN KINGS and

disrespecting members. Later in the call, NIEVES stated, “Like we about to light him up right

now he went up he went up he went up on my enforcer with three bros with a burner that’s why,

that’s why I’m like whatever and bro we’re not uh we bout to light him up, I don’t he could [UI],

I don’t [UI], bout to light him up like right now bro.”

       180.    NIEVES then acknowledged Victim 25 being the father of Victim 13 and noted

that this influenced the decision making: “His son his son about to get touched real ugly right

now, real ugly and that’s his blood son and I know I know I know [UI] that’s [Victim 25’s] son

and [Victim 25] got a good resume out here.” NIEVES then stated, “But yo enough is enough

bro enough is enough we bout to light light this little nigga up like bout to take him out.” CW-9

pleaded with NIEVES to let CW-9 reach out to Victim 25 first and address the issue. NIEVES

then stated, “Imma send you the screenshot first to go read it so you know what I’m talking

about bro we’re about to light him up real bad right now it’s broad daylight we’re ready.”

       181.    CW-9 immediately informed investigators that NIEVES was planning on having

Victim 13 killed. As a result, investigators reached out to contacts in the Lowell Police

Department Gang Unit in order to saturate the area and attempt to locate Victim 13. CW-9 was



                                                 58
able to contact Victim 25 who contacted his son to leave the Lowell area.

       182.    A 6/4/19 recording captured a meeting of the Massachusetts State Team and

CECCHETELLI, at the Mount Carmel Club, located at 13 Winthrop Street, Springfield, MA.

Present for this meeting were LIBERATO, F. LOPEZ, NUNEZ, CECCHETELLI, PEGUERO-

COLON, and MARRERO. During the meeting, CECCHETELLI discusses an issue involving

Victim 13 and discuss the fact that NIEVES the Inca of the Lowell Chapter wanted to issue a

green light to kill Victim 13, the son of Victim 25.

       183.    CECCHETELLI ruled on this matter stating, “we are not going to go looking for

him,” because they cannot condone the killing of a son of a LATIN KINGS member. However,

CECCHETELLI then stated, “if a brother bumps into him on the street, we can’t tell that brother

to stand down,” in essence affirming that the murder of Victim 13 has been approved.

       IV.     Distribution of Controlled Substances, Cocaine, Cocaine base, and Heroin

       184.    In addition to his leadership role, Jorge RODRIGUEZ runs multiple crack houses

in the city of New Bedford, for which he cooks and supplies the cocaine base that is sold by the

LATIN KINGS. Jorge RODRIGUEZ was captured in video recordings on 5/30/19, 7/10/19,

7/31/19, 8/2/19, 8/7/19 cooking over 250 grams of cocaine base on each occasion. In the videos

Jorge RODRIGUEZ can be seen standing at a stove, with a scale and cocaine visible, stirring,

measuring, and actually cooking the cocaine into crack. These videos of actual manufacture

highlight numerous other recordings, where Jorge RODRIGUEZ and other members discuss

distribution of crack cocaine, means and methods. In the 8/7/19 video, two firearms can be

observed.

       185.    Numerous other recordings exist where Jorge RODRIGUEZ discusses drug

prices, distribution of bulk amount of crack cocaine to other LATIN KINGS members.



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Additionally, there are recordings of Jorge RODRIGUEZ’s stash locations, and of Jorge

RODRIGUEZ delivering crack cocaine to other members, and instructing members of the

LATIN KINGS to sell drugs in certain locations and only use certain doorways to insulate the

operation, i.e., prevent law enforcement from acquiring specific knowledge of the apartment

units where the drug operation was centered.

       186.   Recordings from 8/6/19 and 8/7/19, captured the sequence of MARRERO

purchasing crack cocaine from Jorge RODRIGUEZ and bagging up approximately 62 grams of

crack cocaine in the basement of 358 North Front Street, New Bedford, MA. The 8/7/19

recording captures MARRERO bagging up 62 grams and breaking the 62 grams into 0.2 gram

quantities, which are $20 bags. A still image from the recording follow:




       187.   On 6/8/18, CW-3 purchased 50 grams of heroin from ROLDAN.

       188.   On 7/3/18, CW-3 purchased 50 grams of heroin from ROLDAN.

       189.   On 7/26/18, CW-3 recorded the purchase of a Hi-Point, .45 cal. Handgun,

magazine, and 30 rounds of .45 caliber ammunition from ROLDAN. The recording stopped

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during the transaction, but recorded calls discussing and arranging the purchase were captured.

       190.    CW-1 has made numerous recorded purchases of cocaine base from F. LOPEZ.

Those recorded purchases are summarized as follows :

                  2/19/15, purchase of approximately 14 grams of crack cocaine for $800;
                  3/8/15, purchase of approximately 14 grams of crack cocaine for $800;
                  3/19/15, purchase of approximately 14 grams of crack cocaine for $800;
                  4/2/15, purchase of approximately 14 grams of crack cocaine for $800;
                  12/22/17, purchase of approximately 28 grams of crack cocaine for $1,400;
                  1/2/18, purchase of approximately 1 oz. of crack cocaine for $1,400;
                  1/3/18, purchase of approximately 1 oz. of crack cocaine for $1,400;
                  1/18/18, purchase of approximately 1 oz. of crack cocaine;
                  2/6/18, purchase of approximately 2 oz. of crack cocaine for $2,600; and
                  2/21/18, purchase of approximately 2 oz. crack cocaine for $2,600.

       191.    A 9/29/19 recording captures NUNEZ in the basement of 358 North Front Street,

New Bedford, MA, bagging cocaine base with Jorge RODRIGUEZ present.

          MASSACHUSETTS DOC SELECTED RACKETEERING ACTIVITY

       192.    The Massachusetts Department of Corrections (“DOC”) oversees the state prison

system housing all individuals sentenced to terms of imprisonment. The DOC is made up of 16

institutions organized by security level: Maximum, Medium, and Minimum. The LATIN

KINGS are the largest documented gang within the DOC with over 380 members. LATIN

KINGS housed at each Maximum and Medium security prison report to a leadership structure

similar to that on the street. As with the street, the various DOC Chapters are responsible for

reporting to the Supreme Regional Officer (“SRO”) who maintains communication with LATIN

KINGS State Leadership. The Secretary to the SRO is responsible for facilitating

communication between the various DOC prisons and the SRO. Often relaying orders to

terminate or violate LATIN KINGS members in bad standing or who are suspected of

cooperating with law enforcement, or rival gang members. The SRO maintains control over the

incarcerated LATIN KINGS through coordinated violence.

                                                61
       193.    Security camera footage, recorded jail calls, the seizure of gang materials and

letters (“kites”), emails, and coded messages were collected during the course of the

investigation. This evidence demonstrates that Latin Kings violence continues post-conviction.

       I.      Conspiracy to Murder, Intimidate Cooperating Witnesses (“Snitches”)
               Victim 5

       194.    On 12/15/18, a consensual recording captured PALACIOS calling CW-3. During

the call PALACIOS stated, “Yo bro, make sure they get that nigga, ‘cause that nigga’s a rat.”

PALACIOS explained to CW-3, “The nigga got Blessed in Walpole”; “The nigga ratted on

Boylston”; “The nigga’s getting a T”; “When that whole raid happened on Boylston the nigga’s

the one that ratted”; “Imma bout to shank this nigga on Crowns.” PALACIOS states that he was

getting the “paperwork” and that Victim 5 would be “food” (slang for assaulted) and get a “T”

(slang for terminated). Later in the call, PALACIOS states, “Imma bout to shank that nigga,”

which means stab. Based upon information developed over the course of the investigation, the

person being discussed is Victim 5.

       195.    On 12/18/18, a consensual recording captured CW-3 calling W. PEGUERO

inquiring about Victim 5 who was identified by a nickname. W. PEGUERO stated, “Yea he’s

from around the way and he’s a rat.” CW-3 stated “yea he’s rattin and shit. This nigga told me to

send Cisco a picture and all that info and shit.” CW-3 said ROLDAN called and said, “I dunno

why niggas going through the State on something like this. That that that Dubb knows that

Fruity and Ace are running the jails right now and they shoulda just spoken to Ace. I shoulda

never went through Cisco and shit ‘cause Fruity and Ace run the DOC.”

       196.    On 12/18/18, BARROS called CORREA. During the call, CORREA told

BARROS that she is waiting for “Ace to call because I haven’t even told you about Little E.”

BARROS replies, “How’d you find out about Little E?” CORREA replies that “Nelty,” referring

                                                62
to ROLDAN, “told me. He sent me a picture of [Victim 5] and asked if I knew him. And I was

like Yea! And then he sent me the picture of a paper thing…you know to read it…and I was like

holy shit! And then he called me.” BARROS interrupts and says, “Make sure you get in contact

with Ace’s sister and make sure Ace gets on that ASAP.” CORREA replies, “I already did.”

BARROS continues, “that was probably the one that was working with them boys when I was

down there and I was wondering where it was coming from…it was probably his faggot ass.”

CORREA commented that she had told A. RODRIGUEZ’s sister and wife to have Ace call her.

BARROS replies, “MAKE SURE THAT GETS DONE…SETTLED…I WANT THAT

SETTLED! I WANT THAT OVER WITH!” BARROS sighs saying that he “hates all Erics

because they are either bitches, fags or rats.” CORREA corrects her stating, “his name is

[Victim 5], babe.”

       197.     During the conversation with BARROS, CORREA received an incoming call on

another telephone from A. RODRIGUEZ and they attempt to identify Victim 5, by name and

description. CORREA put BARROS on mute and says “you know what I have to do.”

CORREA turns to her conversation with A. RODRIGUEZ and says, “[Victim 5] is a chota (rat).”

A. RODRIGUEZ replies, “no.” CORREA confirms, “yes, Nelty10 got paperwork.” A.

RODRIGUEZ asks, “what kinda paperwork? Are you sure it’s the same [nickname of Victim 5]

were talkin about?” CORREA affirms and says, “he sent me a picture.” A. RODRIGUEZ asks,

“what’s the last name?” CORREA replies, “Gonzalez.” A. RODRIGUEZ asks, “the last name

starts with a C?” CORREA says, “G…he’s a probie.” A. RODRIGUEZ says, “that’s the wrong

person.” CORREA says that she’s got a picture and “he’s got a red rose on his left arm.” A.




       10
            ROLDAN’s middle name is Nelty.

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RODRIGUEZ asks, “what he telling on?” CORREA replies, “everybody… his own people.

He’s got a lady, like a Jesus lady, ummm what’s her name Mary, with a flower on top of it on the

arm.” A. RODRIGUEZ replies, “ohhhh I know him…. What did A (ROLDAN) say?”

CORREA replies, “he said he had the paperwork…. He says call Dubb…He said, man listen he a

rat.” A. RODRIGUEZ replies, “text Dubb and tell him this nigga Ace about to call you.” Later

in the call A. RODRIGUEZ says that the person he is thinking of has a different last name.

CORREA replies, “you know who he is. He came from the Pole (Walpole) with you guys. He

looks like he’s Guatemalan. He’s like white.”

       198.   Shortly thereafter, W. PEGUERO, CORREA and A. RODRIGUEZ then engage

in a conference call. During the call A. RODRIGUEZ asks W. PEGUERO, “what’s up with this

nigga…this nigga that Nelty’s talking about?” W. PEGUERO says, “remember [Victim 5]?” A.

RODRIGUEZ says, “yeah.” W. PEGUERO replies, “he’s no good bro.” A. RODRIGUEZ says,

“for sure? For sure?” W. PEGUERO replies, “for sure for sure. Do you remember that whole

raid over there on Boylston? It was Nene tellin me that shit.” A. RODRIGUEZ says that he

wants D5K members to come see him so they are not talking “all crazy on the phone and shit.”

A. RODRIGUEZ asks W. PEGUERO if he saw the “work because I don’t like to step unless it’s

confirmed. Is that word golden?” W. PEGUERO affirms that it is. A. RODRIGUEZ then says,

“say no more then.” W. PEGUERO confirms that “Nene,” referring to PALACIOS, is getting

the paperwork. They agree to speak the following day to confirm everything.

       199.   On 12/19/2018, CW-3 speaks to W. PEGUERO and says, “This nigga was never

blessed…umm [Victim 5].” W. PEGUERO replied, “Big A spoke to Ace yesterday and Ace

called me and talked to confirm it and Ace wants to make sure niggas seen paperwork first

before he makes something happen up there.”



                                                64
       200.    On 12/19/18, PALACIOS sent court paperwork to CW-3 who was directed to

forward it to F. LOPEZ. CW-3 did as he was directed, but also notified his FBI handler who

immediately had Victim 5 located and moved to a protected unit within the DOC.

       201.    On 12/20/18, A. RODRIGUEZ called W. PEGUERO. During the call W.

PEGUERO tells A. RODRIGUEZ “Yeah bro, niggas seen that, I seen it.” A. RODRIGUEZ

replies, “Yeah I hear you, I just don’t want to say nothing crazy.” During this exchange, A.

RODRIGUEZ is telling W. PEGUERO that he does not want to discuss this on a recorded

telephone. W. PEGUERO replies to A. RODRIGUEZ, stating “Yeah, nah, nah, I’m hip, but

Lexi said he gonna see you Sunday, I just spoke to him this morning.” During this exchange,

W.PEGUERO tells A. RODRIGUEZ that A. PEGUERO is going to come visit A. RODRIGUEZ

on Sunday so they can discuss Victim 5 being a law enforcement informant.11

       202.    Later, A. RODRIGUEZ places another recorded call to W. PEGUERO. During

the call, A. RODRIGUEZ asks “Hey yo bro, you said that you seen that yourself right?” I

believe A. RODRIGUEZ is speaking about the paperwork naming Victim 5 as an informant. W.

PEGUERO says “Yeah.” A. RODRIGUEZ states, “Hey yo, now this is my question, is it a

police report or is it minutes?” W. PEGUERO says “I got the, I got the whole, I got the whole

page, it’s like from, it’s like a court document.” A. RODRIGUEZ reply’s “So it’s Grand Jury

minutes, does it have q’s and a’s? W. PEGUERO states “It’s a incident report.” A.

RODRIGUEZ asks, “An incident report?” W. PEGUERO replies, “Yeah it says his name and

everything he said, he got robbed.” W. PEGUERO tells A. RODRIGUEZ that this is one




       11
         It should be noted that DOC records noted A. PEGUERO visiting A. RODRIGUEZ on
Sunday 12/23/18. A. PEGUERO was captured on video surveillance entering the institution
where A. RODRIGUEZ was housed.

                                               65
incident and there is more paperwork that they are waiting on.

       II.      Conspiracy to Murder Lucerne Street Gang Members

       203.     On 7/8/15, Boston Police responded to a female shot to death inside of

Puddingstone Garden. The victim was later identified as GS, a/k/a “Chi Chi.” As of November

2019, no arrests have been made in this homicide investigation.

       204.     In 2018, LV became a probationary member of the D5K Chapter of the LATIN

KINGS. LV is the son of RV, a/k/a “King Tiger” – one of the original D5K members, and GS,

a/k/a “Chi Chi.”

       205.     On 10/4/18, BARROS placed a recorded telephone call to CORREA. During the

call BARROS asks CORREA, “Babe ask um, ask A, so you could talk to me tomorrow, ask A”

(identified as ROLDAN) “what’s good with Lucerne?” CORREA responds, “Lucerne?” and

BARROS affirms. BARROS says “Yeah that’s important” and CORREA responds “Hold on, let

me text him right now.” CORREA can be heard reading a text message out loud that she is

sending to ROLDAN.

       206.     On 10/8/18, BARROS is recorded discussing the murder of Grisel Sanchez, a/k/a

“Chi Chi” with CORREA. During the call CORREA states, “Chi Chi and J-Rock. J-Rock says

he loves you and so does Chi Chi.” BARROS replies, “who?” CORREA then states, “Chi Chi

and J-Rock they both love you.” BARROS says, “alright alright I got you.” CORREA states,

“oh and ummm Chi Chi says Little Ryder12 and Big Ryder13 they say hi.” BARROS asked for

CORREA to confirm what she said, “Big Ryder and Little Ryder?” CORREA replied, “yep,



       12
            Identified to be Victim 14, a Lucerne Street Dawgs member.
       13
            Identified to be Victim 15, a Lucerne Street Dawgs member.

                                                66
they says hi.” BARROS states, “alright I love you.”

       207.   Later that evening, BARROS and CORREA are recorded speaking about Chi Chi

again. During the call BARROS asked if “Ace called.” CORREA replied, “not yet. Concord’s

gonna call on Thursday.” BARROS asked, “how did you find out about Chi Chi?” CORREA

replies, “Nelty,” referring to ROLDAN. BARROS then states, “he shoulda known that when I

asked him what I asked him.” CORREA replied, “yea well he’s lost in his own world.”

       208.   In another call later that evening, A. RODRIGUEZ is recorded talking to

CORREA about BARROS. During the call CORREA states that BARROS was asking about

“Chi Chi.” A. RODRIGUEZ asks, “Chi Chi, Tiger’s BM?” CORREA replied that BARROS is

“asking about Lucerne.” A. RODRIGUEZ stated, “Lucerne oh yea yea yea…ask him what’s up

wit it. What’s he need to know? I can tell him.” CORREA then inquired, “Who was it. That’s

what he wants to know.” A. RODRIGUEZ replied, “That’s not a person that’s fucking

ummmm…” CORREA interrupts and stated, “He wants to know who did it.” A. RODRIGUEZ

stated, “Ummm Ummm I don’t wanna say too much on the phone.” In response, CORREA

asked, “It was little and big right? Little and Big.” A. RODRIGUEZ confirmed that it was

stating, “yea yup yup yup, one of them one of them.” CORREA stated, “that’s ok they’re there.”

A. RODRIGUEZ then asked, “Both of them?” CORREA indicated that she is not sure and A.

RODRIGUEZ replied, “tell him it was one of them, but I think it was the older one.”

       209.   On 10/11/18, at the Souza Baranowski Correctional Center, Lucerne Street Dawgs

member who I will refer to as Victim 16 was assaulted by LATIN KINGS member AS.

       210.   On 10/11/18, BARROS placed a recorded telephone call to CORREA. During




                                              67
the call BARROS told CORREA, “Your son fucking Stacks14 and [BC] is in the box.” The box

is slang for the segregation unit within a prison, where inmates are sent to segregation when they

violate major institutional rules such as engaging in physical altercations. CORREA replied,

“What the, oh beautiful.” BARROS then informs CORREA that this occurred in response to the

“Chi Chi” issue that they had already discussed: “You know I already told you about that Chi

Chi.”

        211.     On 10/14/18, Victim 16 is recorded placing a call to an unidentified individual.

During the call Victim 16 stated, “I got moved on nigga. I didn’t do nothing!” Victim 16

indicated that he did not know the assailant, “I dunno an OT cat. I got jumped basically…. Some

Spanish cat from Lawrence.”

        212.     A 10/14/18, recording captured a D5K cypher meeting at Hyatt Place in Braintree,

MA. GUERRERO, Adam PEGUERO, PALACIOS, MATOS, Oscar PENA, Angel ORTIZ,

Gismael ORTIZ, Lisandro Vasquez, and FAMILIA-VALDEZ were present. The meeting was

held so that D5K members could discuss the murder of GS, a/k/a “Chi Chi”, by a Lucerne Street

gang member. During the meeting GUERRERO stated, “I’m with it, fuck, those niggas, they

dipped my niggas mom!” ROLDAN called in and proclaimed that D5K are now at “war” with

Lucerne. ROLDAN reported that BARROS ordered that two Lucerne Street gang members in

the DOC were to be “hit” and that A. RODRIGUEZ was plotting to take out Lucerne Street gang

leader Victim 15 who was in DOC custody. ROLDAN stated that he “has two hitters on deck

who can move for D5K” (shoot without bringing suspicion back on the LATIN KINGS). During

the meeting they discussed the identities of several Lucerne Street gang members and where they




        14
             Identified as AS, who is not CORREA’s son.

                                                 68
lived.

         213.   On 10/14/18, BARROS placed a recorded telephone call to Juan FIGUEROA.

During the call, BARROS indicates to FIGUEROA that he has one or two dogs that he put down

as D5K. FIGUEROA tells BARROS that he has to stop putting LATIN KINGS members down

under D5K that are not from there. BARROS indicates that he has been around this a long time

and needs to have two or three of them around. FIGUEROA indicates that when they come

home they look like bozos. BARROS speaks about training them and having them follow him.

FIGUEROA states “Gramz” (identified as CL) “is going against his own niggas for you.”

BARROS replies, “Yeah facts nigga and he crushed two or three niggas up here, I’m talking

about crushed nigga. Matter of fact he was the one that took out the blow when I got at it with

them kids and he got at for Chi Chi.” I believe BARROS is indicating that CL assisted with

assaulting Lucerne members for the murder of GS.

         214.   On 2/08/19, BARROS placed a recorded telephone call to FIGUEROA. The

following LATIN KINGS inmates CL and LM, a/k/a King Flow also participated. COTTO is

also present with FIGUEROA and speaks with CL and LM at times throughout the call. During

a portion of the call, CL indicates that he is now part of D5K under BARROS. COTTO and

FIGUEROA give CL a hard time about being part of D5K because he is not from Boston. CL

becomes angry and states to COTTO that “Word to mother I want a pistol as soon as I get out, I

don’t give a fuck.” Later in the call CL states to FIGUEROA, “Hey yo don’t let that nigga fool

you, that fat ass nigga went out there word nigga, me and this nigga here are the ones that put in

work that’s how I got down with the D nigga for being a savage…” I know that D is a term used

to refer to D5K.

         III.   Attempted Murder of Victim 17



                                                69
       215.    On 2/28/19, at Souza Baranowski Correctional Center (“SBCC”), Maximum

Security State Prison, security footage shows a person who I will refer to as Victim 17, enter the

P1 Housing Unit and walks down the right side of the unit towards the stairwell. As Victim 17

passes in the vicinity of cell three he is set upon by LATIN KINGS members DZIERWINSKI,

JJR, ARS, and JR as well as three other inmates. A multiple inmate fight was then reported by

the Unit Officer and security cameras repositioned to capture the altercation. The video footage

captures inmate JJR stabbing Victim 17 multiple times while the other inmates punch and kick

him. Victim 17 is observed to have a weapon in his hand. Victim 17 sustained three puncture

wounds to the upper left arm area and ten puncture wounds to his back.

       216.    Still images of the surveillance footage, and the victim’s clothing follow:




               (left) Still image of attack – (right) bloody clothes cut off Victim 17

       217.    On 3/6/19, ARS placed a recorded phone call to an unknown female (UF) he

refers to as Courtney. During the call ARS describes being in a huge fight that is going to be in

the segregation unit for like five or six months. The UF asks ARS, “what the fuck did you do?”

ARS indicates that he sent her a letter explaining it. ARS indicates the incident getting referred

to the District Attorney’s Office and indicates he may be picking up new charges. The UF asks

ARS if it was “gang related.” ARS indicates that it was but he can’t really talk about it over the


                                                 70
phone because it is still being investigated.

        218.    On 3/6/19, LATIN KINGS member JR placed a recorded telephone to LATIN

KINGS member and former inmate EKC. During the call JR indicated that he was placed in

segregation on pending investigation status. JR indicates that an inmate came into the unit and

JR indicates that he saluted this individual and began talking to him. JR is referring to Victim

17. JR indicates that the “bros,” meaning LATIN KINGS members started moving close and

then moved on the dude. JR indicates that it was Victim 17, who is identified by nickname.

EKC reacts in a shocked manner that Victim 17 was moved into the P-1 Housing Unit. JR goes

on to indicate that he was speaking with Victim 17 then Victim 17 went to clean out his cell and

then when he came out they started moving on him. JR indicated it was a six on one altercation

and there was blood everywhere. JR indicates that people were mad. EKC indicated that two

people could have scraped Victim 17 up but EKC indicated if people wanted to make an example

then fuck it.

        IV.     Conspiracy to Assault with Attempt to Murder (Victim 35)

        219.    A 4/12/17, encrypted letter from NIEVES to inmate IC includes a cryptogram

saying CECCHETELLI ordered NIEVES, to terminate on sight, i.e., assault, fellow inmate

Victim 35 for stealing money from the LATIN KINGS Lowell Chapter “fundo” or treasury.

Mass. DOC was able to obtain the cypher key allowing them to intercept the messages. Mass.

DOC took action to prevent any violence. The letter and cryptogram are show below:




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72
       V.      Witness Retaliation in Relation to HARRISON Armed Assault with Intent to
               Murder Conviction (HARRISON, CORREA, D. LARA)

       220.    On 8/6/18, BARROS calls CORREA. During the conversation BARROS is

captured saying, “Tell Rev when he calls, I forgot to tell him this – this is important – listen to

me because he is who he is to me he can’t say he’s on P (probation with the LATIN KINGS) –

he’s down, he’s got MY blessing, you heard? If they ask who gave his Blessing, who his GF

(godfather) is, it’s ME. You heard?”

       221.    On 7/25/19, HARRISON places a recorded call to D. LARA telling him that a

confidential informant, or “CI” was used in his case, which is discussed in detail below. The

following is a draft transcript of a portion of the conversation:

       HARRISON:               I was going through my shit…there…there…there was a CI on my
                               case.

       D. LARA:                Oh yea?

       HARRISON:               Yep and I found my paperwork.

       D. LARA:                Who is it?



                                                 73
       HARRISON:               It doesn’t say who it is, but was going to record on something else
                               and two officers was preparing him I guess and then they realized
                               he was a CI for another officer they knew and they didn’t know
                               that and he said he had information about me that led to my
                               investigation and my arrest…and the judge granted the DA to
                               suppress him from coming into my trial because…

       D. LARA:                Oh yea! I need that! I need that!

       HARRISON:               I wrote my appeals attorney and requested the affidavit of what the
                               CI said that led to my investigation and arrest in this alleged crime.

       222.    HARRISON agrees to write to D. LARA and include the identity of the

confidential informant. Later in the conversation the two discuss HARRISON’s case. The

following is a draft transcript of a portion of the conversation:

       HARRISON:               I was there for them.

       D. LARA:                I’m gonna stop you right there….what you talkin about church?

       HARRISON:               No! Not church! Forget about church…I mean I left those folks
                               man! I’m talkin’ about my niggas…my boys…you know I’m
                               talkin about the BROTHERS.

       D. LARA:                No bullshit everything’s divided right now… we all got our own
                               families… we all old.

       HARRISON:               Even that should not be an excuse.

       D. LARA:                Of course not. I still reach out.

       HARRISON:               I ain’t talking about you.

       D. LARA:                You never talk about me why?

       HARRISON:               Why I don’t worry about you. Because you always there. I
                               remember you saving my life nigga. I won’t forget about that! …
                               When I let the damn gang go into the house.

       223.    On 7/27/19, HARRISON calls D. LARA and tells him, “you should get my letter

soon.” D. LARA says, “I already got it.” HARRISON asks, “oh you got the first one? Ok.” D.

LARA asks, “you sent another one?” HARRISON states, “I gotta sit down and write that one

                                                 74
and I gotta write you whats in it on the ahhh discovery so you can better understand. I got

another court transcript yesterday. Of the victim testifying. It is so crazy bro. It was a kangaroo

court bro.”

       224.    Later that night HARRISON speaks with D. LARA again and the two continue

the conversation about identifying the confidential informant. The following is a draft transcript

of a portion of the conversation:

       HARRISON:              All I know on the paper is the two officers was interviewing a CI
                              for a case in 2010 it was preparing him for a trial that was coming
                              up…for whatever happened in 2010 and then whoever it was had a
                              case in 2010. The two officers didn’t know he was a CI for
                              another officer.

       D. LARA:               We need to know because it had to be somebody around us at the
                              time and we really didn’t have much people around us. You can
                              give me an idea then I can have an idea, you feel me?

       HARRISON:              I’m gonna write. I’m not gonna on the phone, but I’m gonna write.
                              I’ll let you know his name but I don’t want to say anything on the
                              phone.

       HARRISON:              What’s up with Oscar, Double O?

       D. LARA:               Double O? Ahh I dunno he’s around. Being a follower.

       HARRISON:              Of course of course that’s why I threw it out there! It’s funny
                              cause I know in Nash he had an open case cause the detectives
                              came up and talked to him.

       D. LARA:               Ah ha.

       HARRISON:              …and they did ask him about me. But he said that he wouldn’t say
                              anything about me he wouldn’t say anything he knew nothing.
                              Which was the cuckoo thing, which I thought was kinda weird.

       D. LARA:               That’s why I’m tyring to ask if you have an idea.

       HARRISON:              That’s why I’m gonna write you cause I have an idea.

       D. LARA:               A couple niggers got questioned on your shit that’s why I asked to
                              see if you had an idea.

                                                75
       HARRISON:              Imma write you cause I do have an idea.

       D. LARA:               I have an idea too, but I wanna see…that’s what threw me off ya
                              feel me…cause when you said that.

       HARRISON:              They were prepping this guy for a 2010 case but he was definitely
                              was a CI for this officer and they didn’t know he was because he
                              was supposedly one of mine. The paper says it led to the
                              investigation and my arrest. So I want him to get the affidavit on
                              what the CI said. And the judge suppressed the CI in my case
                              because it would blow his whole cover.

       225.    On 7/31/19, HARRISON placed a recorded call to D. LARA. During the call

HARRISON asks D. LARA if he got the letter and D. LARA replies that he did, that

HARRISON still hasn’t told him who HARRISON thinks was the CI. HARRISON tells him

that he did and he mentioned to him that did he thinks it’s the one that the detectives came to see

when they were at “Nash” (Nashua Street Jail, Suffolk County). HARRISON asks D. LARA

who was at Nash with them and mentions the three persons that were on Mass. Ave. when they

were stopped. HARRISON tells D. LARA that two detectives came up to talk to the suspected

informant. D. LARA asks if HARRISON has any other suggestions and HARRISON indicates

that is the only one he has. Investigators believe that HARRISON suspects Oscar PENA because

Oscar PENA was visited by Detectives at Nashua Street Jail following his arrest with D. LARA

and W. PEGUERO on the night they cleaned guns and drugs out of 18 Pompeii Street for

HARRISON.

       226.    On 8/7/19, HARRISON placed a recorded call to D. LARA to discuss their

suspicion of whom they perceive to be the confidential informant in HARRISON’s case. They

discuss a “bald-headed” person they believe may be the confidential informant and rule out

PENA due to his age at the time of 2010. D. LARA discusses paperwork coming out on the

bald-headed individual so they believe he was the one that was the confidential informant.

                                                76
       VI.     Witness Retaliation; Attempted Murder (DZIERWINSKI)

       227.    On Tuesday, March 6, 2018, DZIERWINSKI was involved in a LATIN KING

attempted murder of Victim 39, an inmate who had been labeled a “snitch” for cooperating with

law enforcement. During the attack, Victim 39 was stabbed 12 times before DOC personnel

were able to intervene.

       228.    The following day DZIERWINSKI’s cell was searched and officers recovered a

six and a half inch long by two and one-half inch wide sharpened piece of metal in his cell

(“shank”). The shank had been made from a piece of shelving.

               D5K CHAPTER SELECTED RACKETEERING ACTIVITY

       I.      Attempted Murder of Victim 18

       229.    On 3/3/15, Victim 18, a student at English High School in Boston, was found on

Magazine Street in Boston suffering from a gunshot wound to the back of the head. Victim 18

was transported to the Boston Medical Center and found to have for a gunshot wound behind the

right ear and a bullet lodged in his cheek. Victim 18 denied knowing who shot him, only that he

heard a loud bang. A canvass of the area resulted in the discovery of blood splatter, a black

hooded jacket and a folding knife.

       230.    On 3/4/15, Victim 18, who was out of surgery and stable, told detectives that prior

to the shooting he was working as a drug dealer for “Rev,” the Dean of the Academy at Boston

English High School. Victim 18 stated he had been working “Rev” for a month and owed him a

$10 drug debt. “Rev” was later identified to be Shaun HARRISON. Victim 18 stated that

HARRISON recruited Victim 18 to deal drugs for him after Rodriguez got into an altercation

with another student. Victim 18 stated that HARRISON was a member of the LATIN KINGS

who was responsible for recruiting new drug dealers in the school to sell on behalf of the D5K



                                                77
Chapter of the LATIN KINGS. Victim 18 identified “Rev” as HARRISON, and stated that

HARRISON had the word “Rev” posted on his office door at the school. According to Victim

18, he met with HARRISON on 3/3/15 and they walked around looking to “smoke weed and

fuck girls.” When they reached Magazine Street, HARRISON shot Victim 18 in the back of the

head. School police confirmed that HARRISON was also referred to as “Rev” and had the name

posted on his office door.

       231.    Detectives located video footage of the shooting. According to reports, the video

shows two individuals walking single file down the sidewalk on Magazine Street due to the

narrow sidewalks as a result of excessive snowfall. The individual in the rear is dressed in a

black hooded jacket and pulled out a firearm and shot the person in front of him. The shooter

then ran back to 18 Pompeii Street.




                                                78
                            Still Images of March 3, 3015 Shooting

       232.   After viewing the video, detectives went to 18 Pompeii Street, Apartment 2 and

asked HARRISON if he would come to the station to answer questions about the shooting.

HARRISON agreed and gave a post-Miranda interview on tape denying any knowledge about

the shooting. When detectives asked HARRISON what he would say if he knew the shooting

was caught on video, HARRISON replied, “I respectfully request an attorney.”

       233.   While HARRISON was being interviewed, a detective conducted surveillance of

18 Pompeii Street and observed D. LARA, W. PEGUERO, and Oscar PENA exit. The detective

approached them while they waited at a bus stop on Massachusetts Avenue. The detective told

D. LARA, W. PEGUERO, and Oscar PENA that he was investigating the shooting and wanted

to speak with them. They agreed. The detective then stated that he was going to conduct a pat

frisk prior to their conversation. The detective asked D. LARA if he had anything he shouldn’t

have and D. LARA replied that he had a firearm. The detective lifted the front of D. LARA’s

shirt, observed the handle of a firearm protruding, and recovered a silver Bryco Arms 9mm semi-

automatic firearm from his waistband. D. LARA, Oscar PENA, and W. PEGUERO were placed

under arrest. A black backpack was removed from Oscar PENA and contained a Smith and

Wesson .45 caliber semi-automatic firearm and a large amount of marijuana. During booking it
                                              79
was noted that HARRISON, D. LARA and W. PEGUERO all have the same “100” gang tattoo.




          March 4, 2015 Firearms and Marijuana seizure from D. LARA and O. PENA
                        Image of HARRISON’s LATIN KINGS tattoos

       234.    A search warrant was executed at HARRISON’s apartment and a large LATIN

KINGS mural was observed on his wall.




                              LATIN KING mural from 18 Pompeii Street

       235.    In June 2018, HARRISON was convicted by a jury in Suffolk County Superior of

the attempted murder of Victim 18, and sentenced to eighteen to twenty years in state prison.

His case is currently on appeal. The seizure of the firearms and ammunition against D. LARA,

Oscar PENA, and W. PEGUERO was suppressed.


                                               80
       236.     On 10/14/18, CW-3 recorded a D5K meeting attended by RG, A. PEGUERO,

PALACIOS, UM, PENA, Angel ORTIZ, GO, and FAMILIA-VALDEZ. During the meeting,

ROLDAN is overheard calling in to the meeting. When he does call in, ROLDAN expresses his

displeasure that the D5K members are not sending money to members in the DOC. ROLDAN

states, “Oh yeah that’s another thing. I don’t care what ya’ll be doing with the fundo, but you

guys need to like Rev, Rev. I ain’t even mentioning Fruity, I ain’t even mentioning Fruity. I’m

mentioning Rev first. Because if it wasn’t for Rev being locked up doing whatever time he is

doing, he could’ve been had the twins15 locked up, he could’ve had Nasty16 locked up, he

could’ve had Nene17 locked up, he could’ve had Stevie18 locked up, he could’ve had me, [CW-

3], he could’ve had the whole hood locked up for like twenty plus years. Niggas don’t even send

that nigga one fifty ($150). You know what I’m saying my nigga?”

       II.      Murder of Victim 41 - Conspiracy to Murder, and Accessory after the Fact
                to Murder

       237.     The LATIN KINGS and the D5K Chapter in particular have had a longstanding

rivalry with the Dominican Don’t Play (DDP) gang. According to CW-3, the origin of the

rivalry began several years ago when D. LARA was stabbed by DDP members. A “greenlight,”

or order to kill, was issued against any member of DDP. This rivalry remains to this day, and is

reflected in numerous music videos posted by Massachusetts LATIN KINGS members.

       238.     On 4/12/09, Easter Sunday, Boston Police homicide responded to a house party


       15
            Referring to W. PEGUERO and A. PEGUERO.
       16
            Referring to D. LARA.
       17
            Referring to PALACIOS.
       18
            Referring to FAMILIA-VALDEZ.

                                                81
during which Victim 41 was shot and killed. The murder has yet to be solved. CW-3, reported

being present at the party and stated that W. PEGUERO shot and killed Victim 41.

       239.    In March 2010, D’Generalz, a D5K rap group, uploaded a video on YouTube

titled “Putt’en In Dha Dirt,” which can be viewed at

https://www.youtube.com/watch?v=ZGIIZGiPTqQ. During the video, W. PEGUERO and A.

RODRIGUEZ are featured. During the video W. PEGUERO raps, “Dropped a couple niggas

because I started shooting first,” while images depicting DDP logos covered in graffiti that reads,

“RIP DDPussy” written across it. Additionally, the Calvin cartoon character is depicted urinating

on an image of a DDP member. One of the images follows:




       240.    In April 2019, investigators initiated a court-authorized interception of W.

PEGUERO’s telephone. During the interception period, BPD detectives dropped business cards

at the residence of various individuals believed to be witnesses to Victim 41’s murder.

       241.    On 4/10/19, at approximately 5:24 pm, W. PEGUERO called A. PEGUERO.

During the conversation, W. PEGUERO states he was nervous because he found the business

card of a Homicide Detective in the door to his home. W. PEGUERO speculates this has

                                                82
something to do with a recent homicide involving other LATIN KINGS members.

       242.    On 4/10/19, at approximately 7:05 pm, W. PEGUERO received a call from his

mother. The mother tells W. PEGUERO that the detectives wanted to speak with him “about

Victim 41.” W. PEGUERO replies, “oh, wow.”

       243.    Later that day, at approximately 7:13 pm, W. PEGUERO called ROLDAN.

During the conversation, W. PEGUERO tells ROLDAN that the detectives visit had nothing to

do with the recent murder, but “it’s about that other shit.” ROLDAN replies, “oh hell no.”

       244.    At approximately 7:29 pm, D. LARA called W. PEGUERO and seems to already

be aware of the visit by the detectives. W. PEGUERO confirmed that “it’s about that other

thing.” The two agree that it happened a long time ago.

       245.    At approximately 10:12 pm, W. PEGUERO received a phone call from ROLDAN

and A. PEGUERO. During the conversation, ROLDAN tells W. PEGUERO to admit he is a

Latin King because denying it might be incriminating. W. PEGUERO agrees. They speculate

on who may be providing information to the police and ROLDAN tells W. PEGUERO that the

police will try to find other D5K associates to build the case. As ROLDAN described it, the

police will talk to other people “that they heard was around that situation . . . an' make them

niggers flip when they get. 'Cause if they already got one person’s stamp in it, all they need is

like one other person to say yeah he was into violence into drugs.”

       246.    ROLDAN states that this development will require the D5K Chapter to “push

back from the nation, for at least, three to six months.” ROLDAN then adds, “we ain't gonna be

havin' no meetings. We ain't gonna be gettin' up. We ain't gonna be doin' none of that shit…

'cause you don't know what's gonna happen. You don't know.” W. PEGUERO states he will

deny everything. ROLDAN admonishes W. PEGUERO not to deny being a Latin King because



                                                 83
the police can obtain W. PEGUERO’s rap videos online in which W. PEGUERO admits he is a

Latin King. ROLDAN further coaches W. PEGUERO to pretend he has a poor memory for

various reasons, and mimes the false testimony W. PEGUERO would give in such a scenario.

The following is a draft transcript of a portion of the conversation:

       ROLDAN:                 No matter if it was ten years ago or whatever, you better your, like
                               ten years ago that shits hard to remember anything so, if some of
                               you young buddy wanna go yo I did this I think, I don't really know
                               what ten years ago, like me ya normally things I'm like doin' like
                               nigger.

       W.PEGUERO:              Yeah.

       ROLDAN:                 You from me so it ain't really oh watch [PH] you was doin' that time
                               this, I don't really know like... [laughs]

       W.PEGUERO:              Yeah.

       ROLDAN:                 Sorry my nigger ten years ago I'm takin' pills too right now.

       W.PEGUERO:              Yeah, yeah that's exactly that's exactly what [UI] same shit. That's
                               like what I was sayin' [UI]

       ROLDAN:                 You be, you be like nigger I got I got eighteen pertussis pills, I
                               smoke so much weed I got medical marijuana card. Y'all got me
                               like, I don't remember pas' week mind you ten years ago...

       W.PEGUERO:              [UI]

       ROLDAN:                 I'm sorry y'all. Man that shit act try niggers say like I'm sorry your
                               honor but I'm sorry I can't remember pas' a week never mind you
                               ten years ago.

       247.    ROLDAN then coaches W. PEGUERO and A. PEGUERO to prepare others for

any possible visit by the detectives, and not to talk over the phone. The following is a draft

transcript of a portion of the conversation:

       ROLDAN:                 You feel me you don't know nigga, but now been you heard about
                               that other shit you like damn. See, you did it the right way, another
                               nigga will be scared bro like, you feel me, like nah, you don't want
                               to get the other brothers like that so you know whatever put them

                                                 84
             on, like bro this shit may happen like this, da-da-da, you know after
             you go through your little process put niggas on that was around cuz
             you don't want them to get rained down on like that bro because they
             get rained down on you never know they make say the wrong shit.

W.PEGUERO:   [UI]

ROLDAN:      Look what, remember what happened, not to put Nene out there,
             remember what happened to Nene, with the rap shit they fuckin'
             rained down on him and he didn't know what to do showed up to
             court niggas to fuckin get in the thing and we lucky niggas told him
             to plead the 5th and all that shit. You feel me like

W.PEGUERO:   Yeah

ROLDAN:      We already know whats going on so we gotta hip niggas like you
             don't wanna hip them to everything but you just in case we get rained
             down on they don't say no stupid shit like "Uuuuh, yeah, wewas
             around that time, like yeah, we went to that party".

W.PEGUERO:   [to background], yeah, pull up.

ROLDAN:      Like you feel me, you don't want nobody saying any stupid shit like
             that.

W.PEGUERO:   Alright, yeah, hell yeah, for sure bro

ROLDAN:      So just nigga be easy nigga and if you do talk about it to anybody
             don't talk to 'em over the phone don't trust niggas.

W.PEGUERO:   Yeah no, hell no, I'm just gettin' up here

ROLDAN:      You feel me, you trust me nigga, you know you can trust me, but
             nigga don't trust niggas bro.

W.PEGUERO:   Yeah.

ROLDAN:      [UI] I'm serious nigga. If niggas want to talk with you, naw, you
             get up in person, I'll smoke a blunt with you. [UI]

W.PEGUERO:   Yeah.

ROLDAN:      Do you feel me [UI] nigger 'cause you right now you don't, you
             don't want spread this shit too much 'cause now you don't know
             who's who gonna say what…



                               85
       248.    On 4/11/19, W. PEGUERO, A. PEGUERO, and R. LARA are recorded meeting

with CW-3 in CW-3’s vehicle and discussing the murder of Victim 41. During the recording W.

PEGUERO states, “I was 16 years old, they can’t get me with that shit.” CW-3 then asks W.

PEGUERO, “that shit is long gone right, the thang thang?” W. PEGUERO confirms that it is.

“Thang Thang” is slang for a firearm.

       249.    On 4/16/19, CW-3 captures a second meeting in his vehicle with W. PEGUERO.

They continue to discuss the Victim 41 murder. W. PEGUERO stated that a witness told law

enforcement that “I let off shots so I must have.”

       III.    Conspiracy to Murder Victim 19

       250.    On 2/16/18, CW-3 recorded a meeting at the Stony Brook Reservation. RG, J.

FIGUEROA, R. LARA, PALACIOS, D. LARA, W. PEGUERO, and A. PEGUERO were

present. During the meeting W. PEGUERO issued “one final warning” for all Boston LATIN

KINGS members to “fall under D5K.”

       251.    On 2/23/18, CW-3 recorded a meeting at the Charles River Inn. UM, W.

PEGUERO, A. PEGUERO, R. LARA, J. FIGUEROA, RG, CALDERON, D. LARA, and

PALACIOS were in attendance. During the meeting CALDERON, J. FIGUEROA, W.

PEGUERO, A. PEGUERO, and D. LARA discussed “trapping” in “New B.” Specifically,

FIGUEROA, W. PEGUERO, and CALDERON described assaulting a drug customer during

which FIGUEROA punched the individual in the face, knocking him out. W. PEGUERO and

CALDERON then described “body slamming” the customer against a wall. At the conclusion of

the meeting W. PEGUERO issued a “greenlight” on Victim 19 for not reporting and starting a

“renegade chapter.”

       252.    The “greenlight” order for Victim 19 was repeated by W. PEGUERO during a



                                                86
recorded meeting on 3/23/18, RG, FAMILIA-VALDEZ, J. FIGUEROA, EF, ROLDAN, A.

PEGUERO, W. PEGUERO, and D. LARA were present. A. RODRIGUEZ and BARROS called

into the meeting from the DOC, which was verified through call records.

        253.   CW-3 recorded a meeting on 3/30/18, at which D. LARA, EF, PALACIOS, RG,

A. PEGUERO, and W. PEGUERO were among those present. W. PEGUERO reaffirmed the

“greenlight” on Victim 19, who is identified by nickname, and emphasized the urgency of the

order stating that the “State Team is on my back!” W. PEGUERO states that if any member saw

Victim 19 they were to “take him in [the] cut (alley) and give him a violation…break his ribs. If

he doesn’t take a violation then clap (shoot) him.”

        254.   Several meetings were held over the following year during which Victim 19’s

failure to fall in line was discussed and the “greenlight” was repeated by W. PEGUERO. This

was also a topic of calls during the interception of W. PEGUERO’s cellular telephone in April of

2019.

        255.   On 1/12/19, CW-3 recorded a meeting during which W. PEGUERO, A.

PEGUERO, ROLDAN, R. LARA, D. LARA, FAMILIA-VALDEZ, and Angel ORTIZ were

among those present. During the meeting, ROLDAN states that saying that Victim 19, and two

others, “must report to D5K.” ROLDAN states, “If niggas don’t get down they gunna lay

down.” ROLDAN says that D5K members must tell those who are not reporting, but still

claiming to be LATIN KINGS, “If you keep throwing up crowns, we are gunna shoot you in the

leg.” Finally, ROLDAN instructs them that “Niggas don’t have to wait for DUBB to roll out.” I

believe ROLDAN is informing the members that a failure to report to D5K would result in the

offenders being killed. ROLDAN’s rejoinder concerning “Dubb,” was meant to stress the fact

that D5K Members should commit the violence on their own and not wait for specific



                                                87
instructions.

       256.     On 7/4/19, Boston Police responded to the scene of a shooting at Mary Hannon

Park in Roxbury, at 10:50 pm. The victim was identified as Victim 19 and had been shot several

times. Victim 19 was seriously injured as a result of this shooting. Two individuals were

arrested later and charged with the shooting several days later, but it is unknown if they have

connections to the LATIN KINGS.

       257.     ROLDAN was recorded on 10/14/18 saying that he has “two hitters on deck that

can move for D5K.” According to CW-3 these are two individuals with no known affiliation

with LATIN KINGS who will commit acts of violence at the direction of ROLDAN so the

LATIN KINGS avoids detection.

       IV.      Distribution of Controlled Substances (W. PEGUERO, FAMILIA-VALDEZ,
                D. LARA, M. RIVERA, A. ORTIZ, A. RODRIGUEZ, O. PENA)

       258.     The D5K Chapter also distributes controlled substances in order to earn money.

       259.     During a 3/23/18 meeting, FAMILIA-VALDEZ is recorded saying that he

accidently sold 100 grams of fentanyl to a customer thinking it was cocaine base. At a D5K

meeting on 1/23/19, FAMILIA-VALDEZ is captured accusing ROLDAN of owing him $20,000

for 7 pounds of marijuana.

       260.     On 3/23/18, D. LARA is captured showing a bag of cocaine base to W.

PEGUERO, A. PEGUERO.

       261.     M. RIVERA was intercepted over court-authorized wiretap engaging in drug

deals with F. LOPEZ. Following one of these interceptions, State Police conducted a car stop

and recovered 14 grams of cocaine base from M. RIVERA.

       262.     On 2/23/19, M. RIVERA is captured on video giving CALDERON 1.5 grams of

cocaine base.

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          263.   On 6/14/18, CW-3 and ROLDAN went to Angel ORTIZ’ house to cut

approximately 100 grams of heroin. Angel ORTIZ was present and assisted in processing the

heroin.

          264.   A 10/9/19 recording captures A. RODRIGUEZ in the basement of 358 North

Front Street, New Bedford, MA, sitting at a table packaging cocaine base for distribution.

During the recording, Jorge RODRIGUEZ states “that’s four G’s right there off a six-deuce,” to

which A. RODRIGUEZ replies, “that’s not bad at all.” Investigators know Jorge RODRIGUEZ

to be referring to 62 grams of crack cocaine when he says six-deuce and $4,000 dollars when he

states “4gs,” which means that A. RODRIGUEZ can make $4,000 from breaking down the sixty-

two grams of cocaine into smaller quantities for street level distribution.

          265.   A 11/12/18, recording captured CW-3 purchasing 40 grams of suspected heroin

from PENA.

          266.   A 12/6/18, recording captured CW-3 purchasing 30 grams of suspected heroin

from PENA.

           NORTH SHORE CHAPTER SELECTED RACKETEERING ACTIVITY

I.        Conspiracy to Murder, Witness Intimidation and Retaliation Victim 34

          267.   In August of 2018, I. RODRIGUEZ and other LATIN KING members conspired

to terminate Victim 34 for cooperating with law enforcement. The conspiracy included

obtaining paperwork on Victim 34 proving his cooperation with law enforcement and numerous

discussions concerning the manner and means by which Victim 34 would be targeted for

violence.

          268.   On 8/20/18, I. RODRIGUEZ, was intercepted calling COTTO. The following is a

draft transcript of a portion of the conversation:



                                                 89
I. RODRIGUEZ:   Yo, uh I just talked to Big A [(ROLDAN)] and shit...

COTTO:          Yeah.

I. RODRIGUEZ:   And he said uh, he said niggas supposed to hit me up about that
                [Victim 34] thing.

COTTO:          Yeah, but um I was going to hit you up today and shit, but right
                now I was um driving to Springfield and shit. I’m on the highway
                right now (UI). Yo, we gotta deal with him.

I. RODRIGUEZ:   Aight, no doubt. Fucking um what he said was that I guess to to to
                make it seem like um like a all the Firsts need to get up.

COTTO:          Yeah, yeah, yeah, yeah, hell

I. RODRIGUEZ:   Oh aight.

COTTO:          No, we were just start in on him. Nice.

I. RODRIGUEZ:   Yeah.

COTTO:          You want me, you got a picture of the papers and shit?

I. RODRIGUEZ:   Of the what?

COTTO:          The papers and shit? Did he send you ...

I. RODRIGUEZ:   Oh yeah, yeah, yeah I seen them, I seen them.

COTTO:          Yeah.

I. RODRIGUEZ:   You, you read them?

COTTO:          Yeah, I was reading them about that gun case and shit.

I. RODRIGUEZ:   Yeah, I mean it sucks cause at the end of the day, that nigga you
                know he might not have known that you know that they were there
                looking for him cause of that (UI/OV) ...

COTTO:          (UI/OV)

I. RODRIGUEZ:   ... things.

COTTO:          (UI) thing, no.



                                  90
       I. RODRIGUEZ:         But, but at the same time that nigga all he had to say was I don’t
                             know who’s car that is, keep it moving. You know what I mean?

       COTTO:                Yeah, none of that extra shit.

       I. RODRIGUEZ:         But at the end of the day, he kind of, all the extra shit inviting the
                             nigga in, calming the nigga like yo, that’s just a little too much,
                             nigga like ...

       COTTO:                Yeah, yup.

       I. RODRIGUEZ:         Should have, should have gave him a cup of coffee too nigga, you
                             know what I’m saying?

       COTTO:                Yo, I was saying the same thing. I was reading that, I was like yo
                             this nigga saying too much.

       I. RODRIGUEZ:         Yeah.

       COTTO:                My guys were like the motherfucker wants to say everything
                             himself.

       I. RODRIGUEZ:         You know what I mean, like hold on here yes car, yeah I know
                             whose car he got, come sit down, take a seat, let me call him. Like
                             nah ...

       COTTO:                Yeah.

       I. RODRIGUEZ:         ... shit man. You know what I’m saying?

       COTTO:                That shit is crazy.

       I. RODRIGUEZ:         That shit is too much. It should ...

       COTTO:                Yup.

       I. RODRIGUEZ:         It should, it should, it should have ended at uh, “No I have no idea
                             sir, have a good night.”

       COTTO:                Yeah. I’m gonna get up with you anyway when I come back, I’ll
                             try to take the trip over there and shit, you feel me?


       269.   I. RODRIGUEZ responded “Aight, no doubt. Fucking um what he said was that I

guess to to to make it seem like um like all the Firsts need to get up.” I. RODRIGUEZ is

                                               91
suggesting that in order to assault Victim 34, LATIN KING leaders were to arrange a fake

meeting for all the “Firsts,” or local chapter Incas, to attend. Once Victim 34 arrived he would be

assaulted. COTTO then asked if I. RODRIGUEZ had received a picture of the “papers,” a term

known to investigators to mean law enforcement documents. I. RODRIGUEZ confirmed and

they then discuss the circumstances surrounding Victim 34’s cooperation with law enforcement.

Based on their conversation it appears that Victim 34 was a witness to a firearm incident and

provided law enforcement with information regarding a vehicle involved.

       270.    On 8/22/18, COTTO sent an outgoing to text message to I. RODRIGUEZ, (781)

983-6742, which read “Gm king ADR lissin as soon as I get bk to NB ama hit u up to go handle

that.” Seemingly confused about the meaning of this message, I. RODRIGUEZ placed an

outgoing phone call to COTTO that same morning. The following is a draft transcript of a

portion of the conversation:

       COTTO:                         Yo.

       I. RODRIGUEZ:                  ADR, bro.

       COTTO:                         ADR, King.

       I. RODRIGUEZ:                  What you talking about, that Fitchburg thing?

       COTTO:                         Yeah, you already know. So um, I was just talking to Big A
                                      and shit, so um as so-I’m right now I’m Springfield and shit
                                      my son’s birthday is the 25th so I just told him right now to
                                      find out when the, his, next- they next meeting in out there
                                      ‘cause me and you gonna out out there, we gonna handle
                                      that.

       I. RODRIGUEZ:                  Yeah, but- we shouldn’t- we don’t even probably have to
                                      go out there step foot in Fitchburg to handle that. Don’t
                                      they got a full chapter out there?

       COTTO:                         Yeah, yeah, yeah. They gotta whole chapter out there, but
                                      he just want- he want me- Big A want me to be present,
                                      you feel me?

                                                92
I. RODRIGUEZ:   Oh for real?

COTTO:          Yeah, he just want me to be out there and shit ‘cause he’s
                already telling me like, “Yo if you want I’ll just call Izzy
                and I’ll roll down there with Izzy,” and I’m like, “Yo, aye,
                chillax my nigga. Stay sittin down where you at, let me
                know when their next meeting is at.” ‘Cause he told me
                he’s like, “I think they having a meeting.” They wanna
                blow him up already, you feel me?

I. RODRIGUEZ:   That’s what I mean. We should just, we should just, we
                should just let them do their own thing. Let them- you
                know what I mean? At the end of the day, it’s something to
                do with with with their chapter.

COTTO:          Yeah.

I. RODRIGUEZ:   So we- you know, the way I see it is- and I mean I
                understand where Big A’s coming from- he wants to
                make sure it’s done, and you know, have it seen done, you
                know what I mean?

COTTO:          Yeah.

I. RODRIGUEZ:   But at the end of the day, if we can’t confide in these
                chapters to handle their own in-house shit sometimes,
                nigga, then what- you know what I mean? They’re never
                gonna be able to stand on their own two feet.

COTTO:          Yeah, yeah.

I. RODRIGUEZ:   You know what I mean? They gotta- they gotta strong
                enough chapter to where, as soon as they take him out, they
                can replace him and the structure moves on. Then they
                should- we should be able to let them niggas break that
                nigga themselves and X that nigga themselves.

COTTO:          Yeah, that’s true. That’s true.

I. RODRIGUEZ:   You know what I’m saying? That way- that way niggas
                don’t even have to, you know, go out their way, go all the
                way the fuck to Fitchburg to handle that shit or see it
                through. You know what I mean?

COTTO:          Yeah. Yeah that’s true. Well, um, fuckin then I don’t know-

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                try to see- try to see- lemme them give Big A a call, tell
                him, tell him how you feel, what you thinking about it, and
                that’s it.

I. RODRIGUEZ:   Yup.

COTTO:          Should be like, “Yo I’m speaking to Gordo about it, I’m
                telling him that it should be better for this way- this way”

I. RODRIGUEZ:   Yeah, ‘cause at the end of the day, that nigga- that nigga
                (OV)-

COTTO:          He’s probably- he probably just want me to be present
                ‘cause he feel me this is my region, you feel me? So he’s
                probably like, you feel me? Go let them know that (PH) the
                ok it’s a go, you feel me?

I. RODRIGUEZ:   Yeah, yeah, yeah, yeah.

COTTO:          So, I-I don’t know. I told him I don’t got no problem going
                out there. I’ll drive down there, I don’t even give a fuck. It
                is what it is. I already got my inspection ticket on. I got
                everything on my truck, so I’m ready to go. It is what it is.

I. RODRIGUEZ:   No doubt, no doubt. But yeah, I mean I don’t-I don’t mind
                going either. You know what I mean? But at the end of the
                day I don’t know- I feel like we shouldn’t have to, nigga,
                like them them niggas should be able to blow that nigga up.

COTTO:          Yeah, that’s true.

I. RODRIGUEZ:   And-and-and call it a wrap. You know what I’m saying?

COTTO:          Yeah, that’s true. Fuckin give Big A a call and then call me
                back.

I. RODRIGUEZ:   ‘Cause at first- didn’t niggas wanna get that nigga at the
                same time or some shit?

COTTO:          Yeah.

I. RODRIGUEZ:   So I mean if niggas and I mean I spoke to Big A the other
                day, and he ain’t on that, you know? He’s like “I just want
                that nigga blown up, and T’d,” you know what I’m saying?

COTTO:          Yeah.

                          94
I. RODRIGUEZ:   So I mean, nigga there’s no point- we ain’t going out there
                to fucking come back richer.

COTTO:          Yeah. That’s true. I don’t know- try to see what Big A
                thinks about what you- your idea is, you feel me? That’s
                why you there too, you feel me? You’re a help my nigga- at
                the end of the day, you know what I mean?

I. RODRIGUEZ:   Alright.

COTTO:          I don’t give a fuck. I’ll go out there and blow up- I told
                him myself, I told him I don’t even need nobody. I need
                me, Izzy, and like two brothers, bro. We would blow this
                nigga and trust and believe he’s gonna get- he’s gonna
                get blown.

I. RODRIGUEZ:   Yup. But aight- yeah, yeah, I’ll see what’s good. I’ll hit him
                up. When you- when you planning on going out there?

COTTO:          Well I’m- that’s what I’m saying. He told me- the chapter
                up there ready- they-they-they ready to handle him, you
                feel me? But he want me to go up there, so like I told him I
                was like, “Listen (UI)” ‘cause he tossed it to me like “Yo
                they’re gonna have a meeting, they- they gonna have a
                meeting themselves, so that would the perfect day basically
                that all the brothers is there, niggas is there, they get shit
                turn up, you feel me?

I. RODRIGUEZ:   Yup, yup.

COTTO:          So I think that was his plan that he wanted it better when
                the meeting was there ‘cause I coulda just blow him up.
                Pop up and blow him up, you feel me?

I. RODRIGUEZ:   Yup, yup, yup.

COTTO:          So the best idea then, and everything the best idea is you
                either- either we show up over there- me, you, and like two
                brothers from-from-from security that you got and go over
                there, make sure shit’s done the right way- everything’s
                good. And shit, go back home in a happy way. Finish with
                Big A ‘cause Big A- you know Big A got something with
                rats and all this shit. Big A- I don’t know, he’s stressed out
                for that shit, nigga. He ready to- he trying to have this nigga
                blowned up already.

                            95
       I. RODRIGUEZ:                  Yeah, yeah, yeah.

       271.     According to COTTO, ROLDAN instructed him to go out to Fitchburg to “handle

that,” referring to the termination of Victim 34. I. RODRIGUEZ discusses allowing the

Fitchburg Chapter to handle the assault themselves, stating “they got a strong enough chapter to

where, as soon as they take him out, they can replace him and the structure moves on,” and

COTTO suggests that I. RODRIGUEZ call ROLDAN himself. I. RODRIGUEZ stated “I spoke

to Big A the other day, and he ain’t on that, you know? He’s like “I just want that nigga blown

up, and T’d.” Investigators know T’d to be short for termination. The conversation concludes

with I. RODRIGUEZ stating that he will contact ROLDAN to discuss letting the Fitchburg

chapter Enforcer handle the assault, and then he will follow up with COTTO.

       272.     On 8/22/19, I. RODRIGUEZ again called COTTO. During the call, I.

RODRIGUEZ states that he spoke with ROLDAN, who stated that he did not want the Fitchburg

Chapter to handle the assault of Victim 34. The following is a draft transcript of a portion of the

conversation:

       COTTO:                         Yo. Yo.

       I. RODRIGUEZ:                  Yo.

       COTTO:                         What’s good, man?

       I. RODRIGUEZ:                  Yo so I guess um basically what he said was umm, he
                                      didn’t want Fitchburg doin’ it.

       COTTO:                         Yeah that’s what I was trying to say I think he just want us
                                      to do it ‘cause he want us to be there, and do it ourselves.

       I. RODRIGUEZ:                  Well-well-well he said with Fitchburg umm, what he said,
                                      he said you know [Victim 34] got a few different sides to
                                      him, you know. Niggas don’t know whether he’s-he’s you
                                      know a teller-teller, or you know, he’s a little shady with it.



                                                96
COTTO:          Yeah.

I. RODRIGUEZ:   So he didn’t want- he didn’t want his chapter doin’ it and
                then, you know what I’m saying? And him throwing some
                shady shit on the chapter, you know what I mean?

COTTO:          Yeah, yeah, yeah.

I. RODRIGUEZ:   ‘Cause where they-they the ones that are gonna have to
                deal with the aftermath after-

COTTO:          Yeah, yeah, yeah.

I. RODRIGUEZ:   You know what I’m saying?

COTTO:          So we in, it is what it is.

I. RODRIGUEZ:   So he said- he said we go out there with a few brothers
                from, you know, maybe two brothers from this chapter, two
                brothers from that chapter, two brothers from Boston. And
                fuckin, before the meeting get in that- you know what I
                mean? Break that nigga’s shit.

COTTO:          Yeah, I’m down with that. I’m with it. I’m just gonna tell
                him to let me know when is the meeting so we can pull up.

I. RODRIGUEZ:   Yeah and then he said something about um, he had told him
                that all Incas from every city are gonna be gettin’ up or
                some shit like that [OV].

COTTO:          Yeah he have- (OV)

I. RODRIGUEZ:   To set it up that way. That way he thinks he’s coming to a
                meeting with all Incas and (UI)-

COTTO:          That’s what I told him. I told him, “Izzy told me it’s better
                off just making it seem like, like it’s a it’s a Inca meeting,
                that we all having a meeting and that we- they gotta show
                up and that’s it.

I. RODRIGUEZ:   Yup, yup. So yeah, that’s what is.

COTTO:          Dale pues. Esta bien- [Ok then, that’s fine] I’m gonna let
                you know the day that they having the meeting so I can get
                up with you and so then we can have whoever’s with us
                and then go down there.

                           97
       I. RODRIGUEZ:                  Yeah. He just said he’s gonna-he’s gonna let me know a
                                      date, too. He’s gonna figure it out, but he said he’s even
                                      down to ride out there with us.

       COTTO:                         Aight, so say less so we in there all of us..

       I. RODRIGUEZ:                  Yeah, fuck it. Do whatever we gotta do.

       COTTO:                         Dale, so just expect my call or his.

       I. RODRIGUEZ:                  Aight, no doubt. ADR.

       COTTO:                         Aight, ADR, bro.

       273.    In this conversation, I. RODRIGUEZ suggests that he and COTTO will handle

the termination with other members not from Fitchburg.” COTTO agreed, and I. RODRIGUEZ

mentioned that ROLDAN had told already laid the seed of the ambush by telling Victim 34 that

“all the Incas from every city are gonna be gettin’ up or some shit like that.” They discuss when

the assault will occur and I. RODRIGUEZ stated that ROLDAN will let him know a date and

that ROLDAN will attend as well. COTTO responded “Aight so say less so we in there all of

us.” I. RODRIGUEZ responded “yeah, fuck it. Do whatever we gotta do,” affirming the plan.

       274.    On 8/31/19, I. RODRIGUEZ contacted COTTO. After a conversation regarding

unrelated LATIN KING matters, I. RODRIGUEZ states, “Aight no doubt, and then also umm I

don’t know if you already got word that ahh…[Victim 34], [Victim 34], Fitchburg was already

handled.” COTTO responded “Ya, he already handled.” I. RODRIGUEZ adds, “Ya, ya, so I

guess, I guess Pluto, Pluto’s out there got that Inca position now.” Investigators know “Pluto” to

be M. RIVERA, and know that he took over the Fitchburg chapter Inca position after Victim 34

was “handled,” or terminated.

               NEW BEDFORD SELECTED RACKETEERING ACTIVITY

       275.    A 12/10/18 recording made by CW-9 captures the coordinated LATIN KINGS

                                                98
beating of unidentified male in a garage for the offense of spreading rumors concerning Jose

RODRIGUEZ and MEDINA. MEDINA, MENDEZ, VALENTIN-SOTO, COTTO, Jorge

RODRIGUEZ, and Jose RODRIGUEZ, are present for the beating. RUIZ and YLT observed the

beating of this individual through the surveillance system of the garage. During the beating,

COTTO picks up a baseball bat and swings it at the victim, making contact with his head.

Multiple other persons punch and kick the individual.

       276.    A 2/3/19 recording, where Jorge RODRIGUEZ, Jose RODRIGUEZ, COTTO,

Liu-Torres, VALENTIN-SOTO, Jose VASQUEZ, MEDINA, JORGE, LUGO, and RUIZ were

present, captures a discussion of a physical assault of an individual who I will refer to as Victim

24. Jorge RODRIGUEZ states he ordered the assault, and had the whole chapter “eat at him,”

meaning assault Victim 24. During the recording, Jorge RODRIGUEZ describes how bad the

beating was, and that Victim 24 could not breathe. Jorge RODRIGUEZ states that YLT, and

MEDINA also participated and that MEDINA had blood on his shirt. MEDINA admits he had

blood all over his shirt when they assaulted Victim 24. VALENTIN-SOTO states he always eats

and does not let his lions eat alone. Investigators know “eat” to mean, in this context, participate

in a beating. The group also discusses how RUIZ confronted Victim 24 first and how it

escalated from there.

       277.    Juan FIGUEROA, a/k/a KING PUNG was previously a member of the D5K

Chapter, but moved to New Bedford in order to make money distributing drugs at LATIN

KINGS trap houses. FIGUEROA is rap artist whose lyrics and music videos contain vivid

depictions and descriptions of the LATIN KINGS racketeering activity, feuds, violence, and

drug distribution. These lyrics and videos contain elaborate displays of LATIN KINGS symbols,

clothing and paraphernalia, depict numerous members making gang signs, and are replete with



                                                 99
open references to the LATIN KINGS enterprise and threats to rivals, snitches, and others in bad

standing with the LATIN KINGS.

       278.    New Bedford Police reports describe an incident on 3/29/19, involving the arrest

of Jose VASQUEZ and E.M. for state offenses. On that date, New Bedford Police executed a

search warrant at 24 Bentley Street, Apartment 3S, New Bedford, MA. As part of the search

warrant, Jose VASQUEZ and E.M. were observed leaving 24 Bentley Street and entering a cab

that travelled to Bullard Street and North Front Street in New Bedford, when it was stopped by

police. During the search of the residence, police found a Rossi .44 caliber revolver, and 37

rounds of .22 caliber ammunition.

       279.    A 8/14/19 recording captures the gang initiation, or “crowning” ceremony of

Yuen Liu-Torres, a/k/a King Chino, wherein Liu-Torres was made a full member of the LATIN

KINGS by Jorge RODRIGUEZ, who “blessed” him into the LATIN KINGS. Present for this

meeting were the following: Jorge RODRIGUEZ, RUIZ, SANTIAGO-TORRES,

CARRASQUILLO, FELIX-RIVERA, VARGAS, LUGO, Jose VASQUEZ, Jose RODRIGUEZ,

GUADALUPE, VEGA, JOHNSON, COTTO, JORGE, and other members.

       280.    On 9/26/19, a recording captured at 211 Tremont Street, New Bedford, MA,

depicts Jorge RODRIGUEZ purchasing a .22 caliber MP5 submachinegun with attached silencer

from CALDERON, A.VELAZQUEZ, and PENA for a price of $1,200. During the recording,

VARGAS is present, and Jorge RODRIGUEZ can be seen holding the MP5. At one point,

CALDERON asks Jorge RODRIGUEZ, “It ain't loaded right?” RODRIGUEZ can be seen

removing the clip from the gun. A. VELASQUEZ states "That's basically it, MP5.” CW-9

suggests that they test the weapon in the basement. CALDERON replies, “I don’t recommend

that in the basement,” to which CW-9 replies, “[i]t don’t make no noise.” CALDERON then



                                               100
states, “It don't make no noise, but it's not recommended, you gonna have to chase the shell

casings… It’s going to spit it out… Can’t leave the evidence down there.” A still image from

that recording follows:




       281.    On 12/5/19, agents executed a search warrant at 103 Maple Street, New Bedford,

MA, and located the firearm purchased on 9/26/19. This location was identified to be a storage of

location for JORGE RODRIGUEZ’s firearms.

       282.    A 10/15/19 recording captures the violent termination of Jose VASQUEZ, a/k/a

KING FEARLESS, which took place at 104 Tallman Street, New Bedford, MA, in the detached

garage on the property that is controlled by Jorge RODRIGUEZ. According to CW-9, Jose

VASQUEZ was terminated from the LATIN KINGS because he had sexual relations with the

then-girlfriend of LATIN KINGS member, N. VELAZQUEZ, a/k/a KING NAEL. According to


                                               101
CW-9, it is forbidden by LATIN KINGS law to sleep with the woman or man of another LATIN

KINGS member. The recording depicts CW-9 entering the garage of 104 Tallman Street to find

several LATIN KINGS members. RUIZ walks into the garage with CW-9. Jose VASQUEZ is

visibly unconscious and recovering on the floor of the garage with Jose RODRIGUEZ, standing

over him. During the recording, Jorge RODRIGUEZ can be heard yelling at a probationary

member of LATIN KINGS, RR, and ordering that RR be beaten by LATIN KINGS members for

lying about knowing that Jose VASQUEZ slept with N. VELAZQUEZ’s girlfriend. CW-9

intervened, fearing that the other LATIN KINGS members would continue beating Jose

VASQUEZ until he was dead. According to CW-9, Jose RODRIGUEZ, N. VELAZQUEZ, and

COTTO took part in the beatings of Jose VASQUEZ and RR.

       I.     Conspiracy to Murder Victim 9 (FIGUEROA, JOHNSON,
              CARRASQUILLO, GUADALUPE, Jose VASQUEZ, Jorge RODRIGUEZ,
              COTTO)

       283.   Investigators learned of an ongoing conspiracy by LATIN KINGS members to

murder an individual who I will refer to as Victim 9. According to CW-9, Victim 9 was targeted

because he was distributing narcotics in New Bedford that were not acquired from Jorge

RODRIGUEZ. According to CW-9, at some point in 2017 Jorge RODRIGUEZ sought

permission from CECCHETELLI to kill Victim 9. CECCHETELLI informed Jorge

RODRIGUEZ to “handle it” as long as the murder was “justified” under the rules of the LATIN

KINGS. CW-9 stated that Jorge RODRIGUEZ wanted to kill Victim 9 in order to eliminate his

drug competition, but told CECCHETELLI that Victim 9 had committed treason against the

LATIN KINGS in order to justify the murder.

              a.     June 19, 2017, Armed Assault with Intent to Murder Victim 9 and
                     Victim 10 (COTTO)

       284.   On 9/24/18, CW-9 reported that an attempt to kill Victim 9 took place in 2017,

                                              102
approximately two months after the meeting between Jorge RODRIGUEZ and CECCHETELLI

concerning permission to murder Victim 9. CW-9 reported that there was a shootout in the area

of North Front Street and Tallman Street in New Bedford as part of this attempt to kill Victim 9.

CW-9 stated that he learned about the shooting because COTTO, FELIX-RIVERA, “Justin” and

Anthony Rivera all ran into 358 North Front Street, New Bedford, MA, after the shooting, and

spoke with CW-9 about their involvement.

       285.    According to CW-9, LATIN KINGS members learned that Victim 9 was in the

area of North Front Street and Tallman Street with his sister, who I will refer to as Victim 10.

LATIN KINGS members confronted Victim 9 at which point Victim 10 “dipped the crown,”

insulting the LATIN KINGS. According to CW-9, FELIX-RIVERA, COTTO, another LATIN

KINGS member, and an individual known to CW-9 as “Justin” opened fire at Victim 9 and

Victim 10. According to CW-9, COTTO had an assault rifle. COTTO complained to CW-9 that

when he fired it, the rifle jammed after firing only one shot. According to CW-9, Victim 10 also

had a weapon and fired back. CW-9 reported that an unknown male and female who were not

involved in the incident were injured. According to CW-9, FELIX-RIVERA was crowned as a

full LATIN KINGS member for this incident. According to CW-9 on 9/24/18, “Justin” and a

female identified as “Christine” were then incarcerated for this incident.

       286.    Investigators obtained New Bedford Police report #17-7371 that described an

incident taking place on 6/19/17, in the area of 50 Tallman Street, New Bedford, MA, which

matches the circumstances reported by CW-9. According to the police report, an innocent

victim, Victim 20, who was inside the residence was struck in the neck by a single bullet fired

from outside that had penetrated through the exterior wall and into the residence. Police located

numerous shell casings. Directly in front of 329 North Front Street, New Bedford, MA, a single



                                                103
.223 caliber shell casing19 and four .22 caliber casings were found. In the rear yard and

driveway of 329 North Front Street, four .40 caliber casings, and four 9mm casings were

recovered.

       287.      A witness identified J.O. to have been carrying a rifle with a long barrel, and

stated that J.O. pointed the rifle in the direction of persons who were standing nearby. Police

identified Victim 9 and Victim 10 as being the intended target.

       288.      I learned from court records that J.O. and E.H. were indicted in Bristol Superior

Court for this shooting (Docket No. 1773CR000456 and 1773CR00457), but the case was

dismissed on a scheduled 12/10/18 trial date.20 According to the docket sheet, the Court ordered

dismissal on 12/10/18 because “the case has twice been called into trial and the District has been

unable to proceed on either date because the District cannot locate an essential witness. Case is

Dismissed without prejudice.” I noted from the docket that the prosecutor sought a capias for a

witness, who apparently was not successfully located.21




       19
            I know that the .223 caliber is a common rifle caliber.
       20
          Consistent with CW-9 descriptions of the persons being incarcerated, E.H. and “Justin”
were initially was held in custody on the case on grounds of dangerousness. According to the
court papers, E.H. was detained until approximately 9/17/18, when a cash bail was set. It
appears that E.H. posted the cash bail because she later sought modification of release
conditions.
       21
           I also noted from the court papers that E.H. filed a pro se motion on 2/22/19, seeking to
copy the contents of her court file. The pro se motion notes that E.H. wants to “copy my files,”
because she “just would like to keep track of my files personally.” I believe this motion is
associated with the LATIN KINGS practice of acquiring paperwork on persons who provide
information to law enforcement in order to document their cooperation. In this case, it is my
belief that the request to copy the file would be to obtain paperwork identifying witnesses,
including the witness who could not be located on the trial date. I know from the court papers
that the name of at least one civilian witness is stated in papers filed in the case.
                                                 104
               b.      June 19, 2019, Armed Assault with Intent to Murder (FIGUEROA,
                       JOHNSON, CARRASQUILLO, GUADALUPE, Jorge RODRIGUEZ,
                       Jose VASQUEZ)

       289.    CW-9 reported that during the week of 6/17/19, FIGUEROA, JOHNSON,

GUADALUPE and CARRASQUILLO, attempted to murder Victim 9. According to CW-9,

JOHNSON’s girlfriend operated a vehicle, and FIGUEROA was a passenger in the vehicle, and

that FIGUEROA fired a gun at Victim 9, getting off one shot before his gun malfunctioned.

According to CW-9, Victim 9 was not hit. Later that same day, CW-9 learned that

CARRASQUILLO and GUADALUPE located Victim 9, and fired at him, striking an associate

of Victim 9 in the shoulder, who I will refer to as Victim 11. According to CW-9, Victim 11

went to Providence Hospital for a gunshot wound.

       290.    A 6/19/19 recording captured Jorge RODRIGUEZ and CW-9 questioning

FIGUEROA, Jose VASQUEZ, and JOHNSON about shooting Victim 9 earlier that day.

FIGUEROA indicates he did not want to use a car for the shooting, and states that JOHNSON

decided to use a vehicle and involved JOHNSON’s girlfriend as the driver. Jorge RODRIGUEZ

stated during the recording that the shooting “should have been one shot, one hit.” FIGUEROA

states on the recording: “I know what you all talking about, but trust me it wasn’t… It was…

personally I would walk so. That’s all I know. I do it the way I do it in the hood. Niggas don’t

even shoot out of the vehicle. You know what I’m saying? So…” Then later in the recording,

FIGUEROA describes the circumstances of why he missed Victim 9: “Listen, listen, because it

wasn’t directly like oh, I’m clipping these niggas. No. I went to go clip niggas that was right

here, the niggas like yo. I say, yo what? BOOM and I blicked towards whatever was

(unintelligible) the niggas that was in that, niggas was in the woods like this. In the cut, behind

the trees niggas. So it wasn’t like I was directly trying to aim at them or nothing. You feel me?”



                                                105
              c.      September 2, 2019, Trial of Victim 9 and Philly (VEGA, Jorge
                      RODRIGUEZ, SANTIAGO-TORRES, Jorge RODRIGUEZ, Jose
                      RODRIGUEZ, Jose VASQUEZ, COTTO, JOHNSON, VARGAS,
                      FELIX-RIVERA, CARRASQUILLO, GUADALUPE and MEDINA)

       291.   According to CW-9, Victim 9 went to Connecticut with an associate named

“Philly” to ask a LATIN KING member for assistance with the outstanding kill on site order

issued against him by Jorge RODRIGUEZ. Philly had been in federal prison with Pappas.

Pappas called CECCHETELLI who referred him to CW-9. Ultimately, a trial was set in order to

resolve the outstanding issues with Victim 9 and the New Bedford Chapter. On 9/2/19, CW-9

recorded the trial of Victim 9 and Philly in Meriden, CT. Hector VEGA, a/k/a KING DEMON

was the Crown Council Chairman presiding over the trial along with other Meriden, CT, LATIN

KINGS members.

       292.   Numerous New Bedford LATIN KINGS members attended the trial, travelling to

Meriden, CT, in a passenger van owned by Jorge RODRIGUEZ that is registered in the name of

Tyson JORGE. This van is a 2006 white Ford E-350, VIN: 1FBNE31L56DA19618. Among the

New Bedford Chapter members attending the trial were SANTIAGO-TORRES, Jorge

RODRIGUEZ, Jose RODRIGUEZ, Jose VASQUEZ, COTTO, JOHNSON, VARGAS, FELIX-

RIVERA, CARRASQUILLO, GUADALUPE and MEDINA.

       293.   During the trial, Victim 9 was accused of various offenses, including not reporting

to meetings and of putting a gun to fellow LATIN KINGS member, TM, a/k/a King Trio’s head.

At the close of the trial, VEGA found Victim 9 and Philly guilty and wanted to terminate them.

Specifically, VEGA and other members of the Connecticut LATIN KINGS wanted them to be

killed. CW-9 stops the LATIN KINGS from rendering a judgment of death, telling them, “we’re

not catching no bodies.”

       294.   Philly is given a Pumpkin Head, which is a beating from head to toe, and Victim 9

                                              106
is given a violation “in the legs,” because he’d been recently stabbed and would get a full

Pumpkin Head later when he was recovered from the stab wound. The LATIN KINGS members

participating in the beatings of Victim 9 and Philly included, COTTO, JOHNSON, SANTIAGO-

TORRES, FELIX-RIVERA and MEDINA. Before the beating, Jorge RODRIGUEZ can be

heard calling members to join in the beating, and starts the assault by stating, “Ready, ADR.”

During the assault, Jorge RODRIGUEZ can be heard encouraging his subordinates, “Eat, eat…”

At one point, Jorge RODRIGUEZ can be heard stating “Izzy, hold him up,” meaning for FELIX-

RIVERA to hold up the individual being beaten.

       II.     May 29, 2018, Attempted Murder and Armed Assault with Intent to Murder
               of Victim 2, and Victim 3, and Witness Intimidation (MENDEZ, Jose
               VASQUEZ, Jorge RODRIGUEZ)

       295.    According to New Bedford Police reports, on 5/29/18, at approximately 6:00

P.M., New Bedford Police were dispatched to the area of Sawyer Street and Belleville Avenue

for a report of shots fired. The New Bedford ShotSpotter system indicated that four rounds had

been fired in the area of Sawyer Street. Shell casings were later found in the area.

       296.    The two victims of the shooting, Victim 2 and Victim 3, were identified as having

been admitted to Saint Luke’s Hospital. According to the victims, they were exiting a residence

at 20 Holly Street, New Bedford, MA, and heading to one of the victim’s vehicle, when they

heard a rush of footsteps. They picked up the pace and quickly entered the vehicle.

       297.    According to the victims, about six or seven LATIN KINGS gang members then

surrounded them, and started hitting and kicking the car. At one point, one of the individuals

pulled out a firearm, and aimed it at the victims. The victims heard gunfire; a bullet went through

windshield, and into the backseat. The victim felt a burning in his abdominal area, where he later

learned he had been shot. The other victim was driving, but had also been shot, and suffered a



                                                107
gunshot wound to his upper arm.

       298.    The victim put the vehicle into reverse, sped away from the group and headed to

the hospital. As they neared Purchase Street, the vehicle was no longer operable, so they stopped

and called a cab that took them the rest of the way to the hospital.

       299.    Later, police learned that the tires to the victim’s vehicle had been slashed. By

puncturing the tires, LATIN KINGS members intended to stop the vehicle from fleeing and

clearly intended to execute the victims with the gunfire. Photographs of the four bullet holes to

the vehicle follow:




       300.    Further interviews determined that local LATIN KINGS members were


                                                108
confrontational with one of the victims. The victim stated that he had previously confronted drug

users and called police to report ongoing issues in the neighborhood.

       301.    A neighbor’s surveillance system captured the shooting on video. According to

the police report, MENDEZ, XQ, a/k/a King Xavi,22 and Jose VASQUEZ, can be seen as part of

the group of LATIN KINGS members who chase the victims to the vehicle, and surround it: XQ

can be seen stabbing the tires of the vehicle, Jose VASQUEZ can be seen kicking the driver’s

side of the vehicle causing damage, and MENDEZ can be seen kicking the front fender of

passenger side. Another identified LATIN KINGS member, Jayco REYES-SMITH, was

identified by the police to be the individual holding the firearm and shooting at the victims. A

warrant was issued for REYES-SMITH’s arrest shortly after the incident, but he is believed to

have fled the state. Still images depicting the MENDEZ kicking the front passenger-side fender

and REYES-SMITH holding the gun follows:




       22
          XQ is believed to have been arrested as part of a Pennsylvania case charged in March
2019, with other New Bedford members, including EM, a/k/a King JuJu. XQ was charged with
this 5/29/18 incident, but the case was later dismissed (Docket No. 1833CR002829).

                                                109
       302.     On 12/20/18, Jose VASQUEZ was convicted of malicious damage to a motor

vehicle in New Bedford District Court in relation to this crime and sentenced to 18 months of

incarceration with 6 months to serve and probation until December 2019 (Docket No.

1833CR002827).

       303.     Pursuant to a court-authorized intercept, MENDEZ and Jorge RODRIGUEZ were

captured on 11/15/18 discussing the incident with Jayco REYES-SMITH, a North Carolina

LATIN KING member, who was formerly in New Bedford to sell drugs in the trap houses. CW-

9 has identified REYES-SMITH as a member of the LATIN KINGS.

       304.     In the interception, the parties discuss the fact that the video does not depict their

faces with sufficient clarity for prosecution. MENDEZ states: “you can’t even tell it was me, my

nigga.” Furthermore, the parties discuss how MENDEZ has already spoken with the victims and

persuaded the victims to not identify them. The following is a draft transcript of a portion of the

conversation:

                MENDEZ:                Hey, yo, hey, yo. Hey, yo, listen, right? Don't listen to this
                                       nigga, this nigga's a fucking bum-ass nigga. Hey, yo.
                                       Fucking, nah. They don't really, they don't have anything.

                                                 110
                                      Yo. You know what I'm saying? The video don't show
                                      anything, it doesn't show you and shit, nothing.

               REYES-SMITH:           Bro, what I want to know, what I want to know is how they
                                      got my name off the rip.

               MENDEZ:                Because, because it was--

               REYES-SMITH:           There was, there were bros, nigga, there were only certain
                                      bros, and, and my, my whole entire name, nigga. Feel me?

               MENDEZ:                Yeah, you, you had already been arrested here.

               REYES-SMITH:           You had been--

               MENDEZ:                I asked about that. I asked about, I didn't ask, but I asked
                                      myself about that. Like, like, when, when, when, they
                                      arrested me, they already-- for me, you, and, Fearless23, and
                                      Xavi, you heard?

               REYES-SMITH:           Yeah.

               MENDEZ:                And your name was already, already on the police report,
                                      you know what I'm saying?

       305.    The conversation then continues on to encompass intimidation of the victims.

MENDEZ indicates that the video does not depict them with sufficient clarity to make an

identification. Both MENDEZ and Jorge RODRIGUEZ describe their efforts to persuade the

victims not to come to court. The following is a draft transcript of a portion of the conversation:

               RODRIGUEZ:             Hey, hey, hey, what he's trying to say, what he's going to
                                      tell you, what he, what he's going to tell you is, what he's
                                      going to say is, in the video, your face doesn't show. You
                                      understand me? So that's why, he came, he came by, he
                                      came by the house already tonight and I don't trust that shit.
                                      That, that, that, that, this, that's his recorder, and I was
                                      talking, and he moves up with the whole fucking case and


       23
         This is a reference to Jose VASQUEZ. I know from the police report that MENDEZ,
Quinones, REYES-SMITH and Jose VASQUEZ were identified in the police report by name.
MENDEZ is likely referring to XQ and Jose VASQUEZ, the other two LATIN KINGS members
named in the report.

                                                111
                                       the fucking, what he should of [voices in background] I'm
                                       not telling him shit.

               REYES-SMITH:            Look, look, forget that, forget that, but look, I, maybe it's
                                       true that Cabeza went to jail again?

               RODRIGUEZ:              Yeah, yeah, yeah. Cabeza, Cabeza is going to be out too.

               REYES-SMITH:            Alright.

               RODRIGUEZ:              And, and the witness is not going to court either.

               REYES-SMITH:            (UI) what I have to do is finish getting the money to get a
                                       lawyer for when I get there, I can talk to a lawyer, man.

               RODRIGUEZ:              Yes, If you [stutters] if you turn, if you turn, if you turn
                                       yourself in, right? And, and you, and they probably won't,
                                       they probably won't even give you no house arrest, or
                                       nothing, and you, and you probably could be, and your bail
                                       will probably be low, you know what I mean? Because you
                                       turned yourself in. If the police arrest you...

               REYES-SMITH:            They aren't going to give me bail because, remember, I'm
                                       on probation, dude. I'm going (UI) whatever, but I'm on
                                       probation If they charge me with that.

               RODRIGUEZ:              True, true, true, you have your probation, right?

               REYES-SMITH:            For real, that's, that's for four years.24

               RODRIGUEZ:              Four years?

       306.    MENDEZ then returns to the line and discusses the case. The following is a draft

transcript of a portion of the conversation:


               MENDEZ:                 Yeah. What's goody, my nigga?

               REYES-SMITH:            My nigga, you're fat, you're skinny--

               MENDEZ:                 Nah, nigga, I'm good, my nigga. I'm not fat, I'm skinny,
                                       still the same, nigga. I don't change, nigga.


       24
        At the time of this call, REYES-SMITH was then on probation for a series of cases
from Taunton District Court. See Docket Nos. 1631CR000314, 1631CR000540

                                                  112
               REYES-SMITH:           Alright, nigga Yo, I love you, nigga,

               MENDEZ:                Yo, You got to come down here, you heard, my nigga? You
                                      got to come down here, you heard?

               REYES-SMITH:           Yeah, nigga, but nigga, After fucking, I want to go down
                                      there, nigga, I got to, I got to, I want to finish getting the
                                      money together for my lawyer, nigga, so when I get down
                                      there, I have a lawyer already.

               MENDEZ:                Yeah. I'll help you with that if anything. You heard? And,
                                      and, and, um, you might have to do, the most you might
                                      have to do, is about, um, um the four months for the
                                      dangerous, and then we'll be able to bail you out and shit.25

               REYES-SMITH:           Nah, nigga, but yeah, I, I remembered I have fucking
                                      probation, so I could see if the probation won't violate me.
                                      You feel me?

               MENDEZ:                They might, yeah, because, because you ran, they might
                                      want to violate you and shit, but, um, you be good, bro, you
                                      be good. As far as this case, as far as this case, nigga,
                                      you're going to be fine. You know what I'm saying? We are
                                      going to be good.

               REYES-SMITH:           I was telling you, nigga, I told Future (PH) that shit, I told
                                      Future (PH), nigga, if they give you bail, nigga. He knows,
                                      no, do you feel me, they're gonna drop that shit, if they give
                                      you bail, my nigga, cause, you, you worked there [PH][cuts
                                      out] my nigga, so ...

               MENDEZ:                Yeah, yeah, that's what I'm saying, like, I-I, I thought they
                                      was going to give me no bail, my nigga. You know what
                                      I'm saying, but, they ended up giving me like a 10,000.26


       25
          I believe MENDEZ is referring to the practice in New Bedford District Court relative
to dangerousness hearings under Mass. Gen. Laws 276, § 58A. Under that statute, an individual
may be ordered detained for 120 days before trial. Judges have a practice of setting a cash bail at
the conclusion of the 120 days, and MENDEZ is referencing the fact that this will likely be
outcome for REYES-SMITH’s case after the 120 day period has been exhausted. This in fact
happened to MENDEZ’s case (Docket No. 1833CR002828). Once his period of dangerousness
concluded, a $10,000 bail was set. MENDEZ was released after posting the $10,000 bail when
he was rearrested in February 2019.
       26
         On 10/24/18, MENDEZ petitioned for review of his district court bail to the Superior
Court. After originally being set at $25,000 in the district court, Justice Mark Hallal reduced the
                                                113
                                      My lawyer, my lawyer freaked and my lawyer talked to me
                                      about the case, my nigga. They ain't got shit. He's like, "I've
                                      got this shit beat, my nigga." You know what I'm saying?
                                      The video doesn't show the ... The video looks good, right?
                                      The video looks awesome, but, but you can't tell who is
                                      who. You can't tell, like this is ...

               REYES-SMITH:           The video is from the house, right, not from the [cuts out]
                                      North Shore (PH), right?

               MENDEZ:                Yup, yup.

               REYES-SMITH:           Alright.

               MENDEZ:                Yeah, you, you seen it before?

               REYES-SMITH:           Yeah, nigga, I seen it.

               MENDEZ:                Yeah, I say look, hell, nigga! [laughs]

               REYES-SMITH:           I'm saying, nigga, that, that I don't fucking, I don't like, you
                                      can't see nothing in that shit, bro.

               MENDEZ:                Yeah, you can't anything. You know what I'm saying?
                                      That's, that's why, that's why, my lawyer was like, "Yo, you
                                      can't even tell it was me, my nigga." You know what I'm
                                      saying? He said, "Yeah, it could be anybody." The only
                                      way that we're fucked is if the witnesses go to court. And I
                                      already talked to them and shit, my nigga. I talked to both
                                      of them and shit, nigga.

               REYES-SMITH:           And so, what--You talked to them?

               MENDEZ:                Yeah, nigga, yeah, hell yeah, nigga.

               REYES-SMITH:           Wow.
(
               MENDEZ:                I was, I was in prison with the brother. The brother,
                                      because they snitched a little on the paperwork, right? So
                                      I talked, I talked to, to the brother, you know what I'm

cash bail to $10,000. After being arrested again in February 2019, MENDEZ’s bail was
revoked. Following the period of revocation, a judge in the district court further reduced the bail
to $5,000. In the 5/9/19, findings setting the bail at $5,000, the Judge noted that MENDEZ has a
15 page record, an open case for “A D/W – pit bull + ABDW (door),” “3 open cases w/ ‘serious’
charges”, and a prior 2 to 3 year prison term for assaultive behavior.

                                                 114
                                        saying? Who was in jail. And I'm like your brother is
                                        snitching, you know what I'm saying? Talk to him. Boom.
                                        He wrote me an affidavit, and shit, you know what I'm
                                        saying? He wrote me an affidavit saying that it, it wasn't
                                        us and shit, and he, he don't know the guys that did it. He
                                        knows me and shit. So we good, my nigga.

                 REYES-SMITH:           Alright.

                 MENDEZ:                We gonna be good, my nigga. Trust me on that.

                 REYES-SMITH:           Yo, ah, I'm going to finish getting my money together for
                                        the lawyer, my nigga.

                 MENDEZ:                Do you have, do you have that woman’s number?

                 REYES-SMITH:           Nah.

                 MENDEZ:                I'm going give you, um, I'm going to give you my girl's
                                        number, write it, write it down real quick. Hit this (UI).

                 REYES-SMITH:           Why don’t you just send it to me?

                 MENDEZ:                Alright, I'm going to send it to you. I'm going to send a text
                                        to you.

                 REYES-SMITH:           Alright.

                 MENDEZ:                Alright. ADR, bro.

                 REYES-SMITH:           Nigga, tell everybody I love them, (UI).

                 MENDEZ:                [talking to others] Yo, he said ADR to all you out there.

       307.      On February 24, 2019, MENDEZ was back in custody after being arrested on a

new drug case, which has since been federally indicted (United States v. Mendez, 19-CR-10178-

GAO). MENDEZ was intercepted on a consensual Title III on CW-9’s phone discussing the

case, and referencing the fact that his trial for the May 2018 incident was then-scheduled for the

next day.27 During this conversation, MENDEZ discusses the fact that his intimidation of the


       27
            The court papers reflect a prior trial date was scheduled for February 25, 2019.

                                                   115
witnesses should work, and that MENDEZ knows the victims are not expected to come to court.

The following is a draft transcript of a portion of the conversation:

               MENDEZ:                Yeah, everything is good. I'm over here with the old man.
                                      I'm over here with Bubba. Bullshitting. You know what I'm
                                      saying? We over here and shit.

               CW-9:                  That's what's up man. Everything good in there?

               MENDEZ:                I got trial, I got trial tomorrow.

               CW-9:                  You got trial? Yeah, I heard.

               MENDEZ:                Yeah so hopefully you know what I'm saying. If it goes
                                      my way it should get dismissed. There's no victim showing
                                      up, there's nobody showing up so. I don't know. You
                                      know what I mean?

               CW-9:                  Yeah.

               MENDEZ:                They’re gonna try to continue it cuz I'm representing
                                      myself right. And the DA has two weeks, the DA has two
                                      weeks prior to my trial to give me my discovery.

               CW-9:                  Yeah.

               MENDEZ:                My trial is tomorrow I still haven't gotten no discovery so.

               CW-9:                  (OV) that's a violation they gotta release you. That's what
                                      happened to me.

               MENDEZ:                Yeah, they gotta they he's gonna try to get it, he's he's he
                                      wants me to make a big deal out of it so I can get a
                                      continuance right?

               CW-9:                  Yeah.

               MENDEZ:                But that's not gonna happen. I'm ready with the trial my
                                      nigga. You know what I'm saying. They could give me my
                                      paperwork as we go. How's that.

       III.    2019 Conspiracy to Murder and Rob Gangster Disciples

       308.    Over the past twelve months the rivalry between the LATIN KINGS in New



                                                116
Bedford and the local Gangster Disciples gang28 in New Bedford has intensified. Multiple

shootings have been tied to this rivalry, culminating in the October 2019 murder of a 17 year old

probationary member of the LATIN KINGS, who I will refer to as P.C. who was killed while in

LATIN KINGS territory, near one of the trap houses. This murder has resulted in further

incidents of violence between the New Bedford Chapter and the Gangster Disciples.

               a.     February 10, 2019, Armed Assault with Intent to Murder Rival Gang
                      Members (PARIS, Jose VASQUEZ, JORGE)

       309.    A 2/10/19 recording captures CW-9, JORGE, PARIS and Jose VASQUEZ in 358

North Front Street discussing a recent shooting of rival gang members who had run into an

LATIN KINGS trap house. JORGE states he saw messages on the chat about Gangster Disciples

entering the trap house with guns, and JORGE states he spoke with N. VELAZQUEZ. JORGE

states he was with “Trio” (TM, a/k/a King Trio), and “Blaze” (BM, a/k/a King Blaze). JORGE

states that BM left, then ran back in, and started hearing shooting outside, which ended up being

LATIN KINGS members.

       310.    JORGE states that Jose VASQUEZ and another person were going to get guns

and he was waiting for them. JORGE described the problem was because a girl, whose boyfriend

is a rival gang member, was now romantically involved with an LATIN KINGS member.

JORGE and PARIS surmise that this woman provided info to the rival gang members. Jose

VASQUEZ then states that the rivals entered the trap house with masks on.

       311.    PARIS explains that he did the shooting, and shot at the rival gang members.




       28
           During the course of the investigation members of the LATIN KINGS refer to the
various south end gangs as Gangster Disciples or GDs. I know from prior cases that the gangs
based in the south of New Bedford, including the Gangster Disciples and Crips have been
referred to collectively as United Front.

                                               117
PARIS states that he acquired a firearm and went over to the trap house, fired, and that the gun

jammed on him, and then he ran. PARIS indicated he shot at the rivals, and shattered glass on a

vehicle. JORGE then can be heard discussing that he heard eight shots being fired. Jose

VASQUEZ states the rivals “started a war” because they ran up in the trap with guns.

               b.     February 2019, Beatings of Gangster Disciple Members

       312.    In February 2019, CW-9 provided two social media videos received from other

LATIN KINGS members that had been posted on the internet. In the first video, sent to CW-9

by Jose VASQUEZ, LATIN KINGS members, including Jose VASQUEZ can be observed

exiting a car and immediately throwing an unidentified victim to the ground, then punching and

kicking him. The victim can be heard stating, “I’m not GD, I’m not GD.” The banners on the

videos read: “When them flake niggas think they can walk down the block” and “Big GDK that

we repping.” Investigators know GDK means Gangster Disciple Killer, and Flake to be a

derogatory term for the Gangster Disciples. Still images from the video follow:




                                               118
       313.    In another video, the same sequence occurs with multiple LATIN KINGS

members, including SANTIAGO-TORRES, and JC, chasing, punching, and kicking an

unidentified victim. At one point, one LATIN KINGS member sits on and straddles the victim’s

body as he lies in the street and throws a flurry punches at his face. The banner in the video has

the words “Big GDK”. Still images from the video follow:




               c.      February 23, 2019, Peace Negotiation

       314.    There was at least one attempt to negotiate a peace between the New Bedford

Chapter and Gangster Disciples. This negotiation took place on 2/23/19, at the Mount Carmel

Social Club in Springfield, MA. During this meeting members of the LATIN KINGS, including

Jorge RODRIGUEZ, LIBERATO, PEGUERO-COLON, CALDERON, and CW-9 met with

leaders of the Gangster Disciples in order to identify the cause of the rivalry, and address issues.

       315.    During this discussion Jorge RODRIGUEZ indicates that the LATIN KINGS and

Gangster Disciples should not be fighting or shooting one another and that they can both make

money selling drugs. Jorge RODRIGUEZ describes the situation on the ground in New Bedford

                                                119
with respect to gang turf and that there is only one “set” of LATIN KINGS. The following is a

draft transcript of a portion of the conversation:

       CW-9:                   We got the whole north. You know what I’m saying? And we
                               don’t mind anybody coming through with the common
                               understanding with Franco like look we aint gonna flag in your
                               hood, don’t flag in our hood. You get what I’m saying? Y’all can
                               come through, do what y’all do, but you know what I’m saying
                               don’t make no money out here, we don’t make no money in your
                               hood. You get what I’m saying? And we don’t flag our, our, our
                               colors in your hood, you don’t flag yours and we keep it mutual
                               since we sit down with, with the vanguard because that’s what G
                               had put in place.

       RODRIGUEZ:              Nah I was making, I was making money with him too, cause we,
                               we said that when you come to our hood, you can work in our
                               hood. We don’t give a fuck, just buy the work off us. You get what
                               I’m saying? But, you know what I’m saying, in the long run, in the
                               long run when we used to go to your hood and it was a problem of
                               flagging and shit like that, so it because a problem in our hood
                               then.

       GD LEADER:              Mhm.

       RODRIGUEZ:              If we cannot flag in your hood, don’t flag in our hood.

       GD LEADER:              Exactly.

       RODRIGUEZ:              So that, that was the whole issue. You know what I’m saying?

       GD LEADER:              Right, right.

       GD LEADER:              Showing respect.

       RODRIGUEZ:              Well like every, every GD who was in our hood and shit like that,
                               we didn’t know, you want to be in the hood you can be in the
                               hood, you can [UI], [UI]. You can move our work and shit, you got
                               to move a book for my brother out here. Cause when we went to
                               your hood, the same thing what you guys want, you guys want to
                               move—you want us to move your work, right? So that’s the—so
                               we always had that, that respect. You know what I’m saying, we’re
                               with Franco, you know what I’m saying? But now Franco, he hit
                               us up like the other day and said that’s oh the disrespect, I thought
                               we had the [UI]. You know what I’m saying?



                                                 120
       GD LEADER:             Right.

       RODRIGUEZ:             You guys don’t see it now but you got to correct your people then.

       GD LEADER:             Yeah.

       RODRIGUEZ:             Cause you, you know what I’m saying, how many Kings you got
                              in New Bedford and every Kings in New Bedford report to one
                              person in New Bedford, there’s not a whole bunch of different sets.
                              You get what I’m saying? So if you throwing a crown to one of us
                              it’s just basically you’re doing it to me too.

       GD LEADER:             [UI]

       RODRIGUEZ:             You know what I’m saying? Because there’s not a bunch of sets of
                              Kings out there, there’s only one set.

       GD LEADER:             Yeah.

       316.     Jorge RODRIGUEZ then implores the Gangster Disciple leaders that there need

not be a war so long as the offending Gangster Disciple, identified by a street name of “Six,” is

properly punished and respect is reestablished between the gangs. Instead, Jorge RODRIGUEZ

suggests that both gangs focus their efforts on identifying and killing snitches who threaten both

gangs through potential prosecution. The following is a draft transcript of a portion of the

conversation:

       RODRIGUEZ:             And shit like that you know what I’m saying bro, it’s like I, it’s
                              like I said, we got so much beef out there, we got so much beef
                              with each other for what? There’s a whole bunch of snitches—if
                              you want to be a good—there’s a snitch out there! Go deal with
                              the snitches out there! Go be—go kill them! Beefin’ with each
                              other is not making nothing, cause what we’re doing is worrying—
                              you never know who’s doing this in this shit. One of us might flip
                              over, one of you guys might flip over and [UI] snitching and shit.
                              [UI] my opinion. That’s my opinion. You, and I [UI] my brothers
                              out there—

       GD LEADER:             [UI] out there, some of our people.

       RODRIGUEZ:             Well to be banging with each other for what? We should be
                              helping each other put and then, and then, and then, with, with,

                                                121
                              with, with each other and shit because right now, right now we
                              banging with each other. Nigger no one of my people might snitch
                              out, and then fuck everything up, go to the cops and everything,
                              and then were all going down. One of your people might snitch
                              out, and there’s war going on and shit when we should be taking
                              care of all the snitches out there. That’s, that’s what I’m telling
                              brothers up there. You gon’ fuck everybody else, we won’t [UI]
                              with snitches. If this nation we [UI] with them!

               d.     May 28, 2019, Armed Assault with Intent to Murder Rival Gang
                      Member

        317.   On 5/28/19, at approximately 12:45 P.M., New Bedford Police were dispatched to

139 Dartmouth Street, for reports of shots fired. Through the investigation, officers learned that

a group of LATIN KINGS had congregated to fight a rival gang, and that two gunshots were

fired during the altercation. A nearby motor vehicle was struck by the gunfire. Witnesses

provided descriptions of the suspects and two vehicles used by the suspects to flee the scene.

        318.   Witnesses further informed police that the altercation stemmed from a social

media status update, which police later retrieved. In substance, the post included threats between

Gangster Disciples members and LATIN KINGS members, including BM, and JC. Witnesses

informed police that this incident started as a fist fight between the gang members, but shortly

after the fight started someone yelled “gun” and everyone ran from the backyard, and shots were

then fired.

        319.   According to the police report, surveillance video from nearby showed that one of

the getaway vehicles was a white Chevrolet Silverado with tinted taillights that is consistent with

the 2008 White Chevrolet Silverado, owned by Jorge RODRIGUEZ, VIN:

2GCEC19C181148562.

        320.   During the police response, a member of the Gangster Disciples, who I will refer

to as Victim 6, attempted to enter the crime scene claiming that he wanted to help his friend.



                                               122
Victim 6 would later be shot on September 30, 2019, in a further episode of this gang war.

       321.    Police obtained a video of the end of the altercation, where a person identified to

be SANTIAGO can be observed running through the backyard with a black semi-automatic

firearm in his hands. In total, the New Bedford Police were able to identify JC, SANTIAGO,

SANTIAGO-TORRES, VARGAS, JOHNSON, and N. VELAZQUEZ as being present for the

fight and gunfire.




       322.    CW-9 reported that he learned about this shooting from LATIN KINGS members,

who stated that the shooting started with JC fighting with a member of the Gangster Disciples.


                                               123
CW-9 reported that SANTIAGO-TORRES passed a firearm to SANTIAGO and that

SANTIAGO fired two gunshots. CW-9 reported that the LATIN KINGS members fled the scene

in a white pickup truck owned and operated by Jorge RODRIGUEZ.

                e.     July 20, 2019, Armed Assault with Intent to Murder Rival Gang
                       Member

        323.    On 7/20/19, at approximately 7:13 P.M., New Bedford Police responded to the

area of Purchase Street for the report of a fight involving 6 to 7 individuals. While en route,

police were alerted that ShotSpotter had registered four gunshots being fired at the 636 Purchase

Street location. When they arrived, witnesses told police that there had been a fight in the

middle of the street involving several males, and shots were fired and the males had fled.

Officers located a vehicle nearby that had been struck by gunfire. Ultimately six shell casings

were located.

        324.    Officers reviewed cameras from nearby businesses and determined that at least

eight individuals were involved in the fight. As the fight raged in the street, customers inside a

bar turned their attention to the LATIN KINGS stomping and punching the rival gang members

just outside.

        325.    Another surveillance video captured the shooting and depicts two individuals

standing at the intersection of Purchase Street and School Street facing toward the fleeing rival

gang members. One of the males can be seen at the very top of the frame, standing in the middle

of the intersection in a stance consistent with firing rounds at the fleeing group. The shooter then

hands the firearm to his accomplice. Both the shooter and the accomplice turn and leave the

frame. Still images follow of the shooter discharging the firearm at the fleeing rival gang

members, followed by a zoomed-in image of the firearm being transferred:




                                                124
       326.    The video revealed that the shooter was wearing dark pants with visible white

patterns consistent with ripped-styled jeans.

       327.    Officers were able to identify one of the victims of the shooting, Victim 7, and

spoke to this individual. Victim 7 stated that he had walked to the liquor store and as he was

walking back, approximately 5 males “came out of nowhere” and attacked them. Victim 7 stated

that there was no argument prior to the fight and he had never seen the males before. Other

persons also could not provide positive identification of the shooters or provide a motive.

       328.    At 7:33 P.M. that night, approximately fifteen minutes after the shooting, CW-9

                                                125
recorded Jose VASQUEZ, T.M., B.M., and CW-9, discussing the shooting at 358 North Front

Street, New Bedford, MA. The following is a draft transcript of a portion of the conversation:

       CW-9:                         You got a hundred?

       T.M.:                         No.

       CW-9:                         You was over there too?

       T.M.:                         (UI)

       CW-9:                         Who started letting off?

                                     (UI)

       CW-9:                         Why’d he do that?

       Jose VASQUEZ:                 I don’t know why.

       CW-9:                         He’s the Cacique.29 (UI)

       Jose VASQUEZ:                 (UI)

       CW-9:                         Them other niggas came busting through?

       Jose VASQUEZ:                 (UI)

       B.M.:                         (UI)

       Jose VASQUEZ:                 I was like yo, yo, yo, yo (UI) Bam, Bam, Bam, Bam, I
                                     heard (UI) shots.

       CW-9:                         Two shots? He let off like the whole clip.

       B.M.:                         I heard bam, bam and then bam, bam, bam, bam, bam.

       CW-9:                         The nigga (UI).

       Jose VASQUEZ:                 (UI)

       CW-9:                         The black nigga?

       29
      CW-9 responds and identifies the shooter’s rank as “Cacique.” At the time,
SNATIAGO-TORRES was the Cacique of the New Bedford Chapter.

                                               126
VASQUEZ/B.M.:   (Answer together) The black nigga.

CW-9:           Nah Nah, The tall black nigga with braids. That we seen
                cause I passed by.

B.M.:           That’s the nigga I fought with.

CW-9:           What?

B.M.:           That’s the nigga we jumped.

UNKNOWN:        (UI)

CW-9:           Yo Blaze.

B.M.:           (UI)

CW-9:           Talk to me… Y’all was just fighting the niggas (UI). Y’all
                was doing those niggas dirty. (UI)

Jose VASQUEZ:   (UI) You know me (UI) when I pulled up. All I see (UI)
                take money from the bros. So that’s something I (UI). What
                Landi had said was (UI) I don’t know this location or
                nothing. He’s telling me before anything, he’s like yo, he’s
                like when you get over here let me know. (UI) I’m thinking
                he has it already set up like its good. So when I pull up I
                see bros in the middle of the street chasing him, and then
                all like. So I see Jeo, that’s when we get out of the whip. I
                see Jeo square up with the nigga and the nigga square up
                and I came around underneath and was like [noise] woooo,
                and I hit that nigga. That’s when we started rocking
                everybody up.

B.M.:           (UI) I was like, all right fuck it. (UI)

Jose VASQUEZ:   Like I said, I knew we had him, banging on these niggas
                (UI) My niggas, (UI).

B.M.:           (UI) off the rip. Alright I’m hip. Real talk. (UI) because we
                be getting money. (UI)

CW-9:           (UI) How we do it (UI) I thought we had (UI) at the hill,
                then I saw (UI) and I see a bunch of bros popping (UI).
                They popping on the niggas



                          127
B.M.:           Yea that’s why like, we good we don’t need that nigga.

CW-9:           I was like mamita get it on snap, get it on snap.

Jose VASQUEZ:   Did she get it (UI).

CW-9:           Nahhhhh. She didn’t (UI).

B.M.:           Damnnnnn.

CW-9:           (UI)

UNKNOWN:        (unintelligible)

B.M.:           I backed up. (UI) I’m like, I see the first (UI) (loud
                clapping noise) (UI) boom boom, boom boom boom boom
                boom boom boom.

Jose VASQUEZ:   By the house (UI)

CW-9:           He shot at the hill? Or he shot at the (UI).

B.M.:           Bro, (UI)

CW-9:           The one with the dread, with the dreads (UI).

Jose VASQUEZ:   There was an asian nigga too. Light skinned, he looked
                white.

CW-9:           Well that nigga with the dreads, (UI) front building.

Jose VASQUEZ:   The white house, right?

CW-9:           No, he ran into the building.

Jose VASQUEZ:   (UI) There was a white house, that (UI) nigga.

B.M.:           (UI)

Jose VASQUEZ:   Now we are gunna have to (UI). Everybody out there (UI).

CW-9:           (UI) in my car, and I was like oh shit. When I heard the pop
                pop, (UI) I was like wheeeppp. We was gone!

Jose VASQUEZ:   When I moved over nigga, (UI) when I moved on him he
                just fell down to the floor, the bros just started kicking the

                            128
                                      nigga. So I looked around, whoever (UI), then (UI), that’s
                                      when I heard the shots.

       B.M.:                          Shots, I look up (UI)

       CW-9:                          Oh… I thought this nigga was shooting at y’all.

       Jose VASQUEZ:                  I didn’t know who was shooting. I know I heard a nine
                                      nigga, cause it sounded so familiar. So I was like, oh yah
                                      that’s this nigga setting it off.

       CW-9:                          Hey! (Yelling at dogs) They all (UI) now.

       Jose VASQUEZ:                  (UI)

       CW-9:                          (UI).

       Jose VASQUEZ:                  I don’t know (UI).

       B.M.:                          Yea yea, I (UI).

       Jose VASQUEZ:                  They GD niggas.

       B.M.:                          It’s alright though we get it popping you feel me.

       329.    Later that night at approximately 8:20 P.M., at 358 North Front Street, New

Bedford, MA, CW-9 recorded SANTIAGO-TORRES and Jose VASQUEZ, discussing the

shooting. During the recordings, SANTIAGO-TORRES identifies Jose VASQUEZ,

GUADALUPE, J.C., and E.G. as being involved. Additionally, SANTIAGO-TORRES

describes how he fired the shots, and CW-9 rebukes him for being the one to shoot since he

holds the rank of Cacique. The following is a draft transcript of a portion of the conversation:

       SANTIAGO-TORRES:               Yo all I seen jogging [UI]. Yo I all we see is these Ops
                                      niggas running. Yo unlock the door, unlock the door! All I
                                      see is Jeo square up with a nigga I swerve boop [PH] and
                                      the nigga and you ended up coming around the corner come
                                      from around the corner like boop [PH] kick that nigga in
                                      the face.

       Jose VASQUEZ:                  You saw me?



                                               129
       SANTIAGO-TORRES:              [UI]

       Jose VASQUEZ:                 You saw me?

       SANTIAGO-TORRES:              [UI] It was like bow [PH] I saw bros car, I’m like. I was
                                     gonna hit that nigga right there. He was on the floor. I was
                                     like ooo he’s hurt then I saw the car and he stopped perfect.

                                     [unknown laughter]

                                     (Audio distorted)

       CW-9:                         Then ya’ll bounced.

       SANTIAGO-TORRES:              Yo we stashed it, everything.

       CW-9:                         The minute I heard pop pop pop! I said I’m out.

                                     (Audio distorted)

       CW-9:                         Them niggas is all Montes?30

                                     (Audio distorted)

       Jose VASQUEZ:                 Who are those niggas?

       SANTIAGO-TORRES:              They are Montes.

                                     [unknown [UI]]

       UM:                           The nigga with the braids

       CW-9:                         That was so gay.

       SANTIAGO-TORRES:              That’s the nigga that [UI]

       CW-9:                         Give me a cigarette Ma. [speaking in Spanish: “a
                                     cigarette”]. That was gay as shit. He was like Gorda’s do.
                                     Yo, who, who was you blinking at? Which one cause they
                                     were all getting [OV]

       SANTIAGO-TORRES:              The one with the braids. [OV]


       30
          Investigators know that CW-9 is referring to Monte Park, which is a location
associated with the Gangster Disciples.

                                              130
       CW-9:                       The one with the tattoos?

       SANTIAGO-TORRES:            The big nigga with the braids. That’s the nigga that started
                                   with Tego and [UI] bro.

       UM:                         The Spanish nigga.

       Jose VASQUEZ:               So nigga when, nigga [UI]

       CW-9:                       Yeah that nigga [UI] when we passed by the house. He
                                   was in the front telling everybody what was going on.

       SANTIAGO-TORRES:            As soon as I went around the corner I saw fucking he was, I
                                   started blowing him and he was like [laughing] on my
                                   mother he was like, like nigga what the fuck is that gonna
                                   do. Jeo said he was looking at me like this. Jeo said he
                                   was literally standing there watching me shoot. He was
                                   like. He said I was looking at Pepe, [UI] Pepe.

                                   [Laughing]

       CW-9:                       You looked around to see if there was no cameras?

       SANTIAGO-TORRES:            They are gonna hit me with that [UI]. By camera they
                                   could get me with carrying without a license and stuff.

       Jose VASQUEZ:               Yeah and discharge

       SANTIAGO-TORRES:            Discharge, and attempted ah [UI]

       CW-9:                       Alright, at least you got a week or two before that happens.

       Jose VASQUEZ:               Nah. Hell no that one goes out tonight, that goes out
                                   tonight.

       CW-9:                       Nah. [UI]

       SANTIAGO-TORRES:            Bro the day that happened with [UI]

       UM:                         I think today.

       Jose VASQUEZ:               The next day they picked on him, this nigga Primo. Primo
                                   got picked up the next day.31

       31
         I believe this to be a reference to MENDEZ, a/k/a KING PRIMO, and the May 29,
2018 incident referenced above. Review of the court papers for that case indicates that
                                            131
       SANTIAGO-TORRES:                With Xavi it was two days.32 I mean with [UI] and he’s
                                       still, he’s still, [UI] but he’s good he [UI]. Just chillin like

       CW-9:                           But nigga you, but nigga you the Cacique

       SANTIAGO-TORRES:                Naw, I know but, these niggas. Bro I run up to the van,
                                       I’m, I’m lookin at niggas. Niggas is all standing like this.
                                       I’m like, give me the fucking thing. Niggas was all looking
                                       at me like dummies bro I’m not gonna fucking wait for no
                                       bros I’m doing my own thing [UI].

       CW-9:                           You think those Montes are gonna come back?

       SANTIAGO-TORRES:                No, not over here.

       UM:                             This nigga [UI]

       CW-9:                           You don’t think they’d come over here?

       SANTIAGO-TORRES:                Not over here.

       Jose VASQUEZ;                   I think they know, they know we run the whole north.

       UM:                             But we didn’t, yo we didn’t shoot right at no Montes.

       SANTIAGO-TORRES:                It wasn’t at Montes it was at that nigga.

       Jose VASQUEZ:                   [UI] block.

       CW-9:                           You were two? Nah you was a block from Montes.

       330.    Then SANTIAGO-TORRES indicates that after he fired the shots, while he was

running from the scene, a witness asked him if there was a shootout. The following is a draft

transcript of a portion of the conversation:

       SANTIAGO-TORRES:                We were a block away from there. Yeah.



MENDEZ was arraigned on the charges May 31, 2018 (Docket No. 1833CR002828).
       32
          I believe this to be a reference to XQ, a/k/a King Xavi, and the May 29, 2018 incident
referenced above. Review of the court papers for that case indicates that XQ was arraigned on
the charges on May 31, 2018 (Docket No. 1833CR002829).

                                                 132
Jose VASQUEZ:                No, you were a block from the police station.

SANTIAGO-TORRES:             I was running, I was running and I stopped and started
                             walking, and some guy was like, was there a shootout over
                             there? I was like, I don’t even know. I was just fucking
                             jogging. Jeans and all. Like, you gonna ask my sweaty ass
                             nigga if there’s a shootout. Stupid.

Jose VASQUEZ:                [Laughing]

SANTIAGO-TORRES:             Worrying about sweating jogging with jeans nigga, I’m
                             working out.

CW-9:                        Mamita said it, the only one with a coat on. You with a
                             jacket on in 90 degree weather.

                             [Laughing]

CW-9:                        [Spanish: Right Mamita? Who had the only coat on?]

UM:                          Huh?

CW-9:                        [Spanish: Who had the coat on, the only coat on?]

SANTIAGO-TORRES:             Yo, I run around the corner, right. I run around. I see this
                             crib and I like, the thing is when I run I try to observe a lot.
                             You know what I mean and see where I can go. You know
                             what I mean.

CW-9:                        HEY!!

SANTIAGO-TORRES:             I seen two fences, so I was like alright, that’s where I’m
                             gonna go, but there’s a backyard so I see a little porch so
                             I’m like I’ma just chill there and catch my breath. As soon
                             as I round the corner Jeo was around the corner like this.
                             He sitting under the balcony, like the porch like this. I was
                             like yo what the fuck is you doing. He was like bro what
                             are we doing. I said Bro. This nigga bro [UI]. He had me
                             rolling like.

CW-9:                        I love Jeo man.

SANTIAGO-TORRES:             He’s with it. Yo Milly33 [PH], Milly ran up, you saw him?


33
     Believed to be a reference GUADALUPE.

                                       133
CW-9:              He tackled one nigga.

SANTIAGO-TORRES:   First in line, first in line I like that. I saw that.

CW-9:              I was seeing all that shit and then I heard POP POP, I’m
                   like [noise]. I was fucking trying to video it on snap so I
                   could send it to G and couldn’t even get that far. It
                   happened too fast.

SANTIAGO-TORRES:   Jeo and me was beating these niggas asses [laughter].

CW-9:              That’s why I don’t know why you let off because there was
                   no need for it. Ya’ll niggas was already dumping these
                   niggas out.

SANTIAGO-TORRES:   Like I asked and shit and I was like damn, I don’t want to
                   look bad for you [UI]

CW-9:              I didn’t, I didn’t say you should blow on them. I thought
                   you meant fighting. Yeah, yeah, I’m gonna go an blow on
                   this nigga. Okay.

SANTIAGO-TORRES:   [UI] blow on these niggas

CW-9:              And then when I heard boom boom boom [UI] [laughter].
                   Bro, hell no, in Springfield we say pop off on niggas. Nah,
                   for what. If that was the case you should have popped on
                   over there at the house.

SANTIAGO-TORRES:   Nah cause they left. Then when they, they got there with
                   the van that’s when you told me meet by Family Dollar
                   [PH] that’s when we started walking that way.

CW-9:              Cause I was driving to send that.

SANTIAGO-TORRES:   And I went right down, boom, like this. Right on the hill
                   where the bank was and they crossed the street [UI]

CW-9:              Y’all niggas is wildin.

SANTIAGO-TORRES:   I was like oh yeah, that’s the whole clip.

CW-9:              Y’all niggas is wildin. Y’all doing too much. You you you
                   better find somewhere to hide. Fuck gotta go.

SANTIAGO-TORRES:   I’m good, [UI] you know what time I’m on.

                             134
       UM:                            I said the same thing and I got locked up, five minutes later.

       331.    During the recording, SANTIAGO-TORRES can be seen wearing jeans with a

distinctive rip patterns consistent with that worn by the shooter in the surveillance video. A still

image from the recording and a zoomed-in image from the surveillance video follow:




               f.      September 28, 2019, Armed Assault with Intent to Murder Rival
                       Gang Member, Victim 8 (N. VELAZQUEZ, SANTIAGO-TORRES)

       332.    According to New Bedford Police reports, a shooting took place on 9/28/19 at

5:00 P.M., in the area of Purchase Street in New Bedford, MA (New Bedford Police #19-11373).


                                                135
A caller reported three or four gunshots and that the shooter was wearing a navy blue sweatshirt

and was seen shooting on Purchase Street. The caller reported that the victim of the shooting had

gotten into a black Infiniti. I will refer to this victim as Victim 8. Victim 8 was later transported

to Rhode Island Hospital and was determined to have gunshot wounds to his arm and chest.

Investigators believe that this incident was related to the ongoing war between the LATIN

KINGS and rival gangs in New Bedford, including the Gangster Disciples.

       333.    Officers arrived and located shell casings from three different caliber weapons

(9mm, .40 caliber, and .380 caliber), took a further statement from a witness and canvassed the

area for surveillance video. At least one vehicle and one residence appeared to have been struck

by projectiles. A witness reported that one of the shooters was wearing a blue hooded sweatshirt

and got into the rear of a Nissan Rogue after the shooting.

       334.    Officers reviewed New Bedford City cameras to develop further evidence of the

Nissan Rogue’s involvement and retrieved significant video evidence. According to the

officers’ review of the surveillance video, 30 minutes before the shooting the Nissan Rogue

travels up Sawyer Street and pulled into the parking lot across from 235/239 Sawyer Street. The

Nissan Rogue eventually pulled onto Sawyer Street traveled east and turns around in a lot. The

Nissan Rogue then parks in the area of 235 Sawyer Street. Later, a passenger side view into the

Nissan Rogue was captured on video. A profile of the front passenger and a frontal view of the

rear passenger side male was visible. Officers were able to identify the rear passenger side male

as Natanael VELAZQUEZ, and the front passenger to be SANTIAGO-TORRES. Still images

from the surveillance video, juxtaposed with images of N. VELAZQUEZ and SANTIAGO-

TORRES follow:




                                                 136
          NATANAEL VELAZQUEZ                           ORLANDO SANTIAGO-TORRES

       335.    Officers then reviewed footage from the vicinity of the shooting, and observed

two individuals exit the Nissan Rogue who appear to be wearing black colored hooded

sweatshirts (front passenger and driver side rear passenger) and the third occupant wearing a blue

                                               137
colored hooded sweatshirt exits from the passenger side rear of the vehicle. The group

congregates until walking out of frame moments before the shooting. Based upon witness

statements, and surveillance video N. VELAZQUEZ was charged with the shooting. According

to the court papers, as of 11/16/19, N. VELAZQUEZ remains in warrant status on the case

(Docket No. 1933CR005560).

              g.      September 30, 2019, Armed Robbery and Armed Assault with Intent
                      to Murder Rival Gang Member Victim 6 (VARGAS,
                      CARRASQUILLO, BARBOZA, LOPEZ-VELEZ)

       336.   According to New Bedford Police reports, a shooting took place on 9/30/19 at 133

Ruth Street, New Bedford, MA (New Bedford report #19-11451). A rival gang member of the

LATIN KINGS, who I will refer to as Victim 6, was shot and told police he had been robbed.

Victim 6 was later transported to Rhode Island Hospital.

       337.   Through review of surveillance video, suspect vehicles were identified, including

a 2013 white Dodge Avenger 2013, VIN: 1C3CDZAB2DN681409, Mass. Reg. 9VW767, which

is registered to Bessie Rodriguez, the mother of Jorge RODRIGUZ, Jose RODRIGUEZ and

VARGAS, and a 2019 Toyota Camry, determined to be a rental vehicle. New Bedford Police

located the Dodge Avenger in the driveway of 239 Sawyer Street, New Bedford, MA. Review of

the surveillance video led to the identification of VARGAS being involved in the shooting, along

with a number of other individuals that have not yet been identified by New Bedford Police.

       338.   According to the police report, VARGAS can be observed in the surveillance

video waving a yellow bandana associated with the LATIN KINGS in order to claim the turf and

disrespect any other street gang in the area. Numerous accomplices of VARGAS then cross the

street and enter into the building where the shooting took place, followed by VARGAS moments

later. Gunfire is then reported, and shortly thereafter, numerous persons, including VARGAS



                                              138
run from the building and get into the white Dodge Avenger, and black Toyota Camry and leave

the scene. Of note, Victim 6, was identified to be at the scene of the 5/28/19, Dartmouth Street

shooting described above.

       339.    CW-9 provided information concerning this shooting. According to CW-9,

BARBOZA, CARRASQUILLO, and JD, a/k/a Juju travelled to this shooting in BARBOZA’s

rental vehicle. According to CW-9, VARGAS drove the White Avenger, and FNU LNU, a/k/a

Breezy and Emanuel LOPEZ-VELEZ, a/k/a MANNY travelled with VARGAS in the Avenger.

CW-9 stated that the dispute arose over insults posted by a Gangster Disciple on social media

about LATIN KINGS, and that the Gangster Disciple stated he would be on Ruth Street. CW-9

stated that the LATIN KINGS members attempted to rob the Gangster Disciple of his cell phone.

According to CW-9, as the Gangster Disciple attempted to run away, VARGAS yelled “get him”

at which point LOPEZ-VELEZ shot the Gangster Disciple. After the shooting, the LATIN

KINGS members returned to their vehicles and fled the area. The group reconvened at 358 North

Front Street, New Bedford, MA, and Jose RODRIGUEZ later called a meeting for all involved at

his residence at 239 Sawyer Street, New Bedford, MA.

       340.    VARGAS was charged with being an accessory before the fact to the shooting in

New Bedford District Court and was detained.

       341.    A 10/17/19 recording captures CW-9 discussing the 9/30/19 shooting with

Emanuel LOPEZ-VELEZ, a/k/a Manny, who is a probationary member of the LATIN KINGS.

CW-9 tells Manny that VARGAS wants LOPEZ-VELEZ to come forward and turn himself in

for the shooting in order to clear VARGAS’ name. CW-9 states, “he passed the burner to you

right?” LOPEZ-VELEZ, replies “Yes, he was the one who had it. When I was running he told

me to go get him.”



                                               139
               h.     October 24, 2019, Meeting of New Bedford Chapter to Discuss War
                      with Rival Gangs

       342.    On 10/24/19, a recording captured a meeting of the New Bedford Chapter of the

LATIN KINGS meeting at 104 Tallman Street, 1st Floor Rear Apartment, New Bedford, MA.

This apartment is the current residence of N. VELAZQUEZ within one of the LATIN KINGS

New Bedford trap houses. This meeting took place approximately five days after the murder of a

17 year probationary member of the LATIN KINGS, who I will refer to as P.C. This murder

took place a short distance from 104 Tallman Street, and according to CW-9, the Gangster

Disciples were responsible for the murder. The individuals that were present during the meeting

included: Jorge RODRIGUEZ, Jose RODRIGUEZ, FELIX-RIVERA, LUGO, JORGE,

JOHNSON, SANTIAGO-TORRES, RUIZ, CARRASQUILLO, GUADALUPE, N.

VELAZQUEZ, MEDINA, COTTO, L.R., a/k/a Kiko, and LOPEZ-VELEZ.

       343.    At the beginning of the meeting, phones are instructed to be turned off and are

collected from all those in attendance by FELIX-RIVERA. LUGO collects dues from the

members for the fundo, and marks on a ledger all of those who paid and what amount was paid.

The individual members report their contributions to LUGO who records the entries. During the

collection of the money, Jorge RODRIGUEZ indicates he is paying $400 now and $600 later.

       344.    During the recording, MEDINA and JORGE can be heard discussing the North

Front Lions (NFL) chat used by members of the New Bedford Chapter to coordinate their

activity. They admonish the members to stop using the chat to send addresses of the opposing

gang members.

       345.    Jorge RODRIGUEZ then begins to discuss the NFL chat stating, “That Facebook

messenger is not to put nothing crazy, that's only if you got that beef, you know what I'm saying?

Beefing can go real quick. Don't put no addresses, don't put the ops over here, and don’t do

                                               140
nothing. Be careful, there are outsiders around. Don’t put nothing crazy in the messages because

it's going to come back to everybody in that group and we are all going to get picked up in Rico,

and all that crazy shit. We don't want, we don't want to do that, because it's Organized Crime,

understand!”

         346.       Jorge RODRIGUEZ continues: “you guys need to remember when you guys

discuss something about, something about guns, all that bullshit, about murders all that green

shit, you gonna see a whole bunch of badges, you gonna see a whole bunch of pages and shit

stop talking about that shit on your phone, put your phone away and talk to a brother one on one.

That’s why I say shut your phone off, put your phone away, you know?”

         347.       After this, Jose RODRIGUEZ can heard stating: “I'm not going to mention no

bros, if it happens again I'm a put you out there. Stop calling me, and telling me yo the ops is

there, what I’m gonna to do. Do what you need to do that's it. Don't call me (UI) what to do.

Don't call me, I'm hanging up. Stop calling me and move on them, that's it. Stop calling me, just

do it that's it.”

                    i.     November 12, 2019, Assault on Rival Gang Members (SANTIAGO-
                           TORRES, LOPEZ-VELEZ, LR, a/k/a Kiko)

         348.       According to New Bedford Police report #19-13325, on 11/12/18, officers

responded to a call of a fight taking place on County Street. Officers made contact with the

victim who I will refer to as Victim 26. Victim 26 was being treated by paramedics and was

observed to have minor injuries, including bumps on his head and face and a small cut on his

forehead. Victim 26 refused to provide any information about the persons who had inflicted the

injuries. Officers located a video of the incident from the County General Convenience store. I

have reviewed that video. This video vividly depicts a brazen and brutal assault of Victim 26.




                                                  141
       349.    That video depicts SANTIAGO-TORRES, LOPEZ-VELEZ, LR, a/k/a Kiko, and

another unidentified male enter the store, make purchases, and then exit the store at

approximately 9:16 AM. As the group exited, they passed by a camera which captured their

faces, and clothing. Still images of the group exiting follow:




              SANTIAGO-TORRES                                       LOPEZ-VELEZ


       350.    As the group exits, their attention is drawn to a silver vehicle that is parked in

front of the store. SANTIAGO-TORRES and LOPEZ-VELEZ peer into the vehicle to identify

who is inside of the vehicle, and appear to exchange words with the occupants. A still image of

this moment follows:




                                                142
       351.    The group then circles around the vehicle and begins to pull on the door handle

and strike the rear driver’s side window of the silver vehicle. The front passenger then exits and

runs away off camera to the left. The group circles around to the rear passenger side and drags

Victim 26 from the vehicle and throws him to the pavement. Once on the ground, all four

members of the group begin kicking and stomping on Victim 26, and throwing punches at his

body. Victim 26 struggles to defend himself from the attack. A series of still images depicting

SANTIAGO-TORRES, LOPEZ-VELEZ, LR, and the unidentified individual assaulting Victim

26 follows:




                                               143
       352.    The LATIN KINGS members then dispersed and were later observed by police as

they left the area. Shortly thereafter, SANTIAGO-TORRES posted a music video on YouTube

where SANTIAGO-TORRES, LOPEZ-VELEZ, and LR rap about the ongoing gang war, and

state threatening lyrics, and identify Victim 26 by his initials as “a bitch.” This music video is

discussed in greater detail later in this document.



                                                144
       j.      November 19, 2019, LOPEZ-VELEZ and SANTIAGO-TORRES

       353.    On 11/19/19, according to New Bedford Police field interview report #19-542,

officers came into contact with LOPEZ-VELEZ and SANTIAGO-TORRES in the vicinity of

235 Sawyer Street, New Bedford, MA. LOPEZ-VELEZ addressed the officers and “appeared

happy to see us and asked if we have been ‘running up his numbers.’" The New Bedford officers

believed this to be a reference to LOPEZ-VELEZ’s music video on YouTube that was recently

posted, specifically the song WAR TIME posted by SANTIAGO-TORRES.

       k.      November 2019, Assault and Robbery of Unknown Gangster Disciple

       354.    On 11/20/19, CW-9 forwarded a video of New Bedford Chapter LATIN KINGS

members assaulting and robbing a rival gang member in the middle of the street, during broad

daylight. The rival gang member is attacked and thrown to the ground, while more than five

LATIN KINGS surround his body kicking, stomping and punching the victim while he struggles

to defend himself in the middle of the street. Traffic is forced to drive around the scene that

unfolds. At the end of the video, the LATIN KINGS steal an item that appears to be a wallet or a

phone from the victim’s pants pocket. During the assault, the LATIN KINGS members state

“Big GDK,” meaning Gangster Disciple Killer, and refer to the victim as food.

       355.    Still images from the video follow:




                                                145
       IV.    Manufacturing of Cocaine Base

       356.   A 5/30/19 recording captured Jorge RODRIGUEZ and Yuen Liu-Torres cooking

crack at 358 North Front Street, Apartment 1S, New Bedford, MA. During the video, a scale,
                                            146
cocaine, and baking soda, can be seen on the counter. Jorge RODRIGUEZ can be seen stirring

the pot as part of the process. During this recording, Jorge RODRIGUEZ and YLT and CW-9

discuss cocaine supply, and prices for bricks of cocaine. A still image from this recording

follows:




          357.   A 7/10/19 recording captured Jorge RODRIGUEZ cooking approximately 500

grams of cocaine base, with LUGO, JORGE, FELIX-RIVERA, and RUIZ, who are also present

at 358 North Front Street, Apartment 1S, New Bedford, MA. During the video, Jorge

RODRIGUEZ can be seen stirring the pot, and adding baking soda and ice cubes to the pot.

Freshly cooked crack cocaine can be seen on the counter. Still images from this recording

follow:




                                               147
148
       358.    On 7/18/19, a recording captured MEDINA and VARGAS preparing to cook

cocaine base at 238 Davis Street, Apartment 10, New Bedford, MA. MEDINA can be seen

unpacking supplies, including a pot, baking powder and plastic baggies in the kitchen. MEDINA

can also be seen filling the pot with water to cook the cocaine base. Additionally, VARGAS can

be seen holding a kilogram of suspected cocaine, which was stamped “Gucci.” Still images from

this recording follow:




                                             149
       359.   A 7/31/19 recording captured Jorge RODRIGUEZ cooking approximately 500

grams of cocaine base at 358 North Front Street, Apartment 1S, New Bedford, MA. During the

video, Jorge RODRIGUEZ can be seen stirring the pot. A scale, and plastic baggies, and an


                                             150
amount of cocaine base are visible on top of the washer/dryer. Also present during this

recording are LUGO, VARGAS, VEGA and Jose VASQUEZ. A still image from this recording

follows:




       360.    An 8/2/19 recording captured Jorge RODRIGUEZ cooking approximately 500

grams of cocaine base at 238 Davis Street, Apartment 10, New Bedford, MA. CW-9 is seen

retrieving the pot and filling it with water while Jorge RODRIGUEZ is on the phone. CW-9

retrieves a box from the top right side of the closet where CW-9 indicated the cocaine was

hidden. Jorge RODRIGUEZ is seen at the stove placing a Pyrex measuring cup in the pot with

water and then cooking it. Still images from this recording follow:




                                              151
       361.   An 8/7/19 recording captured Jorge RODRIGUEZ cooking approximately one

kilogram of cocaine base at 238 Davis Street, Apartment 10, New Bedford, MA. RUIZ is also

present during the recording. During the recording, two firearms can be seen laying on top of a


                                              152
pink towel, which Jorge RODRIGUEZ places in the closet. During the recording, visible on the

mini-fridge, table, and window sill is a large amount of cocaine base drying out in individual

piles. Additionally, located on the top of the mini-fridge was baking soda, a scale, and clear

plastic baggies. Additional cocaine base is visible on the counter of the kitchen. Jorge

RODRIGUEZ can be observed stirring the pot at the stove, and then separating cocaine base into

individual piles to dry. Still images from this recording follow:




                                                153
       V.     Distribution of Controlled Substances, Cocaine, Cocaine base, and Heroin

       362.   A 7/14/18 interception between BARBOZA and Jorge RODRIGUEZ captures

BARBOZA informing Jorge RODRIGUEZ that she had 19 things in a bag, bagged up, and had

“two, almost two and a half freaking UI balls.” BARBOZA tells Jorge RODRIGUEZ that half of

everything, all the “work,” is gone and she does not have all the money to repay Jorge

RODRIGUEZ (Session 319). BARBOZA believes she served a customer and left the door open

before she left, and got robbed of the “work,” while she was out. BARBOZA discusses

payments she has to make to other LATIN KINGS members and for MENDEZ’s attorney.

BARBOZA asks Jorge RODRIGUEZ to tell “X” (VALENTIN-SOTO) about the situation, and

RODRIGUEZ tells BARBOZA to call him when BARBOZA is with X (VALENTIN-SOTO),

Jorge RODRIGUEZ and BARBOZA discuss her working at a place where she is renting a room.

       363.   A 11/10/18 recording captures JORGE discussing distribution of crack cocaine,

and particular sales of 8 balls, or 62 gram packages, and various prices. JORGE discusses a

recent beating of an individual and buying drugs from Jose RODRIGUEZ, and specific


                                              154
purchases of an 8-ball and 32 grams. JORGE engages in extensive conversation concerning

negotiating prices for cocaine base.

       364.    A 2/4/19 recording captures FIGUEROA, VALENTIN-SOTO, MENDEZ, Jorge

RODRIGUEZ and BARBOZA discussing narcotics dealing and a recent assault of Victim 24.

During the recording VALENTIN-SOTO asks FIGUEROA, “you have work?” FIGUEROA

responds, “in my ass.” Jorge RODRIGUEZ then instructs FIGUEROA to put the “work” in the

car in order to protect high ranking LATIN KINGS members, who were then present. The group

then discusses the assault of Victim 24, and compare it to the assault of FNU LNU, a/k/a

Chimook. The group discusses how Chimook screamed more than Victim 24. During the

discussion of the assault an UM stated, “when G said give him a minute and everybody a

minute.” During the conversation, Jorge RODRIGUEZ states that FIGUEROA “ate” too,

meaning that FIGUEROA took part in the assault. FIGUEROA also mentions that he tried

hitting Victim 24 with a chair. Jorge RODRIGUEZ also mentions that he had a lot of LATIN

KINGS involved in the beating of Victim 24. They also discuss various members being in bad

standing.

       365.    On 2/7/19, a search warrant was executed at 239 Sawyer Street, Apartment 4N,

New Bedford, MA. An officer asked MENDEZ for a combination to two safes that were in the

apartment, one large and one small. MENDEZ could not provide the combinations, and stated: “I

had the combination for [the larger] one, but not the small one. That’s Royalty’s.” Officers

opened the small safe, and recovered 21 bags of marijuana weighing 602.7 grams, 57 bags of

cocaine weighing 17.1 grams, a digital scale, and $1,900 in US Currency. BARBOZA who was

also present then stated: “Royalty got weed in there, but he’s got a marijuana card.” Following

that search, MENDEZ was arrested by New Bedford Police at 239 Sawyer Street, Apt 4N, New



                                               155
Bedford, MA. MENDEZ has since been federally indicted for this incident (United States v.

Mendez, 19-CR-10178-GAO).

       366.   A 6/13/19 recording captures RUIZ distributing what CW-9 described as

approximately 7 grams of crack cocaine to Juan FIGUEROA at 358 North Front Street, New

Bedford, MA. FIGUEROA gives the cocaine base to E.G. CW-9 asks where FIGUEROA is

going and FIGUEROA responds, “to get this money.”

       367.   A 7/13/19 recording captures Jose VASQUEZ giving CW-9 $4,000, for cocaine

base which Jorge RODRIGUEZ provided to LATIN KINGS members before he went out of

town. This recording takes place at 239 Sawyer Street, New Bedford, MA.

       368.   A 7/18/19 recording at 358 North Front Street, New Bedford, MA, captures Jose

VASQUEZ giving CW-9 $1,250 on behalf of COTTO for cocaine base which Jorge

RODRIGUEZ provided to LATIN KINGS members before he went out of town. During the

recording, Jose VASQUEZ states the money was from COTTO, SANTIAGO-TORRES, and

himself. CW-9 informs Jose VASQUEZ that he is waiting for Jose RODRIGUEZ to “chef up

the work,” which means cook the crack, and tells Jose VASQUEZ that Jose RODRIGUEZ wants

Jose VASQUEZ and SANTIAGO-TORRES to slow down the trap, which means to reduce the

foot traffic in order to reduce the risk of law enforcement scrutiny. SANTIAGO-TORRES

enters and tells CW-9 that the trap is busy because other brothers like CALDERON and

CARRASQUILLO come there to trap, meaning sell drugs. SANTIAGO-TORRES states, “I

have seen Stutter cook a whole brick in one pop,” referring to Jose RODRIGUEZ.

       369.   A 7/18/19 recording at 358 North Front Street, Apartment 1S, New Bedford, MA,

captures CARRASQUILLO providing $700 to CW-9 for cocaine base, which Jorge

RODRIGUEZ previously provided to LATIN KINGS members before he went out of town.



                                            156
Also depicted in the recording are GUADALUPE, and VARGAS.

       370.    A 7/18/19 recording captures COTTO giving CW-9 $200 for cocaine base, which

Jorge RODRIGUEZ provided to LATIN KINGS members before he went out of town. Jose

RODRIGUEZ was present during the exchange.

       371.    A 7/19/19 recording at 358 North Front Street, New Bedford, MA, captures

JORGE providing CW-9 with $2,500, which was owed to Jorge RODRIGUEZ for cocaine base

provided to LATIN KINGS members before he went out of town.

       372.    A 7/20/19 recording inside of CW-9’s vehicle captures Jose VASQUEZ,

SANTIAGO-TORRES, and CARRASQUILLO providing money CW-9 for cocaine base, which

Jorge RODRIGUEZ provided to LATIN KINGS members while he was out of town.

SANTIAGO-TORRES gave CW-9 $900; Jose VASQUEZ gave CW-9 $1,250;

CARRASQUILLO gave CW-9 an unknown amount. Jose VASQUEZ, SANTIAGO-TORRES,

and CARRASQUILLO can be observed entering CW-9’s vehicle and passing the money to CW-

9 one at a time.

                     MUSIC VIDEOS DEPICTING THE LATIN KINGS

       373.    Like many violent street gangs, the LATIN KINGS endeavors to project power

over the internet through the creation, marketing and promotion of music videos featuring their

members. These music videos contain depictions of the members holding and carry firearms,

boasting about their proclivity for violence, and the scope of their successful drug distribution

operations. In the music videos, the LATIN KINGS imagery and symbolism can be seen in full

effect: the persons in the videos wear LATIN KINGS colors and clothing, paraphernalia

associated with the LATIN KINGS is visible, and members throw up the crowns and other gang

signs, along with weapons and other implements.



                                                157
       374.     In particular, these music videos have been identified in the investigation for their

use by LATIN KINGS as warnings and threats to other rival gangs. Additionally, the music

videos contain entire groups of LATIN KINGS members associating and affiliating with each

other while wearing and engaging in the symbolism of the LATIN KINGS enterprise. As such,

the music videos serve to reflect the current standing and affiliation of the persons depicted

within the LATIN KINGS enterprise. Furthermore, the lyrics reveal the current rivalries that the

various LATIN KINGS street gangs in Boston and New Bedford are engaged in. Overall, given

the numerous incidents of violence and drug distribution that have been recorded on video during

the investigation, the music videos are best understood to be boastful admissions to the very

racketeering activity for which the LATIN KINGS members are under investigation.

       375.     In March 2019, FIGUEROA posted a video titled “Exposing Me,” that was at one

point viewable on YouTube. In this video numerous members of the LATIN KINGS, including

SANTIAGO, CALDERON, SANTIAGO-TORRES, Jose RODRIGUEZ, Jose VASQUEZ,

COTTO, GUADALUPE, N. VELAZQUEZ, and A. VELASQUEZ can be seen. At the start of

the video, a burning red bandana can be seen, symbolizing disrespect to the Bloods, who are

associated with red. COTTO can be observed in the video holding and brandishing a large AR-

style rifle that he aims at the camera. FIGUEROA, CALDERON, and GUADALUPE can also

be observed holding firearms as well.

       376.     The lyrics contain specific references and threats to opposing gangs, including the

Bloods (“bounty hunters”), Dominican Don’t Play (“DDP”), and Trinitarios (“Trinis”): “Let me

catch a Trini and I’m a leave em on a poster B”; “DDP I get them niggas flip like it was cool to

me, Had them niggas dancing on the ground like they were Kooda B”34; “Bounty hunters



       34
            Kooda B is a well-known member of the Nine Trey Gangsta Bloods, which is a set of
                                                 158
flipping on they set, they were food to me, They big homey a rat that’s facts and that ain’t cool to

see, Playing both sides, pussy boy like who you choose to be, Bounty hunter bitches don’t let

niggas go and fool you B.” The lyrics also specifically identify persons in the rival gangs who

have failed to retaliate for disrespect inflicted on them, and gangs whose members have

“snitched” other members. Still images from the video follow:




Bloods located in New York, who were recently indicted in the Southern District of New York
for racketeering offenses.

                                                159
       377.    On 5/30/18, FIGUEROA posted a video to his YouTube channel titled “Purgin”

that can be viewed at: https://www.youtube.com/watch?v=Ff8CSMbURWo. In this video

numerous members of the LATIN KINGS, including FIGUEROA, LUGO, COTTO, MENDEZ,

SANTIAGO, SANTIAGO-TORRES, RUIZ, and others can be seen brandishing multiple

firearms, a machete, a baseball bat, a hatchet, and other weapons. Throughout the video, the

LATIN KINGS members can be seen throwing up gang signs, and other symbolic gestures, and

wearing yellow and black, and a prop crown. Most ominously, the LATIN KINGS members

carrying these weapons wear masks to conceal their identity from the viewer while conveying

their willingness to commit violence. Still images from the video follow:




       378.    On 7/22/19, FIGUEROA posted a video to his YouTube channel titled “Welcome

to the party rmx” that can be viewed at: https://www.youtube.com/watch?v=Sp1qeevliTU. In

this video, numerous members of the New Bedford Chapter, including COTTO, SANTIAGO-

TORRES, VARGAS, Jose VASQUEZ, and others can be seen dancing and generally addressing

the camera. Throughout the video, FIGUEROA holds a firearm and points it at the camera, or

alternatively displays a fan of dollar bills. Additionally, SANTIAGO-TORRES can be seen

holding a firearm that he variously brandishes and points at the camera. Other LATIN KINGS

                                              160
members throw up the crown and other gang symbols, and wear gang colors. During the video,

FIGUEROA boasts of using and holding firearms, and of robbing rival gang members and

shooting them. On 6/19/19, FIGUEROA was recorded by CW-9 discussing a recent shooting

that he participated in, where he missed his target and his firearm jammed. On 7/20/19, two days

before the video was posted, SANTIAGO-TORRES was captured on recording by CW-9

discussing a recent shooting of rival gang members that he participated in. Still images from the

video follow:




                                               161
       379.    On October 27, 2018, FIGUEROA posted a video to his YouTube channel titled

“The Take Ova Pt 2,” that can be viewed at: https://www.youtube.com/watch?v=6eY1X5L4jY8.

In the video FIGUEROA and COTTO can be observed in a kitchen where a female appears to be

cooking cocaine base with baking soda, a small pot, and plastic baggies next to the stove.

FIGUEROA sits on the counter, variously holding a firearm and displays a fan of cash to the

camera. FIGUEROA boasts, “had to sit back for a little, had to chef up the cane,” which refers

to his cooking of cocaine base. Still images from the video follow:




                                               162
       380.   Another example involves the 10/19/19, murder of a 17 year old probationary

New Bedford LATIN KINGS member who I will refer to as P.C. According to police reports,

P.C. was shot and killed on the corner of Ashley Boulevard and Tallman Street, New Bedford,

MA. This location is less than 200 feet from 104 Tallman Street, New Bedford, MA, which is a

LATIN KINGS stronghold and trap house in New Bedford, MA. Investigators believe this

murder took place as part of an escalating war between New Bedford LATIN KINGS members


                                             163
and the Gangster Disciples. During the shooting, another LATIN KINGS member, JC, was also

shot and suffered life-threatening injuries.

       381.     On 10/22/19, FIGUEROA posted a video to his YouTube channel titled “Drill

Season,” that can be viewed at: https://www.youtube.com/watch?v=LcdrWu2IY2o. This video

was filmed at the location where P.C. was murdered. In this video, FIGUEROA is surrounded

by LATIN KINGS members, including JORGE, CARRASQUILLO, COTTO, GUADALUPE

and SANTIAGO, who variously throw up LATIN KINGS gang signs, make pistol and trigger

motions to the camera, and walk by the makeshift memorial of candles that have been left at the

site of the murder. At the beginning of the video, the LATIN KINGS members chant: “Whose

House? King’s House!” Later during the music video, FIGUEROA declares threats to the

opposing gangs, generally pays homage to the memory of the slain LATIN KINGS member by

pouring out liquor at the site of the murder, and sends the message of swift and forceful

retaliation by the LATIN KINGS against those responsible for the murder. In particular the

video contains threats directed to “flakes,” which are Gangster Disciples: “Third off fuck a flake

nigga cuz them niggas really all bitch.” This video was created and produced within 72 hours of

the actual murder and demonstrates the specific and particular messages that are being sent to the

rival gangs and enemies of the LATIN KINGS through such music videos. Still images from the

video follow:




                                               164
       382.    On 11/13/19, SANTIAGO-TORRES posted a video to his YouTube channel titled

“War Time,” that can be viewed at: https://www.youtube.com/watch?v=wznuo88n2F8. This

video was filmed at the location where P.C. was murdered. Depictions of P.C. can be seen on

clothing bearing his image, and his name is written on a cup. SANTIAGO-TORRES,

CARRASQUILLO, GUADALUPE, COTTO and LOPEZ-VELEZ can be observed holding

liquor bottles and bags of marijuana, throwing up gang signs and surrounding the camera. During

the video, SANTIAGO-TORRES can be seen brandishing a firearm, which according to CW-9 is

a real firearm. The video depicts North Front Street, and the trap house located at 358 North

Front Street, New Bedford, MA. The lyrics consist of threats to opposing gang members, and

boasts concerning the willingness of the LATIN KINGS to shoot the rival gang members. Three

LATIN KINGS members rap on the song, including SANTIAGO-TORRES, LOPEZ-VELEZ,

and L.R., a/k/a Kiko.

       383.    During the video, the rappers identify opposing gang members by name, and

boast about using firearms and shooting rivals. The lyrics rapped by SANTIAGO-TORRES

include the following: “Im a just shoot them, no acting nigga be capping; Hit em. Relax. Then

back to the trap, where I get all the packs; Then back to the trap, where I get all the packs; Imma

                                                165
just call up my brother and give him a visit, these niggas be bitches; Niggas be fucked with this,

this AR aint missing.” The term “AR” is believed to be a reference to a rifle. SANTIAGO-

TORRES, also states “Call up the Kings, hit em no joke; Riding the ghost to make you a ghost.”

       384.    During the video, SANTIAGO-TORRES addresses the 9/28/19 shooting of

Victim 8 that he participated in with N. VELAZQUEZ. LR states, “slugs gonna merk him,

bullets gon work him. Watch this nigga now he do the dance.” From the motion made during the

“do the dance” lyric, it appears do the dance is a reference to the manner in which a body moves

when shot. SANTIAGO-TORRES then states, “Watch how he do the dance, get hit like [first

name of Victim 8], end up in CC.” During the song, SANTIAGO-TORRES specifically states

the first name of Victim 8. I believe in these lyrics SANTIAGO-TORRES is boasting about the

fact that he was involved in the 9/28/19 shooting of Victim 8, with N. VELAZQUEZ that

targeted Victim 8. The term “CC” is believed to be a reference to Rhode Island Cooperative Care

Center, the hospital where Victim 8 was treated after the shooting.

       385.    At another point in the video, L.R. states, “JO a bitch, and Jarrod a snitch, yo what

the fuck type of shit is that.” SANTIAGO-TORRES then replies, “bro I don’t know, just pass me

a pole, I’m a go run up the score.” I believe L.R. is referring to individual rival gang members by

name, and SANTIAGO-TORRES responds by indicating that he is going to take a weapon and

shoot rival gang members to “run up the score” in the ongoing gang war. Importantly, the initials

of Victim 26 from the 11/12/19 incident described above are JO..

       386.    LOPEZ-VELEZ who also raps on the song states, “Gonna run up the score, Op

talking like he wanted a smoke; Big lions, the whole gang gonna roar; Op 2, but we spitting for

more.” I believe the lyrics “Op 2,” LOPEZ-VELEZ is referring to the fact that the LATIN

KINGS have shot Victim 6 and Victim 8, and “spitting for more” means they are continuing to



                                               166
target more members of the Gangster Disciples. LOPEZ-VELEZ then states, “I’m from a block

where the niggas get clappin; And the witnesses don’t know what happened.” I know that

“clappin” is slang for firing a gun. This lyric clearly is referring to the fact that LATIN KINGS

members are engaging in shooting and violence, but do not face prosecution due to witnesses

fearing retribution if they were to come forward.

       387.    Still images from the video follow:




                                               167
      LATIN KINGS TRAP HOUSES IN NEW BEDFORD USED AS CENTERS OF
                   DRUG DISTRIBUTION AND VIOLENCE

       388.    Based upon the nature of the LATIN KINGS enterprise in New Bedford, and the

role of the landlord of certain properties in the enterprise, there is probable cause to believe that

the LATIN KINGS enterprise has access and control over the entire premises of certain multi-

unit apartment buildings in New Bedford. These identified apartment building are: 104 Tallman

Street, New Bedford, MA; 358 North Front Street, New Bedford, MA; and 239 Sawyer Street,

New Bedford. I will refer to 104 Tallman Street, New Bedford, MA; 358 North Front Street,

New Bedford, MA; and 239 Sawyer Street, New Bedford, MA as the TRAP HOUSE

LOCATIONS or TRAP HOUSES. Pictures of the three TRAP HOUSE LOCATIONS follow:




 104 TALLMAN STREET              269 SAWYER STREET             358 NORTH FRONT STREET



       389.    The TRAP HOUSE LOCATIONS are owned by Robert AVITABILE, a/k/a

“BOBBY,” an associate of the LATIN KINGS who communicates directly with LATIN KINGS

leaders, Jorge RODRIGUEZ and Jose RODRIGUEZ to provide the TRAP HOUSE

LOCATIONS for the benefit of the LATIN KINGS enterprise. As such, given recordings and

                                                 168
information provided by CW-9 relating to AVITABILE’s involvement, I believe that

AVITABILE is an associate of LATIN KINGS and a member of the racketeering conspiracy.

       390.    AVITABILE’s ownership of the TRAP HOUSE LOCATIONS has been

confirmed through reference to records available online from the Southern Bristol Registry of

Deeds, and the New Bedford Assessor’s Office that show AVITABILE to be the owner of 104

Tallman Street, New Bedford, MA, 239 Sawyer Street, New Bedford, MA, and 358 North Front

Street, New Bedford, MA, either individually, or through trusts, where he is the trustee.

According to the New Bedford Assessor’s Office, AVITABILE owns 104 Tallman Street,

through the AMA Realty Trust, for which AVITABILE is the Trustee and 40 Fortune Lane,

Duxbury, MA, is listed as the owner address. According to the New Bedford Assessor’s Office,

AVITABILE owns 358 North Front Street individually, and 40 Fortune Lane, Duxbury, MA, is

listed as the owner address. According to the New Bedford Assessor’s Office, AVITABILE

owns 239 Sawyer Street, through the 239 Sawyer Realty Trust, for which AVITABILE is the

Trustee and 40 Fortune Lane, Duxbury, MA, is listed as the owner address. These entries at the

New Bedford Assessor’s Office, were confirmed by review of documents available online from

the Southern Bristol County Registry of Deeds. As of 11/29/19, those records do not reflect any

recent changes in ownership of the TRAP HOUSE LOCATIONS.

       391.    Additionally, I am familiar with a financial statement dated 3/8/16, signed by

AVITABILE and provided to Bank Five (then known as Fall River Five Cent Savings) as part of

a loan application, where AVITABILE states that he is the owner of the TRAP HOUSE

LOCATIONS.

       392.    According to CW-9, AVITABILE has been present at 104 Tallman Street and 358

North Front Street when LATIN KINGS members were distributing cocaine base and knows of



                                               169
the drug distribution activity being conducted by LATIN KINGS members in the apartment

buildings that he owns. CW-9 estimated that AVITABILE was present at 358 North Front Street

every other day in 2016, when CW-9 first started selling cocaine base in New Bedford. CW-9

estimated that AVITABILE has been present at 104 Tallman Street on approximately 25

occasions while CW-9 was present and LATIN KINGS members and associates were

distributing controlled substances at the property.

       393.    Furthermore, according to CW-9, AVITABILE is entirely aware of the drug

distribution and manufacturing activity that is taking place in the TRAP HOUSE LOCATIONS,

and purposefully places tenants in his apartment buildings at the direction of the LATIN KINGS

in order to facilitate the distribution of controlled substances by LATIN KINGS members.

       394.    According to CW-9, AVITABILE has mentioned complaints he has received

from City Hall about the amount of foot traffic in the TRAP HOUSE LOCATIONS to LATIN

KINGS members, but has not undertaken any meaningful efforts to reduce the drug distribution

taking place and in fact profits from it through rent paid to him by the dealers. According to

CW-9, AVITABILE evicted COTTO out of a second floor apartment in 104 Tallman Street,

following a drug raid. However, AVITABILE in fact only conducted this eviction to foster the

appearance of efforts to reduce drug activity in the building to city officials. According to CW-

9, AVITABILE in fact moved COTTO to another apartment in 104 Tallman Street, and rented

this unit to COTTO under COTTO’s girlfriend’s name.

       395.    CW-9 stated that AVITABILE has requested prostitutes from LATIN KINGS

members. According to CW-9, AVITABILE in fact has been provided prostitutes by LATIN

KINGS members. During a recording on 1/4/19, AVITABILE describes two prostitutes that he

has lined up and notes that he is receiving pictures of the prostitutes. During a 2/4/19 recording,



                                                170
AVITABILE asked Jorge RODRIGUEZ, “You getting me laid today or what?”

       396.    Also during the 1/4/19 recording, CW-9 tells AVITABILE that CW-9 will need

some time to pay an outstanding rent owed to AVITABILE because CW-9 cannot hustle and due

to a pending court case. AVITABILE tells CW-9 to “hustle this weekend,” meaning sell drugs,

in order to get money needed to pay the outstanding rent owed. According to CW-9,

AVITABILE has received cocaine from LATIN KINGS members as well.

       397.    I am familiar with New Bedford Police Report #19-2342, dated 3/1/19. In this

report a tenant of 104 Tallman Street, who I will refer to as Victim 12, told police that

AVITABILE had threatened her. Victim 12 stated that AVITABILE arrived at her apartment

with Jorge RODRIGUEZ and was outside banging on her door. According to Victim 12,

AVITABILE began yelling and stated “you better watch your back.” Victim 12 also stated that

AVITABILE made threats that he is going to have the LATIN KINGS hurt them and remove

them from the apartment. AVITABILE was charged in New Bedford District Court with threats,

but the case was later dismissed on 6/18/19 (Docket No. 1933CR001799).

       398.    According to CW-9, AVITABILE owns and manages these properties and

coordinates the specific tenants in each of the apartments of the TRAP HOUSE LOCATIONS

with Jose RODRIGUEZ and Jorge RODRIGUEZ. According to CW-9, Jorge RODRIGUEZ

determines which of the higher ranking members of the LATIN KINGS will occupy specific

apartments in the TRAP HOUSE LOCATION to oversee the premises. Jorge RODRIGUEZ

also determines the apartments that drug workers will occupy in order conduct street-level sales

of narcotics as well.

       399.    The high ranking member of LATIN KINGS will receive large quantities of

controlled substances from Jorge RODRIGUEZ and store them in the TRAP HOUSE apartment



                                                171
that is under the enterprise’s control. While the ranking member in each TRAP HOUSE runs the

drug distribution in each premises, other apartments and common areas are utilized by so-called

“workers” or lower-level associates and members of the LATIN KINGS to distribute controlled

substances on the street-level to the drug customers. The workers usually occupy a different

apartment accessible to drug customers.     The high ranking member is obligated to pay Jorge

RODRIGUEZ for the controlled substances, and individually pay AVITABILE for rent. Though

the high ranking member pays AVITABILE directly, the LATIN KINGS through Jorge

RODRIGUEZ controls the network of TRAP HOUSES throughout the northern part of New

Bedford.

       400.    On 11/15/18, on a court-authorized interception, AVITABILE sent a text message

to Jorge RODRIGUEZ: “I need the 600 for 358 n front. Plus 1800 he said he pay. I'll work out a

deal talk him. Take some off cut him a deal. U guys come up all it once.” I believe in this text

message, AVITABILE is discussing outstanding rents owed by the LATIN KINGS members in

AVITABILE’s trap house. Demonstrating AVITABILE’s knowledge of the structure of the

LATIN KINGS, AVITABILE identifies outstanding rents owed by LATIN KINGS members

and addresses those debts to Jorge RODRIGUEZ, a leader of the LATIN KINGS New Bedford

Chapter.

       401.    The placement of LATIN KINGS members, worker and associates in certain

apartments is designed to ensure that the LATIN KINGS can employ the TRAP HOUSES to

their full potential as a retail distribution center for controlled substances. This arrangement

conceals the activity from law enforcement and insulates leadership from investigation. Jorge

RODRIGUEZ has been captured on recording advising LATIN KINGS members of how to

conduct their activity at the premises in order to take advantage of the premises they control and



                                                172
avoid detection and surveillance.

       402.    The high ranking member in each TRAP HOUSE ensures that the workers are

constantly supplied with controlled substances. In order to do this, the high ranking member

coordinates delivery with Jorge RODRIGUEZ to the TRAP HOUSE. The workers obtain the

supply of drugs from the high ranking member and deliver cash proceeds from the drug sales.

Additionally, the amounts of drugs provided to the workers are purposefully kept small in order

to avoid enhanced penalties for larger quantities. In this way, the high ranking LATIN KINGS

members and Jorge RODRIGUEZ themselves do not distribute controlled substances to the drug

customers, who may not be known to the LATIN KINGS and may in fact be informants,

working with law enforcement, or undercover officers. Additionally, this arrangement creates

difficulty for law enforcement, who cannot readily generate suspicion as to the higher ranking

members or their apartments.

       403.    Additionally, since the workers resupply of cocaine base originates from inside

the same multi-unit apartment building, law enforcement are unable to conduct surveillance of

the workers obtaining additional controlled substances. Moreover, in the event that law

enforcement does obtain probable cause to search an apartment from which controlled

substances are being distributed, these searches will be of premises that, by design, do not store

large amounts of controlled substances, cash or currency, and where the leadership of the drug

conspiracy will not been seen frequenting. The workers who are arrested and charged by law

enforcement are essentially expendable pieces of the LATIN KINGS enterprise that the high-

ranking members use to generate wealth for the enterprise, without exposing themselves to

criminal prosecution. Furthermore, the nature of this coordinated drug conspiracy prevents law

enforcement from ascertaining the source of the supply of controlled substances, or identifying



                                                173
its leadership.

        404.      In the course of this investigation, it has also been determined that these TRAP

HOUSES also serve as bases of operations for LATIN KINGS racketeering activity in addition

to the distribution and manufacture of controlled substances. Numerous recordings have been

made depicting LATIN KINGS members storing firearms in the TRAP HOUSES, returning to

TRAP HOUSES after the commission of crimes of violence including armed assaults, robberies,

shootings and fights involving rival gangs and those targeted for violence for the LATIN

KINGS. The TRAP HOUSES also serve as locations where LATIN KINGS members meet and

discuss enterprise business, discuss and assign roles and tasks to members, inflict systemized

violence upon one another for transgressions, and generate promotional music videos.

        405.      This arrangement brings extensive benefits to the LATIN KINGS. Primarily, the

TRAP HOUSES permit the LATIN KINGS to project power and influence, and direct violence

throughout New Bedford. Access to the multiple apartment units in each of the TRAP HOUSE

LOCATIONS provide safe houses for LATIN KINGS members to evade law enforcement. As

particularized suspicion would likely not exist for each LATIN KINGS member in every

apartment unit, the TRAP HOUSE LOCATIONS provide a means of directly thwarting law

enforcement’s investigation of the enterprise.

    LAUNDERING OF DRUG PROCEEDS AND ACQUISITION OF REAL ESTATE
         THROUGH LATIN KINGS ASSOCIATE ROBERT AVITABILE

        406.      This investigation has also developed evidence that the LATIN KINGS enterprise

launders the proceeds of their drug distribution. In particular, a recent real estate transaction

conducted by AVITABILE is believed to be a vehicle for Jorge RODRIGUEZ and Jose

RODRIGUEZ to launder their drug proceeds through the renovation of a property recently

purchased out of foreclosure.

                                                  174
       407.    On 11/15/18, on a court-authorized interception, AVITABILE sent a text message

to Jorge RODRIGUEZ: “Need u come up 20k. Stud 20k. Me 20k. We rehab a place condo or

house on ocean.” I believe in this text message, AVITABILE is discussing an investment

property and states that Jorge RODRIGUEZ, Jose RODRIGUEZ (“Stud”) and he will jointly

invest $60,000 for a renovation project.

       408.    Through my training and experience I know that in a real estate investment

laundering scenario, once the property is acquired, the illicit proceeds are introduced and

laundered through cash payments to subcontractors hired to conduct the renovation project.

Since each subcontractor would be paid directly for labor and materials, the source of the cash

would not be questioned. Additionally, the subcontractor is not obliged to file currency

transaction reports, and the payments would generally be in separate amounts, each under

$10,000 that would not raise suspicion. The drug money would then be invested in the

renovation project, and ultimately recouped by the sale of the property to a third party, who

would then pay a higher price after the renovation. This later sale yields a profit to the drug

dealer that can then be declared as a lawful source of income.

       409.    In a 1/4/19 recording, AVITABILE discusses the details of such a real investment

transaction and the manner by which they can conceal Jorge RODRIGUEZ’s involvement (and

thereby his funds) from the bank.35 Essentially, the recording captures Jorge RODRIGUEZ and

AVITABILE discussing the manner by which they can invest Jorge RODRIGUEZ’s proceeds to

purchase the house, and renovate it, without disclosing the source of the funds to the financing


       35
           In this scenario, a “bank” would be involved in order to provide financing for the
initial purchase of the property that would later be renovated through the investment of drug
proceeds. The bank financing is necessary in this scenario to demonstrate a lawful source of the
funds used to purchase the property by the buyers.

                                                175
institution.

        410.    This necessity for concealment arises from the fact that on any loan application to

purchase property that listed Jorge RODRIGUEZ as an applicant would cause the bank to inquire

as to Jorge RODRIGUEZ’s declared income and the source of any down payment. During the

recording, AVITABILE describes to Jorge RODRIGUEZ how the transaction can be structured

through a trust in order to conceal the illicit source of the funds that Jorge RODRIGUEZ would

provide. Additionally, during the conversation AVITABILE indicates that he has an outstanding

tax lien with the IRS that he needs to pay before engaging in this transaction. AVITABILE states

that he can just take Jorge RODRIGUEZ’s cash, claim it came from one of the buildings he

owns, and use the cash to pay off the tax lien immediately. Once the lien is cleared, they can then

engage in the real estate transaction. The following is a draft transcript of a portion of the

conversation:

        AVITABILE:             So I’m two stories. So now I’m at my accountant’s, and he’s like
                               guy you’re fucked. I’m like, ‘what are you talking about I’m
                               fucked?’ He said, ‘cause you took the money from that house, he’s
                               like you need, you didn’t fix it.’ I’m like, ‘so what if I didn’t fix
                               I’m like I paid the mortgage off, I paid Tallman Street off for two
                               hundred grand.’ He’s like ‘you’re gonna get fucking taxed on it.’
                               I’m like, ‘what are you talking about,’ he’s like’ that’s a two
                               hundred thousand dollar gain.’ And I’m like, ‘how the fuck do you
                               figure?’ So I’m arguing with him, well I’m not arguing, but he’s
                               going back and forth with doing that and the [UI] shop—

        RODRIGUEZ:             Who, who said—?

        AVITABILE:             My accountant. So he’s like what I would do if I was you, he’s like
                               I can probably try to delay it which I got to figure out which I got
                               to talk to Ronny. And, and, so this would be what we feel. This is
                               what we need to do. This is Jorge’s money. So hold on. So, so hold
                               on, so he goes, this is what he said, he’s like I would fucking try to
                               rebuild the—

        RODRIGUEZ:             Rebuild so—



                                                 176
       AVITABILE:              He’s like I would try to rebuild it.

       RODRIGUEZ:              [UI]

       AVITABILE:              he said cause you’re gonna get fucked

       RODRIGUEZ:              Right so that’s where I come in.

       411.    Later during the 1/4/19, recording, AVITABILE and Jorge RODRIGUEZ discuss

fixing up the premises with Jorge RODRIGUEZ’s money, but that an outstanding issue with

sprinklers in the building will prevent the permits from issuing for the work that Jorge

RODRIGUEZ will be funding. AVITABILE discusses the price of $20,000 for the sprinkler

system and AVITABILE then describes how he can form a trust with Jorge RODRIGUEZ in

order to not pay the government $40,000 in taxes and complete the sprinkler system without

incurring a taxable event when he receives the funds. The following is a draft transcript of a

portion of the conversation:

       RODRIGUEZ:              No wait, wait, wait but we still got to build the whole house,
                               everything, and then they got to come up with the, the, the tax with
                               the sprinklers. They can’t [UI] the sprinklers with the [UI]—

       AVITABILE:              So I can take your fifteen grand and go back to my accountant and
                               say well how much am I gonna owe. Do you get it? Or, if it’s, if
                               it’s fifteen thousand—

       RODRIGUEZ:              You not gonna, you not gonna get fucked. I’m gonna help you out,
                               we help each other out.

       AVITABILE:              Right.

       RODRIGUEZ:              And then [UI] if I get my contract with you guys in there real quick
                               and shit and if you—

       AVITABILE:              But I think if you—

       CW-9:                   Fucking deal with the white man and you get with the man—

       AVITABILE:              Oh stop.



                                                 177
RODRIGUEZ:   We gon’, we gon’, we gon’ make, we gon’ make, we gon’ make a
             little on everything, and then we, and then we can get, I’ll, I’ll help
             you with whatever so you don’t get fucked with the taxes.

AVITABILE:   No I know, I know.

RODRIGUEZ:   Oh I give you some of the money—

AVITABILE:   I know, I know, I know—

RODRIGUEZ:   And then that—

AVITABILE:   Or we could do it in a trust.

RODRIGUEZ:   So, so, so, yeah we could do something there, and then, then,
             then—

AVITABILE:   Because I’m not paying the government fucking forty grand.

RODRIGUEZ:   Yeah because—

AVITABILE:   Fuck, I don’t have forty grand.

CW-9:        That’s thirty percent though.

AVITABILE:   Yeah but that’s what will probably be two hundred times twenty
             percent gain, forty grand, he could probably get it to thirty, twenty.

CW-9:        How, how? How?

RODRIGUEZ:   Yo he got, he got, he got—

CW-9:        [UI] you gonna pay like [UI]

AVITABILE:   I don’t know—

CW:          [UI]

RODRIGUEZ:   [UI]

AVITABILE:   I don’t know what it will be. I don’t know what it will be yet.

RODRIGUEZ:   Yo I’m gonna [UI]—

CW:          [UI]



                              178
       AVITABILE:              I’m gonna see it this week—

       RODRIGUEZ:              Bobby, I’ll help, I’ll help, I’ll help you out—

       AVITABILE:              Listen, I agree, I want the thing gone!

       RODRIGUEZ:              I want to, yo, I want to, yo but have I ever let you down, Bobby?

       AVITABILE:              No—

       412.     Then during the 1/4/19 recording, AVITABILE expresses that they need to invest

$20,000 immediately to remedy the sprinkler system prior to any transaction so as to save Jorge

RODRIGUEZ from having to fix it later. Jorge RODRIGUEZ replies, referring to the $20,000

price, “I make that in one day.” The following is a draft transcript of a portion of the

conversation:

       AVITABILE:              No, I know. But I’m just trying to get around the sprinkler for you.

       RODRIGUEZ:              I understand that, no but its—

       AVITABILE:              Because it’s twenty thousand dollars!

       RODRIGUEZ:              I make that in one day.

       AVITABILE:              Hold on. That’s twenty grand for a sprinkler.

       RODRIGUEZ:              Who cares? What the fuck?

       413.     Then during the 1/4/19, recording Jorge RODRIGUEZ and AVITABILE discuss

the involvement of a third party, and that the third party has already invested some money into

the rehabilitation of the property. AVITABILE informs Jorge RODRIGUEZ that the third party

may not be happy with having lost the initial money that was invested. Jorge RODRIGUEZ tells

AVITABILE that he will “fucking shoot” the third party in order to get the house. The following

is a draft transcript of a portion of the conversation:

       RODRIGUEZ:              I need to get that house—



                                                 179
       CW-9:                  You don’t got to tell him he can’t buy it.

       RODRIGUEZ:             I need that house under my name.

       RODRIGUEZ:             Yo I need that house under my name so I can go—

       RODRIGUEZ:             [UI]

       CW-9:                  [UI]

       RODRIGUEZ:             Yeah I’ll fucking shoot him right here [UI] fucking house.

       AVITABILE:             Oh stop. I hook you up.

       RODRIGUEZ:             I’m a be like, I’m a be like—and when the cops ask what
                              happened I’m a say he didn’t give me my fucking house!

       414.     At the end of the conversation, AVITABILE describes in detail the process by

which they can jointly acquire a property and use a trust in order “hide the money” originating

from Jorge RODRIGUEZ from the bank. The following is a draft transcript of a portion of the

conversation:

       AVITABILE:             So—right, so if we can get Bonney Ct. (sic) I’ll buy Bonney Ct.
                              (sic) with you.

       RODRIGUEZ:             Yeah, good money too for you.

       AVITABILE:             I’ll buy it with you, we’ll just do our own trust and you could put
                              ‘em in and I’ll show you how to hide the money with the bank,
                              it’s simple.

       RODRIGUEZ:             I’ll do that with you.

       AVITABILE:             But—

       RODRIGUEZ:             [UI]—

       AVITABILE:             314, yeah. I’m in.

       RODRIGUEZ:             Look it, look it, look it, look it, look it, look it—

       AVITABILE:             I want the—you don’t think I want the money?



                                                180
      RODRIGUEZ:   [UI]—

      CW-9:        Gordo, [UI]?

      RODRIGUEZ:   I don’t know. Look it, look it, look it, you help me, you help me
                   with this one—

      AVITABILE:   I’ll get it! I’ll get it!

      RODRIGUEZ:   It’s pretty good [UI] but it’s up in the air.

      AVITABILE:   Alright, alright, I’ll get it. Cause I’m not gonna sell it to [third
                   party].

      RODRIGUEZ:   So what, so what, so [UI], so how we gonna—

      AVITABILE:   But you’re gonna have to pay this guy!

      RODRIGUEZ:   [UI] I got you I’m gonna pay this guy I’ll [UI]—

      AVITABILE:   Cause you’re gonna need it anyway.

      RODRIGUEZ:   [UI] wait, wait, wait, wait—

      AVITABILE:   Cause he’s gonna have to do the fire escapes—

      RODRIGUEZ:   Why, why, why do I have to [UI] house under my name?

      AVITABILE:   Just buy it off me. It’s simple.

      RODRIGUEZ:   yeah but, but how—?

      AVITABILE:   We go to the attorney, we write it up. You’re gonna put it in a
                   trust—

      RODRIGUEZ:   [UI]—

      AVITABILE:   I got to talk to my accountant, I might go in on this deal with you
                   so we could bring it back to the bank, you get it? And finance—
                   that will be the first house we’ll own together.

      RODRIGUEZ:   Yeah. Look it—[UI]—

[…]

      AVITABILE:   Let me just find out how much I’m gonna owe the IRS. If it’s not a

                                        181
                               lot, I’ll just take your money and pay the IRS. Do you get it? I
                               don’t care. Cause I got the money from Tallman and it’s payed.

       RODRIGUEZ:              What we, what we, what we, [UI] and we’re together?

       AVITABILE:              Right, right. But if I owe the IRS like forty grand you’re gonna
                               have to rebuild it—I’ll put my name, we’re gonna form a trust, and
                               then you take that trust into the bank. You get it? I just about
                               caught up on my taxes. Once I do this tax return, now I can
                               fucking—

       RODRIGUEZ:              Why didn’t you do this fucking quicker?

       AVITABILE:              Alright, alright—

       RODRIGUEZ:              [UI]—

       AVITABILE:              I got it. I’m on it, I’m on it.

       415.    A month later on 2/4/19, AVITABILE was captured on a recording discussing a

real estate venture with Jorge RODRIGUEZ and CW-9. During that conversation, CW-9

discusses outstanding rent owed to AVITABILE by CW-9. CW-9 informs AVITABILE that he

just started to “dibble” and “dabble,” referring to distributing narcotics, and that CW-9 will pay

off the debt shortly.

       416.    During the 2/4/19 recording, AVITABILE and Jorge RODRIGUEZ discuss the

manner by which they will obtain a property together, and place a lien on the property to obscure

the source of the funds. The following is a draft transcript of a portion of the conversation:

       AVITABILE:              That’s about what I owe. About four grand. Another grand for tax.

       UM:                     [UI]

       AVITABILE:              [UI] what you said, [UI] you don’t have to give me—give me what
                               you said, I’m fine. And I’ll hold the paper on the rosters and you’ll
                               rebuild it. All’s we got to do is if you’re gonna go and get a bank
                               loan on it, I’ll put a lien on it—

       UM:                     [UI]



                                                  182
AVITABILE:          I’ll put a lien on it, and then you go get a bank loan I’ll just go send
                    out the—

RODRIGUEZ:          How much is the—how much is to put a lien [UI]—

UM:                 [UI]

AVITABILE:          Huh?

RODRIGUEZ:          How much is the lien?

AVITABILE:          Well whatever, just twenty-five, [UI] loan [UI] we’ll write it up.
                    You know what I’m saying?

RODRIGUEZ:          [UI]

AVITABILE:          I want to do it soon.

RODRIGUEZ:          [UI]

AVITABILE:          Well no, I got to go to the town, to protect you, I’ll hire which was
                    supposed to be you—

UM:                 Nah you can get a [UI] though—

AVITABILE:          [UI] with the town. We’ll figure that out. We’ll get [UI] title search
                    for you, just use the same fucking attorney.

417.   Then, Jorge RODRIGUEZ asks AVITABILE to explain the whole process:

AVITABILE:          Right. So the attorney, so the attorney—

RODRIGUEZ:          Break, uh, break the whole thing down

AVITABILE:          Hey, so the attorney—

RODRIGUEZ:          I was [UI] too!

AVITABILE:          Cause—listen.

RODRIGUEZ:          No one [UI]

AVITABILE:          So, I’m just saying, there would be, there would be costs on you to
                    hire, to do a title search and that. I’ll pay for that and like we’ll
                    split the attorney’s fees. I’m assuming probably I’ll ask her, it’ll
                    probably cost twelve hundred bucks. Twelve hundred to fifteen

                                      183
             hundred bucks to write it, have the attorney come in, do—represent
             me and you.

RODRIGUEZ:   That’s what—when do we do it?

AVITABILE:   Soon. I don’t want it out there, I haven’t even told [third party].

RODRIGUEZ:   Well we got to do it soon cause I, I—

AVITABILE:   Alright.

RODRIGUEZ:   I got the money, I got the money right now—

AVITABILE:   I’ll call the attorney right now.

RODRIGUEZ:   And if not I’m gonna send the money to the PR.

AVITABILE:   No, no, just—

RODRIGUEZ:   I have to pay, I have to pay [UI]—

AVITABILE:   No, no, nope, nope, nope.

RODRIGUEZ:   Underground.

AVITABILE:   Alright so we’ll get it done—

RODRIGUEZ:   [UI].

AVITABILE:   Can you text me, uh, his name and his address that you want me to
             put it in.

RODRIGUEZ:   Alright.

AVITABILE:   Cause I’m gonna have to have her do a HUD. The attorney’s
             gonna prepare a HUD to protect you and me, and then we’ll
             fuckin’ uh, have—we’ll just go downtown. We’ll hire that attorney
             [UI].

RODRIGUEZ:   Alright so, so, so [UI]—

AVITABILE:   The next twelve—by the end of the month we’ll have it done.

RODRIGUEZ:   End of the month now?

AVITABILE:   It’s gonna take them two weeks to do a title search.

                               184
       RODRIGUEZ:            Alright so so I’m gunna send this money out. I gonna send this
                             money out.

       AVITABILE:            Nah, nah, nah—

       RODRIGUEZ:            Don’t leave me slacking alright? [UI]

       [unrelated conversation]

       RODRIGUEZ:            What do you want me to do?

       AVITABILE:            Friday’s gonna be good, just text me his information.

       RODRIGUEZ:            Got it.

       AVITABILE:            I’ll, I’ll, I’ll call the lawyer. It’s probably gonna take like two
                             weeks for them to do it. Take—it takes ten days, you got to do a
                             title search on URN. Then the bank—the mortgage is [UI] even
                             though it’s a normal mortgage, the bank’s still gonna release that,
                             okay, it takes a little time. And then we’ll sit down with the
                             attorney, we’ll figure out—it’ll probably cost us, it’ll probably cost
                             me probably 15 [UI].

       RODRIGUEZ:            [UI] I’m gonna, I’m gonna call my brother right now because
                             [UI]—

       AVITABILE:            Send me all the all the information.

       RODRIGUEZ:            What do you need his name right. And His address—

       AVITABILE:            Name, address, I don’t think I need his cell phone.

       418.   In August 2019, investigators learned that AVITABILE purchased a parcel of real

estate located at 585 Elm Street, New Bedford, MA through an entity known as the ARA Realty

Trust Corp. The ARA Realty Trust Corp. is a Massachusetts corporate entity formed on 8/21/19,

which lists AVITABILE as the president, treasurer, secretary, and director, and was formed by

AVITABILE. The stated business of the corporation is tp “Purchase Homes.”

       419.   According to a Foreclosure Deed filed in the Southern Bristol County Registry of

Deeds, RBS Citizens Bank granted title of 585 Elm Street, New Bedford, MA, to ARA Realty

                                              185
Trust Corp. for a price of $105,000. This Foreclosure Deed was recorded at Book 12908, Page

302 on 8/29/19. A picture of 585 ELM STREET follows:




       420.    Also on 8/29/19, a mortgage was recorded in the Southern Bristol County

Registry of Deeds relating to 585 Elm Street, New Bedford, MA. According to the filed

instrument, ARA Realty Trust Corp. granted a mortgage in 585 Elm Street, New Bedford, MA,

to Summit Capital Management LLC to secure a promissory note for $113,000. This mortgage

instrument references a Loan Agreement and Promissory Note. This mortgage was signed

AVITABILE.

       421.    On 8/27/19, CW-9 reported that Jose RODRIGUEZ closed on a house in New

Bedford that was purchased with AVITABILE. CW-9 then provided investigators with an image

of Jose RODRIGUEZ’s Facebook account, that depicted a home, and the statement: “Me and

somebody else purchased this house going to remodel this house we’re gonna put it back on the

market for sale inside and outside …. For sale pretty soon.”

       422.    A comparison of the photograph posted by Jose RODRIGUEZ and a picture of

585 Elm Street, New Bedford, MA, obtained from the New Bedford City Assessor’s Office

reveals that the Facebook photograph posted by Jose RODRIGUEZ in fact depicts 585 Elm


                                               186
Street, New Bedford, MA.

       423.    Lastly, I am aware that AVITABILE and Jose RODRIGUEZ recently travelled

together to the Encore Boston Harbor casino on 11/13/19 and gambled at the roulette and

blackjack tables. Two photographs of Jose RODRIGUEZ, AVITABILE together at the Encore

Boston Harbor garage follows:




       424.    According to records obtained from the Encore Boston Harbor, since 8/19/19,

AVITABILE has bought in over $9,450 in cash. Over the same period, AVITABILE has lost

$2,585 at the casino.

                                   DECEMBER 5, 2019 ARRESTS

       425.    On December 5, 2019, 62 arrest warrants and 31 search warrants were executed in

connection with this investigation. As of 10:00 a.m. this morning, 54 defendants have been

arrested and 8 defendant were at large.

       426.    The preliminary count of firearms this morning is 28. Among the numerous

firearms, ammunition, and other items seized during the execution of the search warrants, the

following items were recovered:

                                              187
a. A Heckler and Koch MP5 firearm;

b. An AR-15 assault rifle;

c. A 12 gauge pump-action shotgun;

d. A Glock 36 firearm;

e. A Glock 19 firearm;

f. A .25 caliber pistol;

g. Two large-capacity magazines with a believed capacity of approximately 100

   rounds

h. A machete;

i. Heroin / fentanyl, cocaine base, and marijuana;

j. $30,188 from a bank account; and

k. Multiple automobiles, including a BMW 750i, Porsche Cayman, six

   motorcyles, a jetski, and an ATV.




                               188
Signed and sworn under the penalties of perjury on December 5, 2019:




                                     Special Agent Dominic Copp. .
                                     Federal Bureau of InvestigatIOn
OPERATION THRONE DOWN


                                                                                                                                                     Michael CECCHETELLI
                                                                                                                                                    KING MERLIN / THE MAN
                                                                                                                                                    EAST COAST OVERSEER




                                                                                                   Esther ORTIZ                  Bienvenido NUNEZ                  Hector Manuel VEGA               Eric THOMAS
                                                                                                   QUEEN INDIA                     KING APACHE                        KING DEMON                       KING E
                                                                                            CROWN COUNCIL CHAIRWOMAN                   INCA                      CROWN COUNCIL MEMBER                   INCA
                                                                                                    Connecticut                    Massachusetts                       Connecticut                  Rhode Island




                                                     Jorge RODRIGUEZ                   Michael MARRERO CONCEPCION                                                     Gregory Peguero COLON                Juan Jose LIBERATO                  Angel ROLDAN
                                                                                                                                Francisco LOPEZ
                                                   KING GORDO / AKA "G"                         KING CLUMSY                                                           KING TREY aka "TRECE"                   KING PRODIGY                       KING BIG A
                                                                                                                                  KING CISCO
                                                         CACIQUE                              STATE ENFORCER                                                        CROWN COUNCIL CHAIRMAN             FORMER STATE INCA & CACIQUE       FORMER CACIQUE & ENFORCER
                                                                                                                         STATE TREASURER & SECRETARY
                                                       Massachusetts                                                                                                      Massachusetts                       Massachusetts                    Massachusetts
                                                                                                                                 Massachusetts




                      Sandra CORREA              Shaun HARRISON                     Vincent DZIERWINSKI                                                                                                                                                              Steven Familia VALDEZ
                                                                                                                       Frutuoso BARROS                           Wilson PEGUERO                       Alexis PEGUERO                   Matthew PALACIOS
                         " DREAM"                    KING REV                            KING VICE                                                                                                                                                                        KING HAZE
                                                                                                                          KING FRUITY                               KING DUBB                       KING LEXI/LOONEY                      KING NENE
                                                  INCARCERATED                         INCARCERATED                 SUPREME RO MDOC / D5K                          INCA - D5K                         CACIQUE - D5K                     ENFORCER - D5K
                                                                                                                        INCARCERATED




                                                   Donte LARA                          Robert LARA                     Angel Abymael ORTIZ                      Angel RODRIGUEZ                      Alexis VELASQUEZ                  Angel CALDERON
                     Juan FIGUEROA                                                                                                                                                                                                                                      Oscar PENA
                                                   KING NASTY                           KING RIZZ                           KING ABBY                              KING ACE                            KING BOOBOO                        KING BAM
                        KING PUN                                                                                                                                                                                                                                       KING O BLOCK
                                                                                                                                                                                                      CACIQUE - MSB                      INCA - MSB




                    Jose L RODRIGUEZ         Orlando SANTIAGO TORRES                                                       Ines LUGO                            Robert AVITABILE                     Taliyah BARBOZA                  Josue CARRASQUILLO                Michael COTTO
                                                                                      Jeremia MEDINA
                      KING STUTTER              AKA Landi / Lightyear                                                     QUEEN INES                              AKA "Bobby"                        QUEEN TALIYAH                        KING PLAYBOY                  KING GORDO
                                                                                       KING SWEEPY
                    INCA - New Bedford        CACIQUE - New Bedford                                                 SECRETARY - New Bedford
                                                                                  ENFORCER - New Bedford




                  Jayco Javier REYES-SMITH      Isaac Felix-RIVERA                   Kevin GUADALUPE                    Shelton JOHNSON                           Tyson JORGE                       Emanuel LOPEZ-VELEZ                                                Raekwan PARIS
                          KING JAVY                 KING IZZY                          KING K MILLY                       KING SHELLS                             KING MUSIC                           KING MANNY                         Luis MENDEZ                    KING DEBO
                                                                                                                                                                                                                                          KING PRIMO                   INCARCERATED
                                                                                                                                                                                                                                        INCARCERATED




                                                   Luis SANTIAGO                    Xavier Valentin SOTO                                                                                                                               Israel RODRIGUEZ                 Alfred NIEVES
                       Tanairy RUIZ
                                                     KING TINY                            KING "X"                      Roberto VARGAS                           Jose VAZQUEZ                       Natanael VELAZQUEZ                KING IMPERIAL/ IZZY                 KING ALFY
                      QUEEN CASPER
                                                  INCARCERATED                        INCARCERATED                       KING ROYALTY                            KING FEARLESS                          KING NAEL                      INCA - North Shore               INCA - Lowell
                                                                                                                        INCARCERATED




                                                                                       Dairon RIVERA                    Sophia VALAZQUEZ                          Jesus DIAZ Jr                      Henry CARIBE Jr.                     Alvin MOJICA
                                                 Marlon I RIVERA                                                                                                    KING KIKO                          KING 40-CAL                        KING HUMBLE
                                                                                    KING DAIRON/MAFIA                    QUEEN SOPHIA
                                                   KING PLUTO                                                                                                    INCARCERATED                        INCARCERATED                       INCA - Worcester
                                                 INCARCERATED                                                                                                                                                                            INCARCERATED




                                                                        Jonathan CASSIANO                    Hector ADORNO                    Antoine GOODSON                                                      Derek SOUTHWORTH
                                                                                                              KING GORDO                                                           Joel FRANCISCO
                                                                           KING LEGEND                                                                                                                                   D-Rock
                                                                                                             INCARCERATED                                                           KING CASPER
                                                                          INCARCERATED
                                                                                                                                                                                   INCARCERATED



                                                                                                                                                            Page 1 of 1
